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                  EXHIBIT 9
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                                                                      Page 1

 1                  IN THE UNITED STATES DISTRICT COURT
 2                   FOR THE DISTRICT OF NEW JERSEY
 3
 4       IN RE JOHNSON & JOHNSON TALCUM,)
 5       POWDER PRODUCTS MARKETING,             ) MDL NO.
 6       SALES PRACTICIES, AND PRODUCTS ) 16-2738 (MAS)
 7       LIABILITY LITIGATION                   ) (RLS)
 8       --------------------------             )
 9
10       ---    This is the Deposition of GEORGE NEWMAN,
11       M.D., taken at the offices of Loopstra Nixon,
12       130 Adelaide Street West, Toronto, Ontario, on
13       the 15th day of May, 2024.
14                            ------------
15
16
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21
22
23
24
25             REPORTED BY:   LEILA HECKERT, CVR, RCP-M

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     1   A P P E A R A N C E S:                          1           INDEX
     2   FOR THE PLAINTIFF,                              2 WITNESS: GEORGE NEWMAN, M.D.
     3   STEERING COMMITTEE AND THE MDL:                 3 Examination by Mr. Ewald......................8
     4   ASHCRAFT & GEREL, LLP                           4
     5   PER: MICHELLE A. PARFITT, ESQ.,                 5
     6   & PER: CHRIS TISI (via Zoom)                    6
     7   1825 K STREET NW,                               7
     8   SUITE 700,                                      8
     9   WASHINGTON, DC 20006                            9
    10   Email: mparfitt@ashcraftlaw.com                10
    11   Tel: 202-783-6400                              11
    12                                                  12
    13   & LUNDY LLP                                    13
    14   PER: RUDIE R. SOILEAU, JR., ESQ.               14
    15   501 BROAD ST,                                  15
    16   LAKE CHARLES, LA 70601                         16
    17   Email: rudiesoileau@gmail.com                  17
    18   Tel: 337-439-0707                              18
    19                                                  19
    20   & BEASLEY ALLEN                                20
    21   PER: LEIGH O'DELL (via Zoom)                   21
    22   218 COMMERCE STREET,                           22
    23   MONTGOMERY, ALABAMA 36103                      23
    24   Email: Leigh.odell@beasleyallen.com(334)       24
    25   Tel: 334-269-2343                              25
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     1   FOR THE DEFENDANT,                              1           INDEX OF EXHIBITS
     2   JOHNSON & JOHNSON:                              2   NO./DESCRIPTION                     PAGE
     3   KING & SPALDING                                 3   1   Dr. Newman's invoice to Ashcraft & 20
     4   PER: JOHN EWALD, ESQ.                           4      Gerel, LLP - August 2023 to
     5   1185 6th AVE,                                   5      November 2023.
     6   NEW YORK, NY 10036                              6   2   Invoice from Dr. Newman to         21
     7   Email: jewald@kslaw.com                         7      Ashcraft & Gerel, LLP - November
     8   Tel: 212 790 5341                               8      2023 to December 2023.
     9                                                   9   3   Dr. Newman's CV, updated April       34
    10   FOR THE PLAINTIFFS,                            10      2024.
    11   DIANA & GILBERT BALDERRAMA,                    11   4   Dr. Newman's November 2023 report. 51
    12   & BRANDI & JOEL CARL,                          12   5   "Table of Contents George Newman - 51
    13   ANAPOL WEISS                                   13      Expert Report."
    14   PER: TRACY FINKEN (via Zoom)                   14   6   June 17, 1966 memo. J&J           97
    15   130 N 18th St #1600                            15      000235850. To Dr. Hildick-Smith,
    16   Tel: (215) 929-8822                            16      Subject: Johnson's Baby Powder
    17   tfinken@anapolweiss.com                        17      Talc Aspiration. June 17, 1966.
    18                                                  18   7   Food and Drug Administration       127
    19   FOR PERSONAL CARE PRODUCTS COUNCIL,            19      Certificate - D-7214 (1986 FDA).
    20   REILLY, MCDEVITT & HENRICH, P.C.               20   8   Johnson & Johnson internal memo, 132
    21   PER: KEVIN KOTCH, ESQ., (via Zoom)             21      "Windsor minerals and talc."
    22   3 EXECUTIVE CAMPUS, SUITE 310,                 22      April 26, 1973.
    23   CHERRY HILL, NEW JERSEY, 08002                 23
    24   Email: kkotch@rmh-law.com                      24
    25   Tel: (856) 317-7180                            25

                                                                                               2 (Pages 2 - 5)
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                                               Page 6                                                   Page 8
     1           INDEX OF EXHIBITS                     1           --- Upon commencing at 9:24 A.M.
     2   NO./DESCRIPTION                     PAGE      2       (WHEREUPON, the witness was duly sworn.)
     3   9   "Review On The Present Status Of    146 3                GEORGE NEWMAN, M.D.,
     4      Talc Safety Substantiation                 4           called as a witness herein,
     5      Activities And Update Of                   5        was examined and testified as follows:
     6      Contingency Plans," January 1975,          6           EXAMINATION BY MR. EWALD:
     7      Bates Number of J&J000026987.              7           Q. Dr. Newman, we met off the record
     8   10 Johnson & Johnson document,         163 8      and my name is John Ewald and we are having, I
     9      Management Authorization for               9   think, some connection issues, and so, please,
    10      Additional Talc Safety Studies,           10   if it any point in time you are not hearing, or
    11      March 3, 1975.                            11   need me to repeat anything, just let me know and
    12   11 Dr. Newman's notes.             178       12   I'll do my best to try to repeat the question,
    13   12 Letter from Alfred Wehner to       187 13      okay?
    14      Michael Chudkowski at J&J Consumer        14           A. Sounds great.
    15      Products. J&J Bates Number                15           Q. Is this (inaudible) before?
    16      000040596, September 17, 1997.            16           A. Sorry. You broke up there. Can
    17   13 Studies - Facts About Talc.      200      17   you repeat the question?
    18   14 American Cancer Society Cancer -      201 18           Q. Have you been deposed before?
    19      Facts and Figures 2024.                   19           A. No, I have not.
    20   15 Campaign for Safe Cosmetics from      212 20           Q. It seems like you've -- from the
    21      safecosmetics.org site.                   21   materials that you've reviewed, at least a
    22   16 "Is Talc in Makeup Safe?" from      213 22     couple of depositions, during your process in
    23      drugwatch.com site.                       23   this case?
    24                                                  24         A. Yes, I have.
    25                                                  25         Q. So it seems like you probably
                                               Page 7                                                   Page 9
     1         INDEX OF EXHIBITS                         1   have a general idea of -- just to give you a
     2 NO./DESCRIPTION                      PAGE         2   couple of things on my end, especially with the
     3 17 Dr. O'Brien's article published in 237         3   connection issues. It's really important to try
     4    JAMA, "Association of Powder Use               4   to make sure that I finish my question, and I'll
     5    in the Genital Area With Risk of               5   try the same to make sure you've finished your
     6    Ovarian Cancer."                               6   answers so the court reporter can get everything
     7                                                   7   down. Does that make sense?
     8                                                   8          A. Sounds great.
     9                                                   9          Q. And certainly, if at any point in
    10                                                  10   time, you need to take a break, please just let
    11                                                  11   me know. And the major point I make on that,
    12                                                  12   though, is if there's a question pending, if
    13                                                  13   I've asked you something, it makes sense to
    14                                                  14   answer the question and then I'll give you a
    15                                                  15   chance to take a break.
    16                                                  16          A. Sounds great.
    17                                                  17          Q. And do you understand that you
    18                                                  18   are under oath and just like you would be if you
    19                                                  19   were appearing in a trial?
    20                                                  20          A. Yeah, I understand.
    21                                                  21          Q. And the last little intro, if
    22                                                  22   there's any question, even if you can hear me
    23                                                  23   now to clear but the question doesn't make
    24                                                  24   sense, please let me know and I'll do my best to
    25                                                  25   rephrase because we want to make sure that you
                                                                                             3 (Pages 6 - 9)
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                                                    Page 10                                                  Page 12
     1   understand the questions, okay?                  1        screen or do you want me to pull the hard copy
     2          A. Okay. I appreciate that. Thank         2        form here?
     3   you.                                             3                Q. So that is really -- it's totally
     4          Q. So for the record, (inaudible).        4        your preference as long as you feel comfortable.
     5          A. Mr. Ewald, I believe you broke         5                A. Okay.
     6   up.                                              6                Q. And so, you know, I think, I
     7          Q. For the record, where are you          7        will -- I'll probably not put on the screen your
     8   located today?                                   8        report as you have in front of you, so we can
     9          A. In Toronto, Ontario at the law         9        see each other as easily as possible. But if
    10   offices of Loopstra Nixon.                      10        it's a document, I'll put it on the screen,
    11          Q. And I think the stenographic          11        sometimes it's a document that's one-page and,
    12   record will reflect that counsel Michelle       12        you know, that's all you need to look at. But
    13   Parfitt and a few folks in the room. As we're   13        if you're more comfortable looking at what's in
    14   working through the deposition, Dr. Newman, it 14         the paper form, please just let me know, and
    15   will be helpful for me to understand what       15        we'll make sure you have it, okay?
    16   materials you have with you.                    16                A. Great.
    17          Can you tell me what you have in paper 17                  MS. PARFITT: Hey, John, I'll also add
    18   form, for example, with you.                    18        that in addition to the materials, I wanted to
    19          A. Sure. I'm looking at a window         19        make sure that you received a copy of the
    20   and there is a small desk there that has nine   20        Dropbox that we sent last Friday. And then --
    21   binders. And so those binder are all of the     21                MR. EWALD: Yes.
    22   materials that I cite in my report. In front of 22                MS. PARFITT: -- yesterday, there were
    23   me I have a copy of my report, a recent copy of 23        a couple of websites that were in the Dropbox.
    24   my CV, a table of contents for my report, three 24        I just wanted to make sure they found their way.
    25   pages of typewritten notes, and all of those    25        I know we are different examiners, not everyone
                                                    Page 11                                                  Page 13
     1   notes are just excerpts from materials so all of      1   has received what they need, so I just want to
     2   that material is verbatim from materials that         2   make sure you have those. Very good.
     3   I'm citing. And then I just have a blank              3          MR. EWALD: No. I definitely
     4   notepad so I can take notes during our                4   appreciate that, Michelle. And I did -- I think
     5   conversation.                                         5   I received everything. We will see if I didn't
     6           Q. That's helpful. And, Michelle,             6   as we proceed --
     7   it may be helpful maybe during a break to give a      7          MS. PARFITT: Let me know.
     8   copy of the three pages of the separate notes.        8          MR. EWALD: Yep, great. Thank you.
     9           MS. PARFITT: John, what I can do is           9          MS. PARFITT: Of course.
    10   get that in the chat maybe during the break.         10          BY MR. EWALD:
    11   How does that work?                                  11          Q. So, Dr. (inaudible) with --
    12           MR. EWALD: Perfect.                          12   you're telling me how you got involved as an
    13           MS. PARFITT: Thank you.                      13   expert in this litigation?
    14           BY MR. EWALD:                                14          A. Sure. I received a call from
    15           Q. I think as a matter, as we're             15   Michelle Parfitt.
    16   going forward, Dr. Newman, that largely I'm          16          Q. Okay. And, so, you received a
    17   going to be asking questions about the report.       17   call from Michelle Parfitt.
    18   There are going to be some documents, most of        18          And approximately when was that?
    19   them cited in your report, and I'll talk about       19          A. Roughly June or July of last year
    20   and put up a screen, but certainly if you need       20   of 2023.
    21   time to pull something from the binder or            21          Q. All right. And (inaudible) you
    22   anything like that, just let me know, okay?          22   broke up a (inaudible). Did you say June or
    23           A. Sure. Just a question about               23   July 2023?
    24   protocol. When we do reference those documents,      24          A. Correct, yes.
    25   is it better for me to look at them on the           25          Q. I don't want to get to the
                                                                                                 4 (Pages 10 - 13)
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                                                     Page 14                                                  Page 16
     1   specifics of the conversation that you had with 1          research on this topic?
     2   Ms. Parfitt.                                     2                A. No, I didn't.
     3          But you agreed to be retained at or       3                Q. And when you are starting to do
     4   shortly after the time you spoke with her in     4         this research in June, July of 2023 -- maybe
     5   June or July of 2023?                            5         just because you broke up earlier, can you just
     6          A. Yeah, yeah. That's correct.            6         repeat what was the specific issue that you were
     7          Q. In you report, and we'll get to        7         looking at?
     8   it. You talk about question or what you were     8                A. Sure. Generally, it was anything
     9   asked to review in connection in this case, if   9         related to the marketing of Johnson & Johnson
    10   you want to look at paragraph 9 of your report 10          powder products, so the talcum powder products,
    11   on paper.                                       11         Johnson's Baby Powder, Shower to Shower,
    12          A. Great, yeah.                          12         Johnson's Baby Powder with cornstarch, and then
    13          Q. When you were first retained in       13         I was looking at documents relevant to, you
    14   this case, was the direction to you on what you 14         know, broadly the advertising, sale and
    15   were going to review the same as what is        15         distribution of those products, also any, kind
    16   reflected in paragraph 9?                       16         of, consumer research that Johnson & Johnson had
    17          A. When I first spoke to                 17         done about those products or contracted with, so
    18   Ms. Parfitt, the -- it was basically just to    18         I wanted -- those were other materials that I
    19   look into marketing and advertising as it       19         wanted to look at.
    20   pertained to Johnson's talcum powder products. 20                 Q. (Inaudible) initial review in
    21          Q. And, again, although there's a        21         June, July 2023, you mentioned you received some
    22   slight breakup, I think I got it. When you      22         documents from counsel. Is that right?
    23   spoke with Ms. Parfitt, the initial (inaudible) 23                A. Correct. Yes, so we would have
    24   and advertising of Johnson & Johnson was that 24           conversations periodically on the phone or Zoom,
    25   specifically as it relates to talc?             25         and then I would indicate categories of
                                                     Page 15                                                  Page 17
     1          A. To talc and talcum powder                    1   documents that I was interested in reviewing.
     2   products and also the associated products,             2   And then, I would receive a link to a Dropbox
     3   cornstarch, et cetera.                                 3   folder. And I would look at the documents in
     4          Q. Right. So how did you go about               4   that Dropbox folder. Many of the documents were
     5   that first when (inaudible) into that issue,           5   relevant, some weren't relevant to the things
     6   what did you do?                                       6   that I was looking at. And so then I would just
     7          THE REPORTER: Sorry. He needs to                7   focus on my attention, you know, on the
     8   repeat that. There was a word, I didn't catch.         8   documents that were relevant to the marketing
     9          THE WITNESS: Mr. Ewald, could you               9   issues.
    10   repeat that question?                                 10          MR. EWALD: We can go off the record
    11          BY MR. EWALD:                                  11   for just one moment.
    12          Q. When you were first -- so when              12          -- OFF THE RECORD AT 9:38 A.M.
    13   you were asked (inaudible) the issue that we          13          -- RESUME AT 9:55 A.M.
    14   just talked about in June, July of 2023, what         14          BY MR. EWALD:
    15   did you do?                                           15          Q. All right. Thank you, Dr. Newman
    16          A. Sure. So I looked at a bunch of             16   and Ms. Parfitt for your assistance. And I
    17   different categories of information. So, I            17   think right now we are in a much better place
    18   searched online, looked at, kind of, materials        18   technology-wise. But my comment earlier,
    19   that were out there from facts about talc, from       19   Dr. Newman, remains the same: If at some point
    20   Health Canada, from, you know, some of the            20   in time I cut out or you don't heard me, just
    21   Google Scholar, looking at some of the epi            21   let me know, okay?
    22   studies, and then, you know, I also requested         22          A. Sounds great.
    23   documents from counsel.                               23          Q. Sure. When we went off the
    24          Q. So did you get any guidance from            24   record, we were talking at a high level of what
    25   counsel on where to look in connection with your      25   you started doing once you were engaged in the

                                                                                                  5 (Pages 14 - 17)
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                                                     Page 18                                                    Page 20
     1   case in June, July of 2023, you were talking           1   document, reviewed, two and half hours. Do you
     2   about some work that you had done. And at what         2   see that?
     3   point in time, did you understand the question         3           EXHIBIT NO. 1: Dr. Newman's invoice
     4   that you were going to be answering would be           4           to Ashcraft & Gerel, LLP - August
     5   what is written out in paragraph 9 that we             5           2023 to November 2023.
     6   talked about?                                          6           THE WITNESS: Yes.
     7          A. Maybe just ask for a bit of                  7           BY MR. EWALD:
     8   clarification. By question, you mean, is there         8           Q. And would that be the start date
     9   a specific part of that statement?                     9   for when you started your work on this project
    10          Q. Right. Fair enough. So when I               10   in earnest?
    11   started asking questions about this, you              11           A. That's when I started this
    12   indicated that the initial part of the retention      12   litigation, yeah.
    13   in June, July 2023, you are looking into the          13           Q. And if we scroll down through the
    14   marketing and sales practices of J&J, and it          14   first page, it's all document review, phone
    15   wasn't necessarily being asked to do what is          15   meeting. And then we get to October 27, '23 on
    16   stated in paragraph 9 as your task. Is that           16   the second page. And it's the first entry of a
    17   fair?                                                 17   number of entries that's labelled "Draft
    18          A. Correct. If you are referring to            18   comment," do you see that?
    19   part, you know, were there aspects of the             19           A. Correct, yes.
    20   marketing that were misleading or created             20           Q. And what do you mean by "draft
    21   confusion.                                            21   comment"?
    22          Q. Right.                                      22           A. Just that I was working on the
    23          A. I would say that's something that           23   comment that I was drafting the comment.
    24   I couldn't give you an exact time at which that       24           Q. And when you're -- understanding
    25   happened, but it's something that evolved as I        25   that this may be your first rodeo in litigation,
                                                     Page 19                                                    Page 21
     1   was reviewing materials. You know, I was               1   you're talking about comment, are you referring
     2   beginning to form theories or an understanding         2   to the expert report that you issued in November
     3   about what happened. And, so, I couldn't put it        3   2023?
     4   at an exact point in time. But, you know,              4          A. Yes. That was my understanding
     5   something that evolved over time.                      5   of what it was called, yeah.
     6          Q. So when we were talking about the            6          Q. Sure. And then, let me mark next
     7   timeline overall, approximately when did you           7   as Exhibit 2 another invoice from Dr. Newman to
     8   start preparing the report?                            8   the Ashcraft firm. This one is -- appears to be
     9          A. It wasn't long after. Again, I               9   undated, but last time-entry is starting in
    10   would say probably in October. But I don't know       10   November of '23, and ending in December of '23,
    11   for certain.                                          11   correct?
    12          Q. Without getting into any                    12          EXHIBIT NO. 2: Invoice from
    13   specifics, did anybody assist you in the              13          Dr. Newman to Ashcraft & Gerel, LLP -
    14   drafting of the report?                               14          November 2023 to December 2023.
    15          A. No.                                         15          THE WITNESS: Correct, yes.
    16          Q. I'm going to mark a couple of               16          BY MR. EWALD:
    17   documents, to start us off, as exhibits that          17          Q. And, so, your report is issued on
    18   were produced to me by counsel. I'm going put         18   November 15th, 2023, correct?
    19   up on the screen. And let me know if you have a       19          A. Yes. That's correct.
    20   problem seeing it. Do you see that, Doctor?           20          Q. When you are reviewing documents
    21          A. Yep.                                        21   in the month or so following the issue -- the
    22          Q. Okay. And we'll mark this as                22   issuance of your report, what were you looking
    23   Exhibit 1. It is an invoice dated 11/21/23 from       23   at?
    24   Dr. Newman to the Ashcraft Law firm. And the          24          A. So there were -- there were like
    25   first entry here, Doctor, is August 8, 2023,          25   a couple of other experts, Dr. Kessler, in

                                                                                                   6 (Pages 18 - 21)
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     1   particular, that I wanted to look at his report.  1   deposition more recently, right?
     2   And then also the deposition when it was          2           A. That's right. When it became
     3   available. So I remember I read that very         3   available. I don't recall exactly when that
     4   closely. And I believe that there might have      4   was.
     5   been a few other documents that I requested that 5            Q. Sometime approximately within the
     6   you know, as I continued to think about the       6   last month or so, something like that?
     7   case, and my opinion is still evolving, right,    7           A. I think that's right, yeah.
     8   I'm still learning about the case, you know,      8           Q. Was there anything in
     9   that I requested additional documents.            9   Dr. Kessler's deposition that modified the
    10           Q. So if I'm understanding you           10   opinions that you offer in your report dated
    11   correctly, it's one of the things you were       11   November 2023?
    12   looking at in the month following issuance of 12              A. No.
    13   your report or other reports that have been      13           Q. Now, I just showed you two
    14   issued by plaintiff's experts around the same    14   invoices.
    15   time as yours in November of 2023?               15           Have you issued to Ms. Parfitt any
    16           A. And Dr. Kessler in particular,        16   other invoices so far in this litigation?
    17   yeah.                                            17           A. No, I have not.
    18           Q. And so you said that,                 18           Q. And I could bring it back up, but
    19   particularly interested in what Dr. Kessler had 19    the second invoices ended with a time entry
    20   to say, and why is that in connection with your 20    sometime in December 2023, right?
    21   opinion here?                                    21           A. Correct, yes.
    22           MS. PARFITT: Objection, broad.           22           Q. So if we are basically catching
    23           THE WITNESS: Can you just restate the 23      us up to present, do you have an estimate of how
    24   question. I got a little confused there for a    24   many hours you have spent on the case from,
    25   second.                                          25   let's say, end of December to today?
                                                  Page 23                                              Page 25
     1          BY MR. EWALD:                              1          A. You know, I don't know exactly,
     2          Q. Sure. No problems.                      2   so I can venture a guess. But, you know, I
     3          Is what, if any, impact does               3   actually I don't -- I don't know exactly. I
     4   Dr. Kessler's report and deposition have on the 4     wouldn't want to guess.
     5   opinions that you are offering in this case?      5          Q. You're learning fast, and I don't
     6          A. Well, given his position, and           6   want you to guess either. But if you had to
     7   given that he was speaking to some of the         7   give a range, for example, if I were to say do
     8   regulatory issues and some of the issues that, I 8    you have a reasonable sense that you billed
     9   think, overlap with the marketing issues that I   9   since the end of December 2023 over 100 hours,
    10   was looking at, you know, I was curious to       10   does that sound right?
    11   better understand, you know, some of these       11          A. I don't think it would be over
    12   specific arguments that he was making in his     12   100, no.
    13   report.                                          13          Q. Over 50?
    14          Q. Are you relying on any of              14          A. Possibly, possibly. But I'm not
    15   Dr. Kessler's opinions for your opinions in this 15   sure. Just to clarify, I mean, I haven't
    16   case?                                            16   billed, I haven't sent an invoice or anything,
    17          A. I wouldn't say that. I formed my       17   yet, yeah.
    18   opinion, written my opinion, you know, when I 18             Q. Okay. Just looking for an
    19   submitted my report. And, so, the things I       19   estimate.
    20   found were kind of consistent with my opinion, 20            A. Sure.
    21   but I wouldn't say that I relied on, you know,   21          Q. And if you had to break down into
    22   his report at all in drafting mine.              22   different buckets, basically, how he spent your
    23          Q. And we'll probably get more to         23   time on this case from the beginning of the year
    24   it.                                              24   until today, what would you say?
    25          But you had reviewed Dr. Kessler's        25          A. Again, I would say the majority
                                                                                            7 (Pages 22 - 25)
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                                                     Page 26                                                    Page 28
     1   is document review, just continuing to read and        1          A. Roughly, August, 20 -- July,
     2   understand and going back and revisiting               2   August 2021.
     3   documents that I had read before, requesting new       3          Q. Were you retained by a company
     4   documents, reading those, like the deposition          4   for this purpose?
     5   that we talked about.                                  5          A. No.
     6          Q. Without getting into any of the              6          Q. Were you retained by governmental
     7   specifics, did you meet with counsel in                7   body?
     8   preparation for your deposition today?                 8          A. No.
     9          A. I did, yes.                                  9          Q. Retained by an individual?
    10          Q. And who did you meet with?                  10          A. Yes.
    11          A. I met with Michelle Parfitt and             11          Q. Did that retention have anything
    12   Rudie Soileau.                                        12   to do with talc?
    13          Q. How many times did you meet with            13          A. It did, yes.
    14   them in preparation for today's deposition?           14          Q. Are you relying, in part, on what
    15          A. Met yesterday, and then there               15   you learned during that consulting arrangement
    16   were a few phone meetings.                            16   for your opinion today?
    17          Q. And how long did you meet with              17          A. Yes, I am.
    18   counsel yesterday?                                    18          Q. And do you understand that prior
    19          A. It was over half a day. I don't             19   consulting arrangement is confidential?
    20   know the exact number of hours.                       20          A. I do, yes. I signed an NDA.
    21          Q. And apologies, sometimes "half a            21          Q. Did the work have to do with
    22   day" means something different to some people.        22   potential health effects associated with talc?
    23          If you guys say how many hours half a          23          A. It did, yes.
    24   day is, and how many is that?                         24          Q. And if I ask you who retained
    25          A. Sorry. I was thinking about a               25   you, would you be able to tell me as part of
                                                     Page 27                                                    Page 29
     1   workday. More than four and under eight.         1         your NDA?
     2          Q. And, fortunately, I think              2                 A. I believe so, yeah.
     3   Ms. Parfitt and I sometime have days that are    3                 Q. So who would be --
     4   longer than eight hours.                         4                 A. Michelle Parfitt.
     5          MS. PARFITT: I agree, John.               5                 Q. Can you describe to me what work
     6          MR. EWALD: You're on the same page. 6               you did back in July, August 2021 relating to
     7          MS. PARFITT: Yes.                         7         talc?
     8          BY MR. EWALD:                             8                 A. Again, looking at very similar
     9          Q. You mentioned that you've never        9         issues. Looking into, basically, the marketing
    10   been deposed before.                            10         issues pertaining to talc, talcum powder
    11          Have you ever given testimony of any     11         products, you know, the associated products, but
    12   kind before?                                    12         focused on advertising, distribution, sale,
    13          A. No, I haven't.                        13         consumer research, that type of stuff.
    14          Q. In this case you are disclosed as     14                 Q. Approximately how many hours did
    15   an expert.                                      15         you bill on the consulting project in 2021?
    16          Have you ever been retained as what      16                 A. Again, this would be a rough
    17   you understood to be a confidential consulting 17          estimate. But using the benchmarks that we
    18   expert, before today, in litigation?            18         established before, I would say over 100 hours.
    19          A. Yes.                                  19                 Q. When did all that work happen
    20          Q. And I don't want to get into          20         2021?
    21   specifics. But let's get a little bit more info 21                 A. I don't recall exactly. The bulk
    22   on that so we will see.                         22         of it, yeah, happened in 2021, probably spanning
    23          Approximately when did you get           23         it to 2022 a little bit as well, yeah.
    24   retained for this confidential consulting       24                 Q. Did that work result in any kind
    25   matter?                                         25         of written work product?

                                                                                                   8 (Pages 26 - 29)
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                                                    Page 30                                                  Page 32
     1          A. No, it did not.                             1   variety of sources, some from the Kilmer House
     2          Q. When you started work in 2023 on            2   website, some from eBay, and other kinds of
     3   what ended up in your current report, did you,        3   secondhand retailers. And then, you know, there
     4   as part of your work, go back to the materials        4   are the documents that I requested of counsel.
     5   that you reviewed in 2021?                            5          Q. When you are looking for
     6          A. Yeah. Yes, that's right.                    6   resources online, were you using any -- let me
     7          Q. And are those -- are any of the             7   withdraw it.
     8   materials that you consider to be your opinions       8          When you were looking at resources
     9   in this case - that you reviewed first in 2021 -      9   online, were you making any kind of an
    10   reflected on your preference list and report?        10   assessment as to whether or not the information
    11          A. If I understand the question               11   being provided was reliable?
    12   right, everything --                                 12          A. Yes, to the best of my ability, I
    13          Q. Right.                                     13   was, yes.
    14          A. -- that is in -- that is                   14          Q. So to the best of your ability,
    15   referenced in my report would be inclusive of,       15   to extent that you're reviewing information
    16   basically, everything that I was learning, all       16   online about alleged health risks associated
    17   the material that I reviewed, 2021 up until, you     17   with ovarian cancer, what, if any, expertise do
    18   know, present-day.                                   18   you have to assess whether or not what is being
    19          Q. When Ms. Parfitt reached out to            19   asserted is reliable?
    20   you in 2021, did you have an understanding about     20          MS. PARFITT: Objection, form.
    21   how she connected with you?                          21          THE WITNESS: My training is in
    22          A. I don't -- actually, I have no             22   cognitive science, so I'm not an epidemiologist
    23   idea.                                                23   or a medical doctor of any kind. But I am
    24          Q. Do you recall what rate -- hourly          24   trained as a scientist, I practice as a
    25   rate you charged for your time in 2021?              25   scientist, so, you know, I can understand
                                                    Page 31                                                  Page 33
     1         A. It was the same rate, $600 an           1        scientific writing, understand, you know, basic
     2   hour.                                            2        statistics and that sort of thing.
     3           Q. While we're on that topic, is         3                BY MR. EWALD:
     4   that $600 an hour for document review,           4                Q. And understanding that you can
     5   deposition today, trial if it's happening,       5        understand the scientific writing, do you have
     6   everything?                                      6        the expertise, in your view, to assess whether
     7           A. Not for, like, the deposition         7        or not a scientific statement about health risk
     8   today. My hourly is 750.                         8        associated with talc is based on reliable
     9           Q. And what about trial testimony,       9        information?
    10   if it happens?                                  10                A. Not at that kind of granularity,
    11           A. It would also be 750. But,           11        no. I would say reading it as a scientist from
    12   again, I'm new to all of this, but so that      12        an adjacent field, and I would say that that is,
    13   hasn't happened.                                13        kind of, the limit of my expertise there.
    14           Q. That's fair.                         14                Q. At any point in time from 2021
    15           What was the process in 2021 for your   15        when you were first retained by Ms. Parfitt
    16   review of materials?                            16        until today, have you spoken with anyone that
    17           A. Like we discussed before, I mean,    17        you understand to be a plaintiff expert in this
    18   it was the same process as in 2023. So I was    18        MDL?
    19   looking at different categories of information, 19                A. No, I haven't.
    20   so, you know, looking for resources online,     20                Q. And have you sought guidance from
    21   looking to the literature, the scientific       21        any scientist in connection with the opinions
    22   literature, both, you know, epidemiological     22        that you are offering in your November 2023
    23   studies, as well as relevant work in my area of 23        report?
    24   expertise, consumer behaviour and psychology. 24                  A. When you say "scientist", could
    25   Looking at advertisements, which came from a 25           you be more specific?
                                                                                                 9 (Pages 30 - 33)
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                                                   Page 34                                                  Page 36
     1         Q. Well, I'm assuming based on your            1           A. My wife is also a professor, and
     2   time entries and what you've said that you have      2   so we had what's called the two-body problem,
     3   conferred with counsel in connection with the        3   and just trying to be at the same place, and so
     4   preparation of your November 2023 report, right?     4   we were able to -- she had a position at the
     5         A. Sure, yes, that's right.                    5   University of Toronto, and so they were able to
     6         Q. And maybe a better way to ask it            6   make a position for me, and so I joined last
     7   is have you conferred with anyone, other than        7   year.
     8   counsel, in connection with the opinions that        8           Q. Okay. I believe you mentioned in
     9   you are offering in your November 2023 report?       9   your report on paragraph 2 that when you were at
    10         A. No.                                        10   Yale, you were tenure-track faculty. Is that
    11         Q. Let's pull up and mark as                  11   correct?
    12   Exhibit 3 your CV that I received from counsel.     12           A. That's correct, yes.
    13   Can you see that, Doctor?                           13           Q. You did not make tenure while you
    14         EXHIBIT NO. 3: Dr. Newman's CV,               14   were at Yale?
    15         updated April 2024.                           15           A. No, no.
    16         THE WITNESS: Yes.                             16           Q. Correct?
    17         BY MR. EWALD:                                 17           A. Correct, that's right.
    18         Q. And this CV has a date in the              18           Q. In your CV, you have a change in
    19   upper left corner of April 2024. Is it your         19   title in 2016 from Associate Professor of
    20   current CV?                                         20   Management at Yale School of Management to
    21         A. It is, yes.                                21   Associate Professor of Management and Marketing,
    22         Q. So, your current position is               22   right?
    23   Associate Professor of Organizational Behaviour     23           A. Correct. Yes, that's right.
    24   in Human Resource Management and Marketing          24           Q. What was that change about?
    25   Rotman School of Management in the University of    25           A. So there's a promotion, so that
                                                   Page 35                                                  Page 37
     1   Toronto. Is that correct?                         1      would be the next step and then maybe just
     2          A. That is correct, yes.                   2      trying to anticipate your -- a question. So
     3          Q. And does -- you were not a              3      tenure is at the full level at Yale, so I was
     4   tenured professor at the University of Toronto? 4        not -- you know, was not full professor at Yale,
     5          A. No, I'm not.                            5      but was associate then came to Rotman.
     6          Q. Do they have a tenure-track at          6             Q. Are you currently teaching
     7   the University of Toronto?                        7      classes?
     8          A. Yes, they do.                           8             A. I am.
     9          Q. Are you on the tenure-track?            9             Q. In Toronto?
    10          A. Well, it's a complicated               10             A. Yes. Not currently, but, yes.
    11   question. When I was hired, it was during a      11             Q. I always forget when the school
    12   hiring freeze, essentially, at the university,   12      year ends.
    13   and so the position I'm on is not, but as a line 13             But for the last semester, for
    14   opens up, then I would convert to that. And so 14        example, what classes did you teach?
    15   that's what the designation of the associate     15             A. I taught the Intro to
    16   professor rank, kind of, signifies which is      16      Organizational Behaviour course.
    17   that, you know, I would be moving into that role 17             Q. And if you had to give me a brief
    18   on the tenure line once a tenure line position   18      overview of what that class is about, what would
    19   is open.                                         19      you say?
    20          Q. But as of right now, you're not        20             A. Largely, it's the study of people
    21   tenure-track at the University of Toronto?       21      working together in groups and teams and
    22          A. Correct, that's right.                 22      organizations. And so it's a broad overview of
    23          Q. What was the reason for the            23      the psychology and sociology in trying to
    24   change from Yale in 2022 to the University of 24         understand those dynamics.
    25   Toronto?                                         25             Q. Since you've been at Toronto,
                                                                                              10 (Pages 34 - 37)
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                                                     Page 38                                                  Page 40
     1   have you taught any other classes?                     1   lack of a better term, of different types of
     2          A. Not at Toronto, no.                          2   experimental work?
     3          Q. What are the types of classes                3           A. Yeah, sure. So, typically, you
     4   that you taught while you were at Yale?                4   would divide up a psychology department into
     5          A. I taught consumer behaviour. And             5   cognitive psychology, which is what my training
     6   then I also taught a class that was very similar       6   is in, it's basically the study of thinking;
     7   to Intro to Organizational Behaviour there, it         7   social psychology, which is all about
     8   was called "The Employee," but essentially, the        8   interpersonal and group relationships. A lot of
     9   same kind of class.                                    9   my work also dovetails with social psychology;
    10          Q. Consumer behaviour, what sorts of           10   then, you know, you might have personality
    11   topics did you cover?                                 11   psychology, you might have clinical psychology
    12          A. So consumer behaviour is,                   12   as part of that track. You might have
    13   basically, the psychological and strategy issues      13   neuroscience or behavioural neuroscience that
    14   around marketing, but, you know, taught from the      14   would be part of a psychology department. But
    15   perspective or from the vantage of the consumer,      15   those are all, would be, you know, experimental
    16   so trying to understand the nature of consumer        16   fields within psychology.
    17   perceptions and how that intersects with a            17           Q. And, so, within specifically, you
    18   company's marketing strategy.                         18   talked about cognitive psychology and social
    19          Q. Typically, how do you understand            19   psychology, are they different types of accepted
    20   the nature of consumer perceptions?                   20   empirical methods that psychologist use to find
    21          A. You'll have to be a little bit              21   out about consumer perceptions?
    22   more specific.                                        22           A. Absolutely, yes.
    23          Q. Well, what are -- in your class,            23           Q. And what are those?
    24   what do you teach the students about how are          24           A. There's a variety of methods. I
    25   some different ways to understand the nature of       25   would say some of the most common ones would be
                                                     Page 39                                                  Page 41
     1   consumer protections -- oh, perceptions, sorry.        1   an experiment, or maybe you are familiar with
     2          A. Sure. Well, I mean, you know,                2   A/B testing, I think is the way that idea has
     3   one, you know, we would, kind of, talk about it        3   spilled over into the broader public. But you
     4   in terms of important psychological principles.        4   would expose two different randomly assigned
     5   But, you know, one, you know, big topic is the         5   groups to similar information that differs in
     6   role of expectation of people's prior                  6   one important way, and then look at some outcome
     7   expectations and beliefs, and how that changes         7   measure to see how that variables then affected
     8   things. And so, you know, people might express         8   whatever dependent measure you were interested
     9   a strong preference for Coke over Pepsi, but in        9   in.
    10   a blind taste test, they can't distinguish them       10          Another method would be looking at
    11   apart. So trying to understand how things like        11   kind of regression, using regression analyses to
    12   brand or brand awareness change consumer              12   understand larger patterns of behaviour. So you
    13   psychology, change purchase habits.                   13   might get data from SKUs in a store, or you
    14          Q. And so if you're trying to                  14   might be taking some other kind of behavioural
    15   understand the consumers' prior expectations and      15   measure; how often people donate to this
    16   beliefs, for example, in your Coke example, how       16   particular cause, and you'd say, Well, I've got
    17   would you go about determining those consumer         17   a hypothesis about some of the predicting
    18   perceptions?                                          18   factors.
    19          A. So I'm an experimental                      19          Another method would be a field
    20   psychologist, so the work that I'm talking about      20   experiment where you're making some kind of
    21   in my classes and the work that I'm doing as          21   random assignment in the field. You know, and
    22   part of my day-to-day are all psychology              22   then a lot of the other methodologies are
    23   experiments, essentially.                             23   directly overlapping with -- all of the
    24          Q. And as an experimental                      24   methodologies, to be clear, that I talked about,
    25   psychologist, are there established buckets, for      25   are directly overlapping with psychology; those

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                                                    Page 42                                                   Page 44
     1   are psychological methods. And then there might       1   to any particular company. Is that fair?
     2   be, kind of, more nuanced methods, like using         2          A. That's right, yeah. And it's a
     3   eye-tracking software or using -- you know,           3   very common method in these studies is that you
     4   doing fMRI work, or something like that that          4   would, kind of, blind the company so you're not
     5   would all be part of, you know, research in           5   drawing on people's pre-existing beliefs about a
     6   marketing or research in consumer behaviour but       6   particular organization.
     7   using psychology.                                     7          Q. You said that that work has not
     8          Q. Thank you. Very helpful.                    8   been published.
     9          A. Sure.                                       9          Was it submitted for publication?
    10          Q. Didn't even have to take the               10          A. No. It wasn't. It was --
    11   class.                                               11   sometimes you have it that graduate students
    12          Have you ever published on how                12   will often be the lead on a project, and then
    13   companies communicate with consumers with            13   sometimes graduate students go elsewhere and,
    14   respect to health risks of their products?           14   kind of, disappear, and with that goes the
    15          A. I apologize for pausing for a              15   project. And so, it's one of those kind of
    16   second. I'm just trying to think. Not -- not         16   languishing things but, yeah.
    17   directly on -- not directly on health risks.         17          Q. So, approximately, what time did
    18          Q. Anything indirectly on health              18   you work on this project with the graduate
    19   risks?                                               19   students?
    20          A. Sure, I mean, I've published a             20          A. I would say that was probably six
    21   lot on what companies communicate about              21   years ago or so.
    22   production methods, about things like                22          Q. Have you ever -- apart from your
    23   sustainability, various kinds of environmental       23   work since 2021 with Ms. Parfitt, have you done
    24   methods, things like manufacturing location. So      24   any work related to Johnson & Johnson?
    25   these additional features about a product, and,      25          A. No.
                                                    Page 43                                                   Page 45
     1   you know, I have collected data and been          1               Q. Before being retained in 2021,
     2   involved in collaborations where we have looked 2         what, if anything, did you know about talc?
     3   at the communication regarding corporate crises 3                 A. Virtually nothing. I just knew
     4   and health risks specifically. I was just         4       that it was a product.
     5   pausing because I don't think we published those 5                Q. Did you know at the time in 2021
     6   studies. But a lot of studies that are very       6       of any alleged health risks with the use of
     7   related to that idea.                             7       talc?
     8           Q. The corporate crisis health risk       8               A. Not really, no.
     9   data that you collected but was not published,    9               Q. Before being retained in 2021,
    10   what did that relate to?                         10       what, if anything, did you know about asbestos?
    11           A. That was different responses to a     11               A. Very little.
    12   corporate crisis. So does a company respond in 12                 Q. And though it's hard to cast your
    13   an engaged manner, in a defensive manner, or 13           mind back, but if you had to say what you knew
    14   with no comment? So we were looking at those 14           in 2021 what very little was, what did you know
    15   different strategies. These are all for          15       about asbestos?
    16   hypothetical companies, so we're stripping       16               MS. PARFITT: Objection, form.
    17   information about the company away, and just 17                   THE WITNESS: That it was harmful.
    18   using, kind of, the bare facts of what happened 18                BY MR. EWALD:
    19   and then we are tweaking the company response 19                  Q. Anything else?
    20   and looking to how that influences consumer      20               A. You know that it used to -- was
    21   perceptions.                                     21       used in some manufacturing, and so that you
    22           Q. And so when you say "hypothetical 22           could get asbestos in an old building, and that
    23   company", am I understanding you correctly that23         kind of thing.
    24   it is based on actual companies and what         24               Q. When you got retained in 2021
    25   occurred, but you were not attributing that data 25       before today, did you do any background research

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                                                  Page 46                                                    Page 48
     1   for yourself relating to asbestos specifically?   1     issuing your opinions in this case about whether
     2          A. I did a little bit of reading,          2     or not Johnson & Johnson talc has ever been
     3   yeah.                                             3     contaminated with asbestos?
     4          Q. And what do you recall looking          4            A. No, I am not.
     5   at?                                               5            Q. Has counsel asked you to make any
     6          A. Well, and I don't remember, you         6     assumptions in connection with the opinions that
     7   know, I'm looking at a variety of sources online 7      you're offering in this matter?
     8   and trying to just educate myself. But            8            MS. PARFITT: Objection, form.
     9   learning, for instance, about the co-occurrence 9              BY MR. EWALD:
    10   of asbestos in natural formations, understanding 10            Q. I saw in your materials reviewed
    11   that or what I believe to understand that        11     references to certain plaintiff expert reports
    12   asbestos refers to a certain shape of a          12     including Dr. William Longo. Do you know who
    13   particle, that's kind of like needle-like fibre. 13     that is?
    14   I wasn't really aware of that with that kind of  14            A. Only that he is another expert
    15   specificity before.                              15     witness in this litigation.
    16          Q. When you say that, to your             16            Q. Have you reviewed any of his
    17   understanding, that asbestos refers to shape and 17     reports?
    18   needle-like fibre, where did you get that        18            A. Not closely at all, no.
    19   understanding?                                   19            Q. Are you relying, in any way, on
    20          A. Again, I don't know. I                 20     the opinions that Dr. Longo is offering in his
    21   couldn't -- I couldn't say. I mean, at some      21     reports?
    22   point in doing research and just trying to read 22             A. No, I am not.
    23   about what asbestos is online, you know, my      23            Q. Do you recall reviewing expert
    24   go-to usually is Google Scholar, that's where I 24      reports of Dr. Plunkett and Dr. McTiernan?
    25   try to get a lot of my information, and so it    25            A. I recall the name Plunkett,
                                                  Page 47                                                    Page 49
     1   was consulting materials there, but I don't         1   Dr. Plunkett. And, again, that might be one of
     2   remember exactly which ones.                        2   those reports that I glanced at, but I did not
     3          Q. And that's fair. But as you sit           3   review carefully.
     4   here today, can you point me to any particular      4          Q. Are there any expert reports that
     5   source that you were using your definition of       5   you reviewed, as you say, carefully or more
     6   asbestos?                                           6   detail apart from Dr. Kessler's?
     7          A. You know, and, I wouldn't -- I            7          A. Sage.
     8   wouldn't even say that I have a definition of       8          Q. And do you rely on the opinions
     9   asbestos, at all. I interpreted your question       9   in Dr. Sage's reports for your opinions here?
    10   as, you know, what did you know before and what    10          A. No.
    11   do you know now? I would describe my knowledge     11          Q. Did anything that you reviewed in
    12   now as very, very limited, and would just          12   Dr. Sage's report or deposition modify the
    13   describe it as an understanding of something       13   opinions that are articulated in your November
    14   that changed prior; I just didn't know what        14   2023 report?
    15   asbestos was at all and think that I have at       15          A. No, not that I can recall.
    16   least some slight idea of what it might be now.    16          Q. Are you going to be offering any
    17          Q. Do you have an understanding as          17   opinions as to whether or not Johnson & Johnson
    18   to whether or not there is a debate among          18   complied with its regulatory obligations over
    19   scientists as to the definition of asbestos?       19   the years as it relates to talc?
    20          A. No. I'm not aware of that.               20          A. No.
    21          Q. Are you offering any opinions            21          Q. Are you going to be offering any
    22   about whether or not Johnson & Johnson talc        22   opinions about what, if any, changes should have
    23   products has ever contained asbestos?              23   been made to the product warning label?
    24          A. No, I am not.                            24          A. No.
    25          Q. Are you making any assumptions in        25          Q. Are you going to be offering any

                                                                                               13 (Pages 46 - 49)
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     1   opinions as to what specific language should           1           BY MR. EWALD:
     2   have been included in advertisements to warn of        2           Q. Got it. Makes sense. Let's talk
     3   potential health risks?                                3   about your report, and if you have it in front
     4          A. No. Not specific language.                   4   of you -- I can also put it up on the screen if
     5          Q. Do you have any expertise in                 5   you need any help in pointing to the right
     6   assessing the benefits and health risks of a           6   direction. I want to start at paragraph 9. Let
     7   product in determining whether or not it should        7   me know when you're there.
     8   be marketed?                                           8           A. Yep, I'm here.
     9          A. No, not -- as I understand your              9           Q. So in paragraph 9, first sentence
    10   question, you know, in the way that, like, a          10   states:
    11   regulatory body would make that judgment, no, I       11               "I was asked to review Johnson &
    12   don't have any experience to that effect.             12           Johnson’s practices regarding the
    13          MR. EWALD: So, we have been going for          13           promotion and sale (i.e., marketing)
    14   about an hour. I'm about to change topics. I          14           of Johnson’s talcum powder products,
    15   am happy to keep going. But I'm also happy to         15           and to assess whether the company
    16   take a break if folks want to take a break.           16           engaged in misleading and deceptive
    17          MS. PARFITT: Doctor, it's up to you.           17           conduct that created confusion and
    18   If you're good --                                     18           misunderstanding among consumers by
    19          THE WITNESS: Will the next road stop           19           failing to communicate and
    20   be another hour from now?                             20           appropriately inform consumers of
    21          MR. EWALD: No. I mean, that's                  21           health risks associated with Johnson's
    22   completely up to you and the court reporter. If       22           talcum powder products."
    23   anyone needs the restroom or anything like that,      23           First question, did I read that,
    24   let me know.                                          24   correctly?
    25          THE WITNESS: I'm good to keep going            25           A. Yes.
                                                     Page 51                                                  Page 53
     1   right now. I just didn't want to -- you know,          1           Q. And then you go on to say in
     2   not driving through Kansas or something.               2   paragraph 9 and:
     3          BY MR. EWALD:                                   3               "I was not asked to give an
     4          Q. Let's keep going then. I will                4           opinion as to whether talcum powder
     5   mark as Exhibit 4 your November 2023 report.           5           products cause cancer."
     6   And, Doctor, if you flip near the end to Exhibit       6           Is that correct?
     7   B, there's a references list.                          7           A. That's correct, yes.
     8          EXHIBIT NO. 4: Dr. Newman's                     8           Q. And when you're talking about in
     9          November 2023 report.                           9   that first sentence of paragraph 9, "health
    10          THE WITNESS: Yeah, okay.                       10   risks associated with Johnson's talcum powder
    11          BY MR. EWALD:                                  11   products," is that, in your review, limited to
    12          Q. And I'm also going to mark as               12   ovarian cancer health risk or is it broader?
    13   Exhibit 5 what we received called "Table of           13           A. You know, I -- it is -- no, it's
    14   Contents. George Newman - Expert Report." I'll        14   not limited to ovarian cancer. So I would say
    15   put this up on the screen. This is Exhibit 5.         15   that it's broader than ovarian cancer, yeah.
    16   Our Exhibit B to your November 2023 report, is        16           Q. And does it encompass any
    17   that the same as this table of contents?              17   possible health risk, as you understand it,
    18          EXHIBIT NO. 5: "Table of Contents              18   associated with the talc?
    19          George Newman - Expert Report."                19           A. Well, the -- no, the other cancer
    20          THE WITNESS: My understanding is that          20   risk associated with talc, although, you know, I
    21   those should be very, very similar, and the --        21   would say the same -- the same behaviours also
    22   if there are any additional documents, they           22   apply in the inhalation concerns, as well.
    23   would be in that "Table of Contents" document,        23           Q. So when you say "behaviours,"
    24   which would reflect things that I have reviewed       24   you're talking about behaviours of Johnson &
    25   since I submitted my report.                          25   Johnson or behaviours of consumers?
                                                                                                14 (Pages 50 - 53)
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                                                     Page 54                                                   Page 56
     1          A. Sorry. Behaviours of Johnson &               1   that, indeed, Johnson & Johnson engaged in
     2   Johnson. Yeah, the actions.                            2   misleading and deceptive conduct?
     3          Q. And when you're talking about                3          A. Yes, that's my opinion.
     4   inhalation -- that applies to the inhalation           4          Q. And so is it your opinion that
     5   concern, what is your understanding of that            5   Johnson & Johnson knew that there were health
     6   inhalation concern?                                    6   risks associated with a talc product and
     7          A. My understanding is that there               7   intentionally did not disclose those?
     8   was a concern raised about the inhalation risk         8          A. It's my opinion that there were
     9   in a few different medical journals, The Journal       9   risks in the general public. Let me correct
    10   of Pediatrics is one that I recall. And then --       10   that. That there was -- you know, there was
    11   and then from what the -- the documents that I        11   peer-reviewed science from various credible
    12   reviewed, you know, those risks were not              12   sources; there were risks raised about Johnson's
    13   communicated and those concerns were not              13   Baby Powder and Johnson's Baby Powder products,
    14   communicated directly to consumers.                   14   and that, you know, internally, there are a lot
    15          Q. And when you're talking about               15   of documents which show that the company was
    16   risk, you understand that the inhalation risk         16   aware of those concerns, and then none of those
    17   was specific to infants?                              17   concerns were disclosed to the public, and, in
    18          A. I do understand that, yes.                  18   effect, a very different kind of message was
    19          Q. When you say that that concern              19   given to the public, which was, you know, the
    20   was not communicated to consumers, is that your       20   product is completely safe, there's no problem,
    21   understanding as to the present day?                  21   you know, scientifically proven that it's safe.
    22          A. I'm sorry. I'm getting tripped              22   And so that's the disconnect that I'm referring
    23   up. What do you mean by --                            23   to in terms of the statements being misleading.
    24          Q. Yeah, that was a little vague,              24          Q. I want you to assume for purposes
    25   and unintentionally. So, do you have an               25   of my question that talc -- that Johnson &
                                                     Page 55                                                   Page 57
     1   understanding as to whether or not there is --         1   Johnson talc does not cause ovarian cancer,
     2   well, let me withdraw the question again.              2   okay? That's just an assumption I'm asking you
     3          You've indicated, I believe, that               3   to make. Fair?
     4   risks about inhalation with infants had not been       4          A. Okay, sure.
     5   communicated. Is that you're understanding?            5          Q. If that assumption is correct
     6          A. That's my understanding, yes.                6   that J&J talc does not cause ovarian cancer,
     7          Q. And is that you're understanding             7   what is left of the opinions that you are
     8   that as of today, J&J still has not communicated       8   offering in this case?
     9   any risk associated with inhalation of its             9          MS. PARFITT: Objection, form.
    10   product by infants?                                   10          You may answer.
    11          A. Again, that is my understanding.            11          THE WITNESS: I still believe that
    12   In terms of the risks that I'm focusing on in my      12   they did something wrong, that, you know, you
    13   report and the bulk of my report, really are the      13   have a long history of internal documents
    14   cancer issue, ovarian cancer, mesothelioma.           14   talking about these health risks. You know,
    15          Q. So we have, you reported health             15   there's language in those documents like, in --
    16   risks associated with talcum powder products in       16   you know, in the inevitability that talc
    17   paragraph 9, and when you were asked to review,       17   products are banned, you know, there were --
    18   am I understanding you correctly that when            18   there was a very specific effort to develop an
    19   you're talking about health risks there, you're       19   alternative product, the cornstarch product,
    20   talking about cancer inhalation?                      20   over many years, which they product-tested and
    21          A. I think it's most accurate just             21   there's a lot of internal documents that show
    22   to say cancer, cancer, yeah.                          22   that the purpose of that cornstarch product was
    23          Q. Now, in assessing whether Johnson           23   to address the health risks associated with
    24   & Johnson engaged in misleading and deceptive         24   talcum powder, and replace talcum powder. That
    25   conduct, did you reach a conclusion in this case      25   never happened.

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     1          And so there are a lot of actions on       1       risk or concern associated with the product.
     2   behalf of the company which I -- that, you know, 2                BY MR. EWALD:
     3   I think, lend credence to the idea that they      3               Q. You said a couple of different
     4   were treating these as serious and credible       4       things there, "problem, concern, risk."
     5   risks internally and having lots of discussions   5               My initial question is: Am I correct
     6   about them, and, yet, a very different story was 6        that you are not in a position to assess whether
     7   told to the public through advertising.           7       or not there are any potential health risks
     8          BY MR. EWALD:                              8       associated with the use of the talc?
     9          Q. And you were talking about              9               MS. PARFITT: Objection. Misstates
    10   potential banning of talc product, there can be 10        his testimony. Asked and answered.
    11   a government ban of a product but it doesn't     11               THE WITNESS: I think, I mean, I
    12   establish that the project is dangerous,         12       just -- you know, what I just said in reviewing
    13   correct?                                         13       those documents, I do believe I'm able to reach
    14          MS. PARFITT: Objection, form.             14       a conclusion about what I would call a credible
    15          THE WITNESS: I mean, I think anything 15           risk or, you know, was the company treating this
    16   is possible. You know, in -- in my review, you 16         as a credible risk? Were they taking actions
    17   know, it's not just a consideration of some bad 17        that suggested that they thought there was some
    18   things might happen because people are saying 18          kind of potential problem or risk associated
    19   bad things. There are very deliberate actions    19       with the product?
    20   to try to find an alternate source of revenue.   20               BY MR. EWALD:
    21   And, you know, I think there is a larger story   21               Q. And when you say "credible risk,"
    22   here that, you know, I'm trying to communicate 22         are you saying that -- well, what do you mean by
    23   with my report about the importance of talcum 23          "credible risk"?
    24   powder products to the brand strategy, not just 24                A. Something that had enough
    25   for Johnson's Baby but for Johnson & Johnson 25           substance to spur actions and internal memos and
                                                    Page 59                                                    Page 61
     1   overall, you know, this concept of a golden egg       1   discussions and meetings about it.
     2   that comes up in a lot of different materials.        2           Q. If there is a risk associated --
     3          And so what I read is a lot of                 3   if there's a concern that is raised about the
     4   internal discussion about concerns of                 4   safety of a product, would you expect that a
     5   potentially replacing or acknowledging a problem      5   good company would investigate whether or not
     6   with Johnson's Baby Powder, and none of those         6   that risk has any credibility?
     7   concerns, none of those potential risks are           7           A. Sure.
     8   communicated.                                         8           Q. And the fact that they went
     9          BY MR. EWALD:                                  9   through that investigation to determine whether
    10          Q. And we talked about, you're not            10   or not the concern raised was credible, does
    11   in a position to assess whether or not there are     11   that have bearing, in your mind, as to whether
    12   any, in fact, potential health risks associated      12   or not it's a scientifically viable risk?
    13   with talc products, correct?                         13           A. But that's not what they told
    14          MS. PARFITT: Objection, misstates his         14   consumers. They didn't tell consumers, Hey, we
    15   testimony.                                           15   looked at some evidence and then we looked at
    16          THE WITNESS: You know, I can review           16   other evidence, and we did our testing and
    17   their internal documents which talk about the        17   here's what we found. They just said, It's 100
    18   risks that are -- that have been raised about        18   percent safe, there's no problem whatsoever, you
    19   the product, some of the documents which point       19   can trust us. And there's 100 years of
    20   to, you know, the possibility of asbestos, and       20   advertising that literally are built around the
    21   the failure of the quoted-quote "clean mine"         21   concept of trust, that, this is our trust mark,
    22   approach. I'm drawing on Johnson & Johnson's         22   this is why you should purchase our product
    23   own words, but I think I can interpret those         23   because you can trust us more than our
    24   words to say that they understood that there was     24   competitors.
    25   some kind of problem or at least some kind of        25           So that statement carried with it
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     1   enormous gravity for consumers and, frankly,         1   work that is doing for them, so in that case, it
     2   then consumers weren't, I think, given the fair      2   was central to their marketing strategy.
     3   opportunity to really make up their own mind         3          BY MR. EWALD:
     4   about the potential risks.                           4          Q. So, I understand your point about
     5          Q. So you say that it carried                 5   the trust aspect in J&J's research. But then,
     6   enormous gravity for consumers and consumers         6   as I understand it, what you just said and what
     7   weren't able to make up their own mind about the     7   you say in the report, you go a step further and
     8   risk. What do you rely on for that conclusion?       8   say that the nature of that trust relationship
     9          A. Johnson & Johnson's own market             9   prevented consumers from making up their own
    10   research.                                           10   mind about the risks associated with the
    11          Q. Point me to market research of            11   product. Is that your testimony?
    12   Johnson & Johnson that concludes that consumers     12          A. No. I --
    13   were not able to make up their own mind about       13          MS. PARFITT: Objection. Misstates
    14   the product risk because of the trust they had      14   his testimony.
    15   in Johnson & Johnson.                               15          Please, Doctor, you may answer.
    16          A. You know, if -- that's verbatim           16          THE WITNESS: I would --
    17   what I said that it misstates my point, that the    17          MR. EWALD: I'm sorry. Michelle, what
    18   consumer research from Johnson & Johnson shows      18   did you say?
    19   that trust in the company is the primary            19          MS. PARFITT: I said it misstates his
    20   attribute that is leading consumers to purchase     20   testimony, John.
    21   Johnson & Johnson products over the competitors.    21          You may answer.
    22   So if you give me a minute, I can find the exact    22          BY MR. EWALD:
    23   reference. But, for instance, there's a study       23          Q. Right. Go ahead.
    24   that they conducted which said, Would you           24          A. Okay. I believe that misstates
    25   purchase Walmart brand talcum powder versus         25   my testimony, so I don't -- I don't think it's
                                                   Page 63                                                   Page 65
     1   Johnson & Johnson talcum powder. So consumers        1   the trust that was misleading. I think saying,
     2   were twice as likely to purchase Johnson &           2   "Our product is safe, it's 100 percent safe, we
     3   Johnson talcum powder, and the number one reason     3   know it with certainty," and using language like
     4   they cited is because it's a trustworthy brand       4   "it's scientifically proven that it's safe," and
     5   because they have trust in the company.              5   so there's no mention of competing risks --
     6           And then there's a lot of market             6   competing evidence, and the point about the
     7   research in that same slide deck talking about       7   trust and the advertising is that statement
     8   what does trust mean? Well, trust isn't the          8   isn't inert, it's not like the consumers are
     9   product attributes, it's the emotional weight,       9   considering it in some vacuum, they are actually
    10   it's the emotional association, it's the 100        10   considering it with this legacy that goes back
    11   years of advertising that we have about the         11   100 years of what they believe to be true about
    12   product.                                            12   the brand, that this is a very trustworthy
    13           Q. Would you agree with that me that        13   brand. And, hey, if they're telling us that
    14   any company in the marketing context would love     14   it's safe and they've never detected any kind of
    15   to have the trust of its consumers?                 15   problem whatsoever, then it must be. And I
    16           MS. PARFITT: Objection, form.               16   think there's a direct conflict between that
    17           THE WITNESS: I would agree that it          17   message and what consumers concluded from that
    18   was a very specific strategy that was incredibly    18   message and then what the internal documents
    19   successful for Johnson & Johnson. I mean, they      19   show about the nature of the conversation they
    20   talk explicitly of this is what built a global      20   were really having.
    21   brand, is this association, the mother-infant       21           Q. Well, when you talk about what
    22   bond, the golden egg. This is what built            22   consumers concluded from that message, what, if
    23   Johnson's Baby, this is what built Johnson &        23   any, data do you rely on for that opinion?
    24   Johnson, this is what allowed us to expand          24           A. Again, I would cite Johnson &
    25   globally. So, that's their own analysis of the      25   Johnson's own market research about why

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                                                    Page 66                                                 Page 68
     1   consumers are preferring Johnson & Johnson. The   1       you conduct that you didn't include your report?
     2   reason why they're going to Johnson & Johnson is  2              A. Well, I became specifically
     3   because of this trust factor.                     3       interested in, actually, the current
     4          Q. I understand the trust factor,          4       communication around talc products and the
     5   but there's that other piece of -- you are        5       health risks. And, you know, were those -- even
     6   making opinions about what Johnson & Johnson was 6        today, is that potentially misleading consumers?
     7   or was not saying about potential health risk     7       And so I conducted at least a pilot study just
     8   associated with talc and the impact that it has   8       to inform myself about whether there was the
     9   on consumers. Correct?                            9       potential for that relationship to exist.
    10          A. Correct. Yeah, yeah, that's            10              Q. What was the nature of this pilot
    11   right.                                           11       study?
    12          Q. And so what, if any, data do you       12              A. Sure. I took just language from
    13   rely on for what Johnson & Johnson's conduct and 13       the facts about talc website. And there's one
    14   statements relating to potential health risk of  14       paragraph in particular which talks about, if
    15   talc had on consumer choice?                     15       you don't mind, I could just read --
    16          A. Again, I mean, maybe I'm just not      16              Q. Yeah.
    17   fully understanding the question, and I          17              A. -- the paragraph that I focused
    18   apologize, but I would come back to Johnson &    18       on. Okay, so the paragraph was the most recent
    19   Johnson's own market research data. The data     19       cohort study published --
    20   are telling you that, Oh, look, the reason why   20              Q. I'm sorry. Sorry to interrupt
    21   people are going to us is because of this trust, 21       you. But, just, it's important for the record,
    22   because we have -- and there's language in there 22       that's clear where you're reading from. So can
    23   that this is our most precious asset. Not        23       you tell me where you're reading from?
    24   Johnson's Baby Powder, the trust itself. The     24              A. Oh, these -- yeah, of course.
    25   trust is the most precious asset. This is kind   25       These are the notes that I brought with me.
                                                    Page 67                                                 Page 69
     1   of what's making the whole marketing or               1          Q. Okay.
     2   advertising machine go.                               2          A. Okay. Yeah.
     3          And so, I mean, and then that is my            3          Q. And does it say, like, what page
     4   expertise as somebody who is a psychologist and       4   or paragraph they're taken from?
     5   somebody who has expertise in market research,        5          A. This is just taken from --
     6   is that the effect of that kind of messaging          6   directly from the website on the Facts About
     7   over a very long time changes the nature of           7   Talc. If you like, I can make a note and I know
     8   people's perceptions. Just like we talked about       8   about where it's located.
     9   before with the Coke versus Pepsi example,            9          Q. No, that's fine. I think
    10   right? That brand and that messaging starts to       10   Michelle's gonna give me a copy of that three
    11   mean something. And even though the soda             11   pager during, maybe, the next break, so that's
    12   doesn't taste any different, people think            12   fine. Go ahead.
    13   there's a difference. And I think that's also        13          A. Okay, so there's a paragraph that
    14   true, a similar kind of idea is very much true       14   reads:
    15   in this case.                                        15              "The most recent cohort study
    16          Q. Now, you said before you're an             16          published in JAMA...
    17   experimental psychologist, right?                    17          And I'm just using the abbreviation:
    18          A. Correct, yes.                              18              "...pulled a high number of high
    19          Q. But you've not conducted any kind          19          level epidemiological studies and
    20   of empirical tests to support your opinions in       20          found no statistically significant
    21   this case, correct?                                  21          increased risk of ovarian cancer with
    22          A. Actually, I wouldn't say that              22          talc use. The study reconfirms that a
    23   that's correct. Nothing that I included in my        23          statistical association between
    24   report, but I have, yeah.                            24          ovarian cancer and powder users --
    25          Q. Okay. What empirical tests did             25          MS. PARFITT: Dr. Newman, she has to
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     1   take down what you're saying. If you can slow 1              A. No, I'm not.
     2   it just a little bit. Okay.                       2          Q. Okay. And when you say that the
     3           THE WITNESS: Sorry, yes.                  3   change version reduced -- sorry. What was the
     4           MS. PARFITT: Thank you.                   4   change version reduced the number of people that
     5           THE WITNESS: I'll just pick up "The       5   trusted the company?
     6   study reconfirms," okay, my apologies:            6          A. Or how much they reported
     7               "The study reconfirms that a          7   trusting the company on a one to five Likert
     8           statistical association between           8   scale, yeah.
     9           ovarian cancer and powder users is not    9          Q. And what was the difference
    10           found in large prospective cohort        10   between the two groups?
    11           studies, although some, but not all      11          A. I don't recall exactly the
    12           case controlled studies do indicate a    12   magnitude of -- I mean, it was below a .05 p
    13           slight statistical association."         13   threshold, but I don't remember the effect size
    14           And my opinion in reading that was the 14     exactly or anything like that. And again, I
    15   way in which that, essentially, that there is a  15   base my opinions just on my expertise in doing
    16   statistical association, there is evidence of a  16   this for a very long time and understanding how
    17   statistical association is buried at the end of  17   consumers respond to information. But with
    18   a paragraph. In a sense, that's difficult, I     18   respect to this specific issue, I was just
    19   think, for the average person to actually parse 19    curious, does that check out even in this very
    20   and make sense of. You have to jump back a 20         kind of nuanced example?
    21   couple of sentences to know exactly what that's 21           Q. Okay. When you go on in
    22   referring to.                                    22   paragraph 10 of your report to say that:
    23           So in the pilot study that I ran, just   23              "The methodology I employ, the
    24   trying to inform my own perceptions, I randomly24            purposes of this report use the same
    25   assigned one group of people to read exactly the 25          objectivity and systematic analysis I
                                                  Page 71                                                 Page 73
     1   information as it appears verbatim on the         1          apply in my professional academic
     2   website, and a different group of people read     2          career."
     3   the same information, except for I changed the 3             Isn't it true that in your
     4   phrase "studies do not indicate a slight          4   professional academic career, when you publish
     5   statistical association" to "studies do not       5   articles that are posing hypothetical, you are
     6   indicate a slight statistical association         6   then backing your conclusion up with
     7   between talcum use and ovarian cancer."           7   experimental analysis?
     8           And in this study, like we talked         8          MS. PARFITT: Objection, form.
     9   about before, I did not mention Johnson &         9          THE WITNESS: There might be a
    10   Johnson at all. I used a hypothetical company 10      terminology issue here, so maybe we could -- you
    11   name, and then I asked, how much do you trust 11      could say a little bit more about -- I'm not
    12   this company on a Likert scale? And found that 12     getting the distinction between hypothetical and
    13   even disambiguating that sentence very slightly 13    experimental.
    14   reduced how much people said they trusted the 14             BY MR. EWALD:
    15   company. Which suggested to me, again, it's not15            Q. Well, when you are offering a
    16   conclusive. But you're asking, well, did you     16   conclusion in the scientific literature --
    17   test any of your ideas about this? It suggested 17           A. Yes.
    18   to me that even to this day, burying that kind   18          Q. You've published a number of
    19   of information, burying the lead, so to speak,   19   articles, correct?
    20   is distorting things for consumers and making it 20          A. Yes, yeah.
    21   more difficult for them to understand the        21          Q. And when you're offering a
    22   totality of what's out there.                    22   conclusion in the published literature, you
    23           BY MR. EWALD:                            23   support that conclusion with experimental data,
    24           Q. So are you relying on your pilot      24   correct?
    25   study for your opinions in this case?            25          A. Correct, yes.

                                                                                            19 (Pages 70 - 73)
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                                                     Page 74                                                    Page 76
     1          Q. And you are not doing that here,             1          Q. Yeah. And I understand from
     2   correct?                                               2   paragraph 10 what you asked plaintiff's counsel
     3          A. Yeah. But what I mean by                     3   to give you on the marketing materials and
     4   applying the same systematic analysis is I think       4   communications.
     5   that the bedrock of what I'm doing                     5          What, if anything, did you ask
     6   experimentally is starting from a null                 6   plaintiff's counsel to give you as it related to
     7   hypothesis, which is exactly what I did here.          7   internal Johnson & Johnson documents that relate
     8   And I started with a null hypothesis that there        8   to potential health effects associated with the
     9   wasn't anything misleading about the marketing         9   use of talc?
    10   communications, that there wasn't any kind of         10          A. I was -- that wasn't really a
    11   disconnect between what the company was               11   focus of my inquiry. I was looking at marketing
    12   discussing internally and what they were telling      12   communications, which -- I'm sorry, internal
    13   consumers. And so just in the same way that I         13   documents which discussed marketing issues.
    14   would look for experimental evidence that would       14   Now, a number of the documents that I reviewed
    15   lead me to reject that null hypothesis, you           15   did discuss marketing issues in the context of
    16   know, I was looking: Well, is there evidence in       16   health concerns. So, for instance, when you
    17   this case that leads me to reject the null            17   know they're talking about developing a
    18   hypothesis that there wasn't kind of any              18   cornstarch product, there are documents which
    19   disconnect there, any kind of misleading              19   talk about developing that cornstarch product
    20   statements.                                           20   specifically to address the health concerns
    21          Q. Now, in that same paragraph 10,             21   associated with talc. So that would be an
    22   you talk about documents that you requested of        22   instance in which a document mentioned both
    23   counsel relevant to the promotion and sale of         23   things.
    24   Johnson's Baby Powder, and Shower to Shower,          24          Q. Okay. So if I'm understanding
    25   right?                                                25   you correctly, to the extent that there are
                                                     Page 75                                                    Page 77
     1          A. That's right, yeah.                          1   documents from Johnson & Johnson that you
     2          Q. You talk about marketing                     2   reviewed in connection with your opinions that
     3   materials and communications directed to               3   relate to potential health risks associated with
     4   consumers, corporate documents discussing these        4   talc, you had those in your possession because
     5   products, testimony from former employees of           5   they also relate to marketing issues?
     6   Johnson & Johnson, publicly available                  6          A. Correct, yeah.
     7   information, and the peer-reviewed scientific          7          Q. So, for example, you made
     8   literature relevant to talking about our use,          8   reference earlier to the top asbestos
     9   right?                                                 9   controversies referenced in a document or two
    10          A. Correct, yes.                               10   that you reviewed.
    11          Q. What about documents related to             11          You didn't ask counsel for documents
    12   potential health risk associated with talc? How       12   that gave a full picture on how the history of
    13   did you get your hand on those?                       13   that top asbestos controversy played out?
    14          A. I searched Google Scholar.                  14          MS. PARFITT: Objection, form.
    15          Q. Okay. But when we're talking                15          THE WITNESS: I wouldn't agree with
    16   about -- what about -- that's a fair question.        16   that. I mean, again, I was really restricted in
    17          And on that one, what did you search           17   looking or -- sorry, I restricted my analysis in
    18   Google Scholar for?                                   18   looking at marketing issues. And so if -- it
    19          A. I don't remember the exact search           19   was getting into testing and internal testing
    20   terms, but talcum powder, cancer, ovarian             20   and external testing, that was beyond my
    21   cancer.                                               21   expertise and beyond what I felt like I was able
    22          Q. Or internal Johnson & Johnson               22   to properly evaluate. So I'm evaluating at the
    23   documents, though, not something that would be        23   level of the word and the internal discussions
    24   on Google Scholar, correct?                           24   that Johnson & Johnson is having about these
    25          A. Yeah. Correct, yes.                         25   controversies with respect to their products and
                                                                                                 20 (Pages 74 - 77)
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     1   various types of strategy decisions that they     1        record now.
     2   seem to be making.                                2               MS. PARFITT: We'll take like five
     3          BY MR. EWALD:                              3        minutes, everyone. All right?
     4          Q. So if we look at 10(e) as an            4               -- RECESS TAKEN AT 11:26 A.M.
     5   Edward, the:                                      5               -- RESUME AT 11:38 A.M.
     6             "Product Risks. Assessing the           6               BY MR. EWALD:
     7          timing and nature of health concerns       7               Q. Dr. Newman, one other question
     8          regarding talcum powders by consulting 8            for now at least on materials that you reviewed,
     9          publicly available information in          9        I saw on your updated list some testimony with
    10          scientific literature."                   10        Dr. Friedenfelds. Does that sound familiar?
    11          Did I read that correctly?                11               A. Yes, yes.
    12          A. Yeah.                                  12               Q. And why did you review her
    13          Q. And so explain to me what you          13        testimony?
    14   mean by that in 10(e).                           14               A. I believe -- I became aware that
    15          A. Basically, my strategy is what         15        there was somebody testifying too broadly to
    16   would somebody be able to find out if -- what 16           some of the marketing issues. And so I was just
    17   would they be able to find out about the product 17        curious about what they were saying and their
    18   and what science is out there? I mean, I         18        testimony.
    19   recognize that most consumers do not have the 19                  Q. Are you relying on any of the
    20   same scientific training that I do, but I'm also 20        opinions that you -- from Dr. Friedenfelds, that
    21   not an epidemiologist. And so if they were to 21           you reviewed in her testimony for your opinions?
    22   go on to Google Scholar and start reading        22               A. No, not at all.
    23   studies, what kinds of things would they learn? 23                Q. On paragraph 11, carry over from
    24   Or if they were to consult other types of        24        4 to 5, you cite to a Matthew Rabin 1998
    25   information, what would they learn about those 25          article.
                                                     Page 79                                                    Page 81
     1   risks? So that's the level at which I'm                1           A. Yeah.
     2   interacting with it.                                   2           Q. Are you, lack of a better phrase,
     3           Q. At 11 you say:                              3   are you relying on Rabin as a general
     4              "In forming my opinion, I                   4   proposition on the approach you're taking here?
     5           consider the totality of evidence."            5           A. Yeah, yeah. That Rabin article
     6           What do you mean by that?                      6   is a very famous one, which connects kind of
     7           A. Well, I mean, I tried to take               7   psychological bias to economic principles. And
     8   into account everything that, that I was looking       8   so it's kind of a landmark paper where he
     9   at, that I wanted to understand, well, the full        9   outlines and says, Hey, people aren't so
    10   scope of the things that I was seeing about           10   rational when it comes to consumer decision
    11   Johnson & Johnson, what they were saying, what        11   making. And so here's a bunch of principles
    12   was being said in the public, what the                12   from psychology that, as an economist, I think
    13   advertising was saying in trying to understand        13   have an important role in the market.
    14   how those different timelines or those different      14           Q. When you were talking - on the
    15   kind of streams of information related to one         15   next page in paragraph 17 and 18 - about the
    16   another. So kind of trying to get a more global       16   cornstarch product, what opinion are you
    17   perspective about what was happening broadly,         17   offering as to how cornstarch impacted, if at
    18   both within the company and externally, with          18   all, the, in your view, misleading, the type of
    19   respect solely to the marketing issues and            19   conduct that J&J communicated to consumers?
    20   marketing communication.                              20           MS. PARFITT: Objection, form.
    21           MS. PARFITT: John, when you get to a          21           You may answer.
    22   comfortable place, let us know. We've gone --         22           THE WITNESS: Okay, yeah. I think it
    23   it's almost 11:30 and beyond, but you let us          23   speaks to the strategy of the company. In the
    24   know when you get to a break.                         24   documents that I reference relevant to
    25           MR. EWALD: Yeah. Let's go off the             25   cornstarch, there are a lot of communications
                                                                                                  21 (Pages 78 - 81)
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     1   about why they're developing this cornstarch           1   but I should say that is one area where I made
     2   product. And in multiple documents, across             2   numerous requests of documents over a very
     3   multiple years, just I'm paraphrasing here, is         3   specific time period. We're talking about, I
     4   basically there are concerns about talcum powder       4   believe it's like 1986, where, you know, a
     5   and we need a replacement.                             5   company as large as Johnson & Johnson, I imagine
     6          And then there's a lot of test                  6   that there was some kind of, you know, internal
     7   marketing to make sure that it's going to be an        7   document, internal communication, which said,
     8   effective replacement. They go through that,           8   hey, we're not going with this replacement
     9   they confirm there's a lot of powder forecasts         9   strategy. We're just going to sell both
    10   which predict, hey, in the future, consumers          10   products. I never encountered such document.
    11   aren't going to be buying talc products because       11          And so because of that, I never found
    12   of these health concerns. Cornstarch is the way       12   any kind of explicit justification for why the
    13   of the future. And then it's informative to my        13   two products would be sold side by side. I will
    14   opinions because that decision to replace talc        14   say that in some of the powder -- the powder
    15   with cornstarch is never made. The products are       15   forecasts that they're doing around this time,
    16   just launched side by side and sold                   16   1985, 1986, there's a lengthy discussion,
    17   concurrently.                                         17   basically, about the strategy and about
    18          BY MR. EWALD:                                  18   competitive advantage. And the argument,
    19          Q. So is it your opinion that even             19   essentially - and we can talk about those
    20   though Johnson & Johnson had an effective             20   specific documents - but essentially, the
    21   replacement in the market for talc powder, that       21   argument is, look, we -- we own talc. We own
    22   it nevertheless continued to market talc powder       22   the talc market. We are the talc product. But
    23   knowing that there were risks of cancer               23   because cornstarch is a consumer product, sorry,
    24   associated with its use?                              24   I meant a consumable product - I might be
    25          A. I'm taking it as evidence that,             25   getting the exact designation wrong, but we can
                                                     Page 83                                                  Page 85
     1   you know, we talked before about the term              1   look at it - we have no ownership. And so
     2   credible, that they were taking it seriously,          2   basically, it's going to be fair game for all of
     3   that they were taking a lot of actions at, what        3   our competitors.
     4   I'm presuming, is great expense to develop and         4          And so this presents a real challenge
     5   test mark a replacement product. To the extent         5   for us. And we either have to find out a way to
     6   that they're debating how are we going to              6   elevate this cornstarch product so that we can
     7   replace it? Can we replace it without consumers        7   do something different with it, or who knows?
     8   knowing the difference, et cetera, et cetera.          8   And so it's my -- that, and then I think,
     9   They even develop advertising that they're going       9   coupled with all the discussions we were having
    10   to send to their distributors, which says, hey,       10   before about this idea of a golden egg and that
    11   this is a change for the better.                      11   Johnson's Baby Powder is the first to consumer
    12           And so that, to me, communicates that         12   product, and there's a lot of internal
    13   they were taking those health concerns very           13   discussion about even, like, these PR documents,
    14   seriously and taking actions in response to           14   anticipating, well, what are consumers gonna
    15   that.                                                 15   think if we replace talc with cornstarch? What
    16           Q. So having reviewed those                   16   are they going to think about us? And are we
    17   documents and concluding that Johnson & Johnson       17   admitting that there's a health risk?
    18   was taking the health concerns with the product       18          And so, you know, that, to me, again,
    19   seriously, what is your opinion on why they           19   signals that those kinds of issues were very top
    20   continue to market the talc product even though       20   of mind for a company. And all I can conclude
    21   they were supposedly taking the concern               21   is that ultimately somebody or a group of
    22   seriously?                                            22   somebodies with power said, you know what? The
    23           A. I think that is a big question in          23   risks don't outweigh the benefits, even though
    24   this case that there are -- I can cite some           24   we were planning to replace it. Let's go ahead,
    25   documents which I think provide some insight,         25   because either we're not going to be able to

                                                                                                 22 (Pages 82 - 85)
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     1   maintain our share of the market or because           1   that there's never, I can never find a place in
     2   we're going to be opening up ourselves to these       2   black and white that they say, hey, we were -- I
     3   types of criticisms.                                  3   should clarify, there are lots of places that I
     4          So again, I can't point to any                 4   believe in black and white say our plan is to
     5   specific document which shows me that decision        5   replace talc with cornstarch leading up to 1986,
     6   making, but then -- that has been a continued         6   and then that never happens.
     7   source of kind of frustration on my part of not       7          And so I never find evidence of the
     8   being able to find documents which communicate        8   communication which directs the various
     9   that change of strategy.                              9   marketing departments of this change. You know,
    10          Q. Well, when you have a gap in the           10   for example, there are advertisements which were
    11   historical record such as you have identified,       11   developed, which never seem to be released,
    12   is one possibility that you don't have enough        12   which say, like literally a change for the
    13   information to offer an opinion to a reasonable      13   better, announcing to retailers that this is
    14   degree, professional certainty, correct?             14   going to be a better product. We're changing to
    15          MS. PARFITT: Objection. Misstates             15   a better product. But those advertisements
    16   him testimony.                                       16   are -- you know, so they go through all of the
    17          THE WITNESS: No, I wouldn't say that.         17   work of producing these advertisements but then
    18   I mean, what happened is what happened, which is     18   those advertisements are never distributed and
    19   that there are documents which clearly show that     19   the change never happens.
    20   they were going with this replacement strategy,      20          So again, I don't think the facts are
    21   and then that replacement strategy never             21   in dispute about a replacement strategy and then
    22   happened. What I'm not able to find in the           22   a different strategy. Just the thing that is
    23   record is some communication of that decision.       23   very puzzling to me is how does that happen.
    24   And I just find it, frankly, implausible that a      24   Even just from kind of a corporate governance
    25   company as large as Johnson & Johnson, with as       25   and operations standpoint, how do you direct as
                                                    Page 87                                                   Page 89
     1   many varied departments, you'd have to send out 1         many people as were needed, that, hey, we're
     2   some kind of communication to say, hey, we're 2           still going to continue to sell talc powder.
     3   doing something different here. I never found    3               BY MR. EWALD:
     4   any of those documents. It's not -- it doesn't   4               Q. So is it your opinion that
     5   give me question marks about what actually       5        Johnson & Johnson decided in the eighties that,
     6   happened. It just is curious to me that there's  6        Yeah, there might be a risk that selling the
     7   not any kind of discussion of that change since 7         talc product can cause cancer, and, yeah, we
     8   a change took place.                             8        have an effective replacement, but we're gonna
     9           BY MR. EWALD:                            9        go ahead and market talc still anyway. Is that
    10           Q. Well, I understand the part about    10        your opinion?
    11   it is a fact that in the eighties, talc was not 11               A. No, I --
    12   replaced, but on the market at the same time as 12               MS. PARFITT: Objection, misstates his
    13   cornstarch. But on the factual question of why 13         opinion.
    14   that decision was made, I heard you say that    14               THE WITNESS: Again, I would disagree
    15   basically the only opinion you can really reach 15        with that. I think what I'm able to conclude,
    16   is that there was a decision made that the risk 16        looking at the documents that I reviewed, is
    17   didn't outweigh the benefits, right?            17        that the strategy for why the cornstarch product
    18           MS. PARFITT: Objection. Misstates       18        was being developed was very clear as a
    19   his testimony.                                  19        replacement. And then we're able to see after
    20           THE WITNESS: Yeah. Again, there are 20            1986 that that replacement doesn't happen. I
    21   documents which talk about their competitive 21           don't know -- I don't know what that calculus
    22   strategy and what's defensible from a marketing 22        was. Again, I've offered some suggestions from
    23   standpoint. And so I think that that's more     23        documents. One, there's the idea of what
    24   than just a hunch or a guess. It's kind of      24        Johnson's Baby Powder means to the brand, and
    25   outlining the logic of the decision. It's just  25        how central it is to the brand. There are
                                                                                                23 (Pages 86 - 89)
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     1   documents which discuss that.                     1              MS. PARFITT: Objection.
     2          Then there's this idea about               2              You may answer.
     3   competitive strategy, and the fact that they      3              THE WITNESS: I believe that misstates
     4   can, quote-unquote, own talc but not own          4       the facts of what happened. So you have a brief
     5   cornstarch. And so that leads me to think that    5       period of time, I believe they called it Formula
     6   because it's mentioned in those documents that 6          31, that they say, Okay, well, maybe we can win
     7   that factored into the decision making, but I     7       on absorbency and we can make it a more
     8   don't know beyond that, exactly, how that         8       absorbent powder. And that doesn't work.
     9   decision was made.                                9              And then there are concerns that
    10          BY MR. EWALD:                             10       arise, 1970, 1973, about -- specifically about
    11          Q. But you are concluding that            11       asbestos and about health concerns related to
    12   Johnson & Johnson, over the years, with its talc 12       talc products. So this is like what I cite in
    13   marketing, engaged in misleading and deceptive 13         paragraph 50, for example. And so at that
    14   conduct, correct?                                14       point, then they say, okay, well, maybe we
    15          A. Correct. Correct. And so, for          15       should go back to this cornstarch idea because
    16   example, I think it is misleading to             16       it could be a replacement, because there are
    17   purposefully develop a replacement product       17       these health concerns about talc. And then from
    18   because of health risks, and then never mention 18        1973 through the eighties, they develop a
    19   any of those health risks to consumers. For -- 19         product and they obtain patents.
    20          Q. Well --                                20              And I would disagree with your
    21          MS. PARFITT: Wait, wait. He's not         21       characterization that they're considering it.
    22   done, John. I'm sorry.                           22       They're not just considering it. It's over a
    23          MR. EWALD: I know. I wasn't -- go, 23              decade. They're investing a lot of money and
    24   let him go.                                      24       making a lot of plans into the strategy that:
    25          MS. PARFITT: You may complete your 25              We're going to replace this product. There are
                                                    Page 91                                                Page 93
     1   sentence, Dr. Newman.                                 1   problems with the product we have in market.
     2          THE WITNESS: Okay, yeah. So I do               2   We've got to come up with a new product, and
     3   think it's misleading to not reflect the              3   we're going to replace it, and how best to do
     4   decision making to -- to consumers. Especially        4   that.
     5   when you have things like these -- when they're       5          And so I wouldn't say that's just like
     6   doing studies in New Orleans, and I believe           6   they're kind of weighing options like in a
     7   another one was in Indiana, test marketing the        7   boardroom. I mean, they're taking a lot of very
     8   feasibility of cornstarch, and you have               8   concrete actions over a long period of time.
     9   consumers, even at that point saying, that they       9          BY MR. EWALD:
    10   would rather purchase a cornstarch product. And      10          Q. Okay. And to your mind, those
    11   so I find that very puzzling.                        11   concrete actions over a long period of time,
    12          BY MR. EWALD:                                 12   including things like patents and money invested
    13          Q. So, well, you do acknowledge in            13   in alternatives, means that Johnson & Johnson
    14   your report that there was a first phase of the      14   considered the cancer threat to be credible?
    15   cornstarch product development that was not          15          A. Yes. I think they took it --
    16   geared towards it being a replacement, correct?      16   they were taking it seriously, yeah, yeah.
    17          A. That's correct, yes.                       17          Q. And so then, if I'm hearing you
    18          Q. Okay. And so when you're saying            18   correctly, what came out of that process is
    19   that Johnson & Johnson should have disclosed to      19   Johnson & Johnson knew they had an effective
    20   consumers that it considered a cornstarch            20   replacement for talc in cornstarch, correct?
    21   alternative first to be side by side with talc,      21          A. Correct, yes.
    22   then to replace it, and ended up going side by       22          Q. They had marketing -- you know,
    23   side, but should have said that we think there       23   in the field, materials -- sorry. They had
    24   are health concerns.                                 24   studies that in the field, that gave back
    25          A. I think --                                 25   feedback that customers actually preferred the
                                                                                              24 (Pages 90 - 93)
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     1   cornstarch to the talc. Correct?                       1   I think that's very important to understand
     2          A. Correct, yes.                                2   about, Well, did Johnson & Johnson ever take
     3          Q. And that given those first two               3   these health concerns seriously? And, yeah, it
     4   and the importance, as you say, of the trust and       4   looks like there's a lot of evidence that they
     5   the golden egg importance of the talc franchise,       5   did. And yet none of those -- none of that
     6   right? That's something that went into the             6   gravity was ever communicated.
     7   thinking, correct?                                     7          Q. Go to paragraph 20.
     8          A. And I would add a fourth bullet              8          A. Sure.
     9   point there, which is that the cornstarch was          9          Q. Let's jump ahead to paragraph 45.
    10   developed because of the health concerns. So,         10          A. Okay.
    11   like, you know, in 54, in paragraph 54, they          11          Q. And you say:
    12   consult with a market research company to do the      12              "By as early as 1966, Johnson &
    13   testing in Wayne, Indiana, for the cornstarch         13          Johnson was aware of health risks
    14   product. And they say:                                14          associated with the use of talcum
    15              "In view of possible government            15          powder products. In response to these
    16          legislation banning the cosmetic use           16          safety concerns, Johnson & Johnson
    17          of talcum powder, the brand is test            17          began developing a replacement powder
    18          marketing Johnson's Baby Powder with           18          that was made of cornstarch instead of
    19          cornstarch as a possible product               19          talc."
    20          replacement formula."                          20          Did I read that correctly?
    21          And that kind of language about this           21          A. Yes, that's right.
    22   is a replacement, how are we going to replace         22          Q. And you cited in paragraph 45 a
    23   it? What are consumers going to think about it?       23   1966 internal memo, correct?
    24   Is this a viable replacement? And connecting it       24          A. Yes, that's right.
    25   to the health issues, I think, is really central      25          Q. I am going to mark what I think
                                                     Page 95                                                 Page 97
     1   here and is really central to that argument.           1   you're referring to as Exhibit 6, I believe.
     2   It's not just that it's a viable product because       2   For the record, this is a June 17, 1966 memo.
     3   it's a viable product. It's a viable product           3   It has a Bates number at the bottom right of J&J
     4   because it addresses the health risks and the          4   000235850?
     5   health concerns about talc.                            5           EXHIBIT NO. 6: June 17, 1966 memo.
     6           Q. And so in your opinion, to a                6           J&J 000235850. To Dr. Hildick-Smith,
     7   professional degree of certainty, is that              7           Subject: Johnson's Baby Powder Talc
     8   Johnson & Johnson in the eighties decided, Never       8           Aspiration. June 17, 1966.
     9   mind, we're going to continue marketing talc           9           THE WITNESS: Yes.
    10   even though we think there's a credible risk of       10           BY MR. EWALD:
    11   cancer with its use and even though we have an        11           Q. Doctor, is this the document that
    12   effective replacement that our market data            12   you're referring to in paragraph 45?
    13   suggests consumers prefer.                            13           A. Yes, it is.
    14           A. Yeah. In short, yes. I mean, I             14           Q. So, setting the scene here a
    15   would parse that a little bit, which is part of       15   little bit, we talked about internal Johnson &
    16   that is just fact. That's just what happened.         16   Johnson document, and the subject line, it's
    17   And then what I think lends a lot of support to       17   Johnson's Baby Powder, Talc Aspiration, right?
    18   the idea that these were -- they were credible,       18           A. Yep.
    19   that they were taking it seriously, is all of         19           Q. This is not about cancer,
    20   the actions that they're taking ahead of time         20   correct.
    21   and that they're framing those actions in the         21           A. Understood. Yes.
    22   context of health concerns, right? It's that          22           Q. So:
    23   those documents are mentioning health concerns        23               "Reference is made to the
    24   alongside the development of cornstarch product.      24           attached note from Mr. J. Dettre
    25   That's why we're engaging in this activity. And       25           forwarding an article by Drs. Hughes
                                                                                                25 (Pages 94 - 97)
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                                                  Page 98                                                 Page 100
     1          and Kalmer which appeared in June 1966 1       reading that paragraph. You know, I'm
     2          American Journal of Diseases of          2     paraphrasing, I read this saying, this article
     3          Children.                                3     just came out which says that people should stop
     4             Baby Powder represents the            4     using talcum powder because there's a health
     5          cornerstone of our baby products         5     risk. Talc powder is the cornerstone of our
     6          franchise."                              6     franchise, and we have a large investment in
     7          That's something that you've mentioned   7     talc mine. We better figure out what to do
     8   before, right, Doctor?                          8     about it. And so, I mean, I don't know how to
     9          A. Yes.                                  9     answer that other than just like, the person
    10          Q. Okay:                                10     who's writing this is directly connecting those
    11             "In addition, we have a large        11     ideas.
    12          investment in top mine."                12            Q. Okay. And so, by the way, are
    13          Do you see that?                        13     you suggesting or are you offering the opinion
    14          A. Yes.                                 14     rather, that this type of economic analysis to
    15          Q. And so you do quote that in your     15     safety issues is something that is pervasive
    16   report, and you put that, I believe, in your   16     throughout the entire time period when J&J's
    17   Appendix 1 timeline.                           17     marketing its talc.
    18          So what importance does the statement 18              A. I mean, in -- I'm able to -- I
    19   "We have a large investment in talc mine" have 19     would say that I observed it over a very long
    20   to your opinions?                              20     time period. I would say that there are many
    21          A. Well, I think that it clearly        21     documents, especially from this period of, you
    22   connects the safety concern to the economic    22     know, the sixties through the eighties, which
    23   concern, which you see -- why I include it in  23     continually make a link between different
    24   this section about cornstarch development is   24     strategies they could take with talc powder and
    25   because in the documents that discuss the      25     replacement products and what would be the
                                                  Page 99                                                 Page 101
     1   cornstarch replacement, they're discussing it in 1    economic repercussions of doing so. So that's
     2   the context of what are the economic              2   how I fundamentally interpret all those
     3   repercussions? And this document does a very 3        documents. And so, you know, at least for those
     4   similar kind of thing. Hey, there's a health      4   two decades or so, you see a strong connection
     5   concern about our product. What's going to be 5       between those ideas.
     6   the economic fallout? But one problem for us is 6             Q. Okay. And so this is the kind of
     7   that we have a large investment in talc mine.     7   thing, in your mind, this kind of risk
     8   And so we can't just stop selling talc. Let's     8   articulated in the 1966 document is the kind of
     9   figure out what we're going to do about it.       9   risk that could threaten the golden egg?
    10           And so to me, it's very informative      10           A. Yeah, I mean, that's like a word
    11   because it starts to connect these ideas, which, 11   like "cornerstone of our baby product
    12   you know, quite frankly, is different than the   12   franchise," that's how I would interpret that
    13   credo of the company. The credo isn't like,      13   phrase, yeah.
    14   your health and safety is number one, unless it 14            Q. Okay. And so then your criticism
    15   has negative economic repercussions for us.      15   of Johnson & Johnson for this talc aspiration
    16   It's just health and safety is number one. And 16     risk that's identified in this 1966 document is
    17   that quote, even to me, says, well, look, our    17   they don't tell consumers about it?
    18   interests are more complicated than that. It's   18           MS. PARFITT: Objection, form.
    19   not just health and safety, it's health and      19           THE WITNESS: Yeah, no, I'm not
    20   safety and the fact that we own a talc mine.     20   hanging my opinion on any one single document.
    21           Q. Well, are you -- what evidence do     21   And we kind of talked before about the totality,
    22   you have that Johnson & Johnson's response to 22      you know, looking at all of the documents in sum
    23   this talc aspiration issue was tied to a concern 23   that you see this document and then you see
    24   over his investment in the talc mine.            24   another, you know, I could count them up, but
    25           A. Well, I mean, that's just how I'm     25   let's just say another ten or a dozen documents

                                                                                           26 (Pages 98 - 101)
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                                                   Page 102                                                   Page 104
     1   afterwards which make a similar kind of argument      1          A. Agreed. Yes, absolutely.
     2   about different types of health issues. So, you       2          Q. And so they're saying there's a
     3   know, aspiration risk turns out not to be             3   problem here and we're going to look into it to
     4   something that the company is concerned about,        4   see whether there's a basis for it, right?
     5   but then new concerns get raised around               5          MS. PARFITT: Objection, misstates
     6   asbestos; first asbestos and lung cancer, and         6   testimony.
     7   then asbestos and ovarian cancer. And those are       7          THE WITNESS: Again, I would just add
     8   continually connected then to these replacement       8   to that, there's a problem here that might
     9   products. So I would say that it's indicative         9   really hurt our wallet and we should look into
    10   of a strategy or an approach that is consistent      10   it. And I think that's the larger point.
    11   across time, but it's not that -- that it all        11   That's the important point.
    12   boils down to this one issue of aspiration in my     12          BY MR. EWALD:
    13   mind.                                                13          Q. Well, and you're drawing that
    14          BY MR. EWALD:                                 14   because the paragraph that you referenced comes
    15          Q. Well, did you say that the                 15   before the "Would it be possible for us to
    16   company was not concerned about the aspiration       16   initiate basic work"? It's a structural memo,
    17   risk? Is that what you said?                         17   intuition of importance because it comes first?
    18          MS. PARFITT: Objection, misstates his         18          MS. PARFITT: Objection. Misstates hi
    19   testimony.                                           19   testimony. He's talking about the totality of
    20          THE WITNESS: No, I --                         20   the documents.
    21          BY MR. EWALD:                                 21          THE WITNESS: Yeah, I mean, again, I
    22          Q. That's literally what he said.             22   don't want to hang it all on one document. I
    23          A. No, I don't say that they're not           23   think this document is indicative of a larger
    24   concerned about it. They are concerned, but the      24   pattern, is representative of several other
    25   way in which they're concerned about it -- look,     25   documents that you see over this time period of,
                                                   Page 103                                                   Page 105
     1   I mean the company could said, Wow, this might        1   as I said before, connecting a safety issue to
     2   be a real problem. I hope babies aren't choking       2   an economic concern. And I don't know what the
     3   on this stuff. But that's not what the first          3   speaker, you know, what Steinberg, you know, was
     4   paragraph says. The first paragraph says, Look,       4   thinking, I couldn't possibly know that or where
     5   we have a financial interest in this mine, we         5   he wanted to place emphasis.
     6   have a financial interest to this product.            6          But you know, in black and white, the
     7          And I think, importantly, drawing it           7   connection between those ideas is there, and in
     8   back to the larger argument, that's not what          8   directing other folks at Johnson & Johnson why
     9   they're telling consumers. Over 100 years             9   we should be concerned about this, to me, I read
    10   they're saying, Your health and safety are our       10   that as we should be concerned about this
    11   number one priority. You can trust us. The           11   because it has an economic impact. And you see
    12   reason why you're going to come to Johnson &         12   that same kind of idea in several other
    13   Johnson is because of this trust mark that we        13   documents.
    14   put on every product." And a paragraph like          14          BY MR. EWALD:
    15   that seems to run counter, in my view, to that       15          Q. Okay, so you may not be able to
    16   very idea.                                           16   get into Mr. Steinberg's head, but you are able
    17          Q. So you talk about the first                17   to conclude or figure out whether or not any
    18   paragraph after the quote. The second paragraph      18   changes were made to the product or its labeling
    19   says:                                                19   to address the aspiration risk, correct?
    20              "Would it be possible for us to           20          MS. PARFITT: Objection. Misstates
    21          initiate basic work to explore this           21   his testimony. In fact, I'm going to broad --
    22          phenomenon, either obtain data to             22   I'm not sure I even understand it.
    23          refute this problem or develop                23          Doctor, if you can.
    24          mechanisms to reduce the hazard."             24          THE WITNESS: I got a little bit mixed
    25          That's what Mr. Steinberg says, right?        25   up here. Can you just repeat that?

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                                                   Page 106                                                   Page 108
     1          BY MR. EWALD:                             1        Frederick Koberna deposition about this
     2          Q. Sure. Whatever Mr. Steinberg was       2        aspiration risk issue?
     3   thinking in 1966, you, Dr. Newman, have the      3                A. I do recall that, yes.
     4   capability to figure out whether or not any      4                Q. So let's look at -- here, we have
     5   changes were made to the Johnson's talc          5        from your reliance materials, it's the July 2021
     6   products, labels and/or packaging because of     6        deposition of Frederick Koberna. And if we go
     7   those concerns, right?                           7        to --
     8          A. Yeah. Yes, I am. Yeah.                 8                MS. PARFITT: John, if you will, I'll
     9          Q. And your position is that nothing      9        grab that deposition. We should have it. I'm
    10   was done?                                       10        just looking quickly through the index to try to
    11          A. Well, I mean, that wasn't my --       11        find out what --
    12   no, that's not my understanding exactly. I      12                MR. EWALD: Sure.
    13   thought there was a modification to the cap or 13                 MS. PARFITT: -- bucket it's in. Let
    14   something like that, which changed it. But I    14        me -- give me one moment so I can do that.
    15   mean, again, the focus of my inquiry was around 15                MR. EWALD: Sure.
    16   cancer, largely. And so I focused there. I      16                MS. PARFITT: You won't have to,
    17   find this document informative for the reasons 17         maybe, show as much as you wish.
    18   that we talked about already, but, you know,    18                MR. EWALD: Take your time.
    19   yeah.                                           19                MS. PARFITT: John, just give us a
    20          Q. Well, when I asked you earlier        20        moment. Fifty-four and 55. Okay, John, just so
    21   about it, before the break, you didn't mention  21        you know, I'm just handing him the volume that
    22   anything about a modification of a cap.         22        has the depositions. Okay.
    23          Did you do further research over the     23                MR. EWALD: Great. Thank you. And so
    24   break to remind yourself of that?               24        this is the -- yeah, this is the first day of
    25          A. No --                                 25        deposition. I'm looking at --
                                                   Page 107                                                   Page 109
     1          MS. PARFITT: Objection.                        1         MS. PARFITT: July 8, I believe. Let
     2          THE WITNESS: Not at all. No, I just            2   me just double-check here. Yes, July 8. The
     3   used the restroom.                                    3   second one was September 14.
     4          BY MR. EWALD:                                  4         MR. EWALD: Yes.
     5          Q. Okay. It could be a real                    5         MS. PARFITT: Okay, very good. Thank
     6   generator of ideas.                                   6   you.
     7          A. No, I think this is really                  7         MR. EWALD: Of course.
     8   important. If I didn't say something -- I mean,       8         BY MR. EWALD:
     9   I do have that knowledge. If I didn't say             9         Q. And going to 173. Let me know
    10   something like that before, it's just because I      10   when you're there.
    11   misunderstood your question. I'm really --           11         A. Okay. Yeah.
    12   like, there's, you know -- I'm certainly not         12         Q. Okay. If you look at -- it's
    13   doing homework when we're not talking, and that      13   actually 172, I'm sorry, it starts on my 19
    14   is knowledge that I have. I just didn't              14   question:
    15   understand it as being relevant to the question      15              "QUESTION: Okay. Did Johnson &
    16   you're asking. So I apologize. I'm sorry.            16         Johnson ultimately warn against
    17          Q. Don't apologize.                           17         inhalation of Johnson's Baby Powder by
    18          So as part of the materials you               18         babies?
    19   reviewed, you also reviewed deposition testimony     19              ANSWER: Yes, that's on our
    20   from Frederick Koberna, right?                       20         labeling."
    21          A. I did, yes.                                21         And if you go down a little bit
    22          Q. I believe one of the counsel in            22   further, it says -- going now on page 174, line
    23   that room was also at the Frederick Koberna          23   6. And then it -- onto the bottle says:
    24   deposition. But that's neither here nor there.       24              "...quote, 'Keep powder away from
    25          Do you recall reading testimony in the        25         child's face to avoid inhalation,
                                                                                              28 (Pages 106 - 109)
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                                                    Page 110                                                 Page 112
     1          which can cause breathing problems.'            1           Q. Do you have any opinions that
     2          Close quotes. Do you see that?"                 2   Johnson & Johnson's response to the aspiration
     3             ANSWER: Yes.                                 3   concern that was raised in the 1960s was
     4             QUESTION: So this is a warning               4   inadequate?
     5          that was added in response to the               5           A. No, I don't.
     6          concerns about inhalation of Johnson's          6           Q. So you don't think that Johnson &
     7          Baby Powder by infants, right?"                 7   Johnson response misled and confused consumers?
     8          There's an objection. And witness:              8           A. No. Mr. Ewald, are we all set
     9             "ANSWER: Yes, it was something               9   with the Koberna deposition?
    10          that we would be responsive to                 10           Q. Oh, yeah.
    11          doctors, and we would put that on              11           A. Okay.
    12          there. Now, I'm not sure when it was           12           MS. PARFITT: I'm going to take it
    13          added."                                        13   away. Thank you.
    14          Okay?                                          14           BY MR. EWALD:
    15          A. Yep.                                        15           Q. Now, you also, on page 15,
    16          Q. You see that?                               16   paragraph 57, talk about the Daniel Cramer
    17          A. Yes.                                        17   study, 1982, correct?
    18          Q. Does that refresh your                      18           A. Correct, yes.
    19   recollection that, in fact, there was a warning       19           Q. And you note that the study is
    20   put on the bottle relating to inhalation in           20   significant, paragraph 57, because it raised the
    21   infants?                                              21   possibility that the link between talc and
    22          A. Yes, yes.                                   22   cancer could be caused by a), fibers and talc
    23          Q. So that is an instance in which a           23   itself, and b), those fibers could implant in
    24   concern was raised relating to the safety of          24   the body via process of translocation, moving
    25   Johnson's Baby Powder, and Johnson & Johnson          25   from the perineal area to the ovaries, right?
                                                    Page 111                                                 Page 113
     1   acted in response to that concern, correct?       1                A. Correct, yes.
     2           A. Yes. Although I would argue that       2                Q. And do you feel like you have the
     3   it's a false equivalence to -- to -- the          3        expertise to offer an opinion as to whether a
     4   inhalation warning to pulling a product and       4        particular epidemiological study is significant?
     5   replacing it with a cornstarch product. Those     5                A. No, I --
     6   aren't the same. You know, when there are         6                MS. PARFITT: Object to form.
     7   internal conversations talking about how talc     7                THE WITNESS: No, I do not. I do not.
     8   itself is central to the business, is the golden  8        And that's not why I'm citing it here.
     9   egg, is the cornerstone of our franchise, we      9                BY MR. EWALD:
    10   have an investment in a talc mine. That's        10                Q. Okay. Well, you said those
    11   not -- and so we should put a warning on it, is 11         very -- those are your words, correct? The
    12   that we're going to pull the product and replace 12        Cramer study is significant because it raised
    13   it with cornstarch.                              13        the possibility about the link?
    14           And so, you know, that they were         14                A. Yes. It's significant because it
    15   responsive about this does not, in my mind,      15        raised -- publicly, it raised a link between
    16   imply that they are responsive in all health     16        talc and cancer use. And my understanding is
    17   issues or something like that.                   17        that it is one of the first mentions in the
    18           Q. Well, this is their response in       18        peer-reviewed literature that prior to then,
    19   the document that we were just talking about     19        that the concern about talc had been asbestos,
    20   from 1966, where you noted that they have an 20            but asbestos as it related to lung cancer. And
    21   investment in a talc mine and that it's a        21        then after the Cramer study, it wasn't lung
    22   cornerstone of our franchise, right?             22        cancer, it was potentially ovarian cancer.
    23           A. Yeah. If we're talking about,         23                And you see documents, internal
    24   just in reference to that 1966 document we were 24         documents from J&J which reflect that kind of
    25   talking about before, sure, yeah.                25        shift about, Well, what's the relevant health
                                                                                              29 (Pages 110 - 113)
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     1   concern? So significant for that reason in             1   Canadian resident, I take things that Health
     2   trying to understand this timeline of events.          2   Canada says seriously, yeah.
     3          Q. And it's your opinion that J&J               3          Q. Fair enough. But you don't, I
     4   misled, deceived consumers by not letting them         4   don't believe, cite in your report other
     5   know that the Cramer study had been published in       5   regulatory bodies, for example, what the various
     6   1982 and raised the possibility of a link              6   FDA -- various us federal regulatory bodies have
     7   between talc and ovarian cancer?                       7   said about the potential link between talc and
     8          A. No. I think what is -- talking               8   ovarian cancer, do you?
     9   about this very specific time period, let's say        9          MS. PARFITT: Objection.
    10   1982 to 1987, is now there are conversations          10          THE WITNESS: Again, but I would come
    11   about asbestos and ovarian cancer in the              11   back to, but what are they telling consumers?
    12   discussions about cornstarch. And so, okay,           12   And they're not communicating to consumers in,
    13   we've got this cornstarch replacement and it's        13   look, there's conflicted evidence. They're
    14   going to address these health concerns about          14   telling consumers, absolutely not. Don't worry
    15   talc and ovarian cancer. And so we're going to        15   about it. Trust us. You can trust us in the
    16   replace the products. Let's do all this market        16   same way that you've trusted us for 100 years.
    17   research to replace the products. And then that       17   And just, there's a mounting pile of information
    18   never happens.                                        18   that's out there that at least is raising
    19          And so that, in my mind, is the                19   questions about that. Internally, they're
    20   misleading or deceptive part is that the company      20   having discussions about those questions, but
    21   has very deliberately taken a strategy to             21   then the communication to consumers is very,
    22   address the health concerns through product           22   very different.
    23   replacement, and then that replacement never          23          BY MR. EWALD:
    24   happens and the reason for it isn't communicated      24          Q. Okay. So there's a scientific
    25   to consumers.                                         25   question raised about the safety of the product
                                                    Page 115                                                   Page 117
     1          Q. But you also don't know the                  1   externally. There are discussions about that
     2   reason for it, do you?                                 2   question that's been raised. There are
     3          MS. PARFITT: Objection, form.                   3   discussions within Johnson & Johnson about the
     4          THE WITNESS: Again, I mean, we can --           4   question that's been raised externally. And
     5   no, I don't -- no, I don't. Just to be fair, I         5   it's your opinion then that if such discussions
     6   don't know. Yeah.                                      6   take place that should be communicated to
     7          BY MR. EWALD:                                   7   consumers, correct?
     8          Q. And do you know, in assessing                8           A. It's my opinion that if there
     9   whether a particular epidemiological study is          9   are -- there are credible risks, and I'm coming
    10   significant, do you think that the FDA is better      10   back to, you know, we talked a lot about
    11   situated than you in making that assessment?          11   cornstarch, and I think cornstarch and the
    12          MS. PARFITT: Objection, form.                  12   history of cornstarch is exemplary because it --
    13          THE WITNESS: Yeah. You know, it's              13   it shows that the company was taking those risks
    14   just an area that I'm not well -- I know what I       14   seriously, that they spent over a decade trying
    15   don't know. And so that's outside my expertise.       15   to develop a replacement product. So it's not
    16   So I wouldn't be able to comment on which             16   just at the level of, do you have to communicate
    17   regulatory body is better than which, or what         17   everything you discuss internally to the public?
    18   kind of standard or anything like that, yeah.         18   That's not what I'm saying.
    19          BY MR. EWALD:                                  19           But if you take actions over a decade
    20          Q. Well, you say which regulatory              20   because you think there's a health risk, then
    21   body is better than which, but you cite a lot in      21   there is some responsibility to communicate some
    22   your document to Health Canada, correct?              22   portion of that to consumers and not just say,
    23          A. Because you do have a national              23   absolutely, without a question, without a doubt,
    24   health service that is saying we have a concern       24   it's safe.
    25   about this product. I mean, as a current              25           Q. What expertise/training do you

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     1   have just to make the opinion that you just did?       1   answer.
     2           A. I mean, my years of training as             2          You can try again, Doctor.
     3   an expert in consumer behavior and consumer            3          BY MR. EWALD:
     4   psychology, that when you speak to consumers in        4          Q. Well, I heard -- no, I mean, what
     5   absolutes, that it's very different than talking       5   I heard, that's fair. I heard what you tell
     6   about even a glimmer of a possibility otherwise.       6   your intro class, what else?
     7           And I'll just give an example. So              7          A. And again, coming back to the
     8   this is one of the papers I published. If you          8   example of spring water, that there is a
     9   talk about pure natural spring water versus            9   qualitative difference between saying this is
    10   spring water with 0.001 percent additive or           10   pure natural spring water and spring water with
    11   impurity, you get an enormous drop off in             11   0.01 percent additive, and that's not a linear
    12   people's willingness to buy the product, that         12   change. And so just the same way that saying,
    13   it's not linear, that any shred of a doubt or a       13   Well, there is the potential for a health risk,
    14   possibility of impurity or something not being        14   and you know, we're kind of talking about the
    15   quite right with the product is enough to             15   study that I conducted on my own earlier, right?
    16   dramatically change consumers' perceptions.           16   Just even disambiguating things and
    17           And so I think in this case, by not at        17   acknowledging that there is evidence which finds
    18   least acknowledging the possibility and that          18   a link changes how much people trust the
    19   there was evidence and evidence that they were        19   company. And yes, absolutely, I think that is
    20   taking seriously, seriously enough to take            20   misleading or potentially confusing. Mr. Ewald,
    21   actions to develop a replacement product, to me,      21   you froze.
    22   is misleading.                                        22          Q. Dr. Newman, you froze after
    23           Q. Well, what -- can you identify             23   saying "acknowledging." I'm sorry, I didn't
    24   any peer-reviewed published paper that states         24   hear anything after that. That was the first
    25   that there's a glimmer of possibility of a            25   hiccup.
                                                    Page 119                                                   Page 121
     1   health risk associated with a product, the             1           A. It was probably very smart.
     2   company should communicate that to consumer.           2           Q. I'm sure it was. The court
     3           A. If there's -- I don't know                  3   reporter, if she got it, can read it back. It
     4   what -- I mean, we would talk about best               4   was literally after the word "acknowledging."
     5   practices, you know, if I'm teaching intro to          5           A. I'll just restate it just to make
     6   marketing, intro to consumer behavior, we would        6   it easier on everybody. But just what we're
     7   talk about best practices. And certainly up            7   talking about with the spring water example,
     8   there with best practices are, you know, you           8   there's a difference between communicating in
     9   can't engage in false advertising, you can't           9   absolutes and presenting a fuller picture of the
    10   mislead, you can't misstate product benefits,         10   information. And that it's misleading to not
    11   those kinds of things. So, I mean, those --           11   acknowledge these risks that the company was
    12   these -- if you were to enter business school,        12   taking seriously, as evidenced by all of the
    13   this is kind of foundational to the training          13   work that they're doing on replacement products,
    14   about what are, you know, acceptable principles       14   et cetera.
    15   or guiding principles or best practices.              15           Q. Okay. I saw in your reliance
    16           Q. Well, are you -- is it your                16   list or reference list a couple of documents
    17   opinion that it is misleading to customers and        17   related to FDA citizen petition in 2008, 2000,
    18   deceptive to customers not to provide them            18   1994 and the response in 2014. I didn't see
    19   information about the glimmer of a possibility        19   reference to FDA's 1986 response to a citizen
    20   that a product could cause harm?                      20   petition related to talc. Is that something
    21           A. It is, yes. Yes, that is my                21   that you've seen before?
    22   testimony, yes.                                       22           THE REPORTER: I'm sorry. I'm not
    23           Q. And then what do you rely on that          23   catching what he's saying.
    24   form?                                                 24           MS. PARFITT: John, unfortunately, the
    25           MS. PARFITT: Objection. Asked an              25   reporter was unable to catch your question. If
                                                                                               31 (Pages 118 - 121)
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                                                 Page 122                                              Page 124
     1   you wouldn't mind repeating that.                 1   name, Douillet, with a date of July 11, 1986.
     2           MR. EWALD: No worries.                    2   Let me look at it a little bit bigger.
     3           MS. PARFITT: Thank you.                   3          A. Yep.
     4           BY MR. EWALD:                             4          Q. And it says:
     5           Q. So I'll break this down. You           5              "This responds to your November
     6   recall, Dr. Newman, that in your reference list, 6           8, 1983 petition requesting that
     7   you include, some documents relating to FDA       7          cosmetic talc be labeled with an
     8   citizen petitions and responses in the 2000s?     8          asbestos warning statement,
     9           A. Yes, correct. Yeah.                    9          information on asbestos particle size
    10           Q. And are you familiar with an FDA 10               and the proportion of talc impurities
    11   response in 1986 to a talc related citizen       11          in the product."
    12   petition?                                        12          Is this ringing any bell? Is this
    13           A. I believe I am familiar with that     13   something that you've seen, Dr. Newman?
    14   document, yes.                                   14          A. I don't believe I have ever seen
    15           Q. Well, I'm going to pull it up         15   this document.
    16   now. I'll mark it an exhibit. And, Michelle, I 16            Q. Okay. Goes on to state:
    17   don't know if it's something you guys set up, or 17              "You assert that, because the
    18   there's only a couple parts in the show, but     18          mine of talc almost invariably
    19   what do you need me to do?                       19          includes the mining of asbestos as
    20           MS. PARFITT: John, I'm not -- it is      20          well, cosmetic talc may contain
    21   not in our notebook.                             21          significant amounts of asbestos
    22           MR. EWALD: All right, so let me first 22             particles that present inhalation
    23   put it in the chat.                              23          hazard to humans. Also, you cite
    24           MS. PARFITT: John, I'm just going to 24              references to substantiate that
    25   swing around so I can see it as well. Okay.      25          significant amounts of asbestos have
                                                 Page 123                                              Page 125
     1          MR. EWALD: Sure. Okay, let me know 1                 been found in commercial talc samples,
     2   when it's uploaded. It's looks like it's got     2          that asbestos inhalation is hazardous
     3   across the wire. Should have a fancy red ribbon 3           to humans, and that asbestos
     4   on the front.                                    4          contaminants in talc will produce
     5          MS. PARFITT: There you go.                5          toxicological responses when inhaled."
     6          THE WITNESS: Yes.                         6          Goes on to say that:
     7          BY MR. EWALD:                             7              "However, your petition has not
     8          Q. All right. And any point in time       8          persuaded us that cosmetic talc that
     9   if you need to review part of it, let me know.   9          is presently being produced contains
    10   I'm just going to talk about a couple of pages  10          significant amounts of asbestiform
    11   to get started, we'll mark this.                11          minerals."
    12          MS. PARFITT: Yeah, if I could just       12          Then it talks about:
    13   ask. Can just run down to the Bates number on 13                "During the early 1970s, FDA
    14   that. That may be why I wasn't able to find the 14          became concerned about the possibility
    15   document.                                       15          that cosmetic talc did contain
    16          MR. EWALD: Yeah, no worries. This 16                 significant amounts of this material.
    17   one actually just a "D." It's an internal       17          The agency received several reports
    18   document. It's D-7214, Exhibit number.          18          about such contamination. However, at
    19          MS. PARFITT: D 7214.                     19          that time, the analytical procedures
    20          MR. EWALD: Yes.                          20          for determining asbestos in talc were
    21          MS. PARFITT: Thank you.                  21          not fully developed and most of the
    22          BY MR. EWALD:                            22          analytical work was conducted without
    23          Q. Yes, and what we see here on page 23              scientific agreement as to which
    24   3 of the PDF, it is a letter from the FDA to    24          methods were well-suited for the
    25   Mr. Phillippe. I don't know how to say his      25          identification of asbestiform minerals
                                                                                        32 (Pages 122 - 125)
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                                                 Page 126                                                 Page 128
     1          in talc."                                  1   happy to break now for lunch or continue on,
     2          Let me stop there for a moment. Did I      2   whatever you guys prefer, and whatever the court
     3   read that correctly?                              3   reporter prefers.
     4          A. Yeah. Yeah.                             4           MS. PARFITT: Do you want to take a
     5          MS. PARFITT: And, John, may I ask a        5   quick break now or can you go a little longer?
     6   favor, if you will? The Doctor has indicated      6           THE WITNESS: I can go -- yeah. You
     7   he's never seen this document before. I don't     7   know, I'm a late lunch eater. So I can go a
     8   have it in his exhibit list, as well. So if he    8   little bit longer and then maybe 30 minutes or
     9   could have an opportunity, and you can either     9   something like that.
    10   come back to it, or he can read it now, to read 10            MS. PARFITT: Yeah, John. If we can
    11   the entire doc -- he's never seen this document 11    do this: Give us three minutes. We're going to
    12   and I know we're reading parts for it and you're 12   see if we can get something ordered here so we
    13   being very fair about that, but he's never seen 13    can keep moving here, just give us three
    14   the document before and I can't tell from what's 14   minutes.
    15   on the screen what's before and what's after.    15           -- LUNCH TAKEN AT 12:42 P.M.
    16          MR. EWALD: Fair. And maybe one way 16                  -- RESUME AT 1:43 P.M.
    17   to do it, the letters, I see two pages, I also   17           BY MR. EWALD:
    18   want to show him something else about it, but 18              Q. All right. Dr. Newman, did you
    19   there's also a lot of analytical data in the     19   have a chance to take a look at the 1986 FDA
    20   back part.                                       20   response to citizens petition?
    21          MS. PARFITT: Yes.                         21           A. I read the first two pages and
    22          MR. EWALD: So if you want, one idea 22         then there was a bunch of material at the end
    23   was considering if you want to look at it over 23     that I wasn't able to review.
    24   the lunch break.                                 24           Q. Well, we will get to that in a
    25          MS. PARFITT: Yes.                         25   moment, but set it aside, but not too far from
                                                 Page 127                                                 Page 129
     1          MR. EWALD: I'd be happy to go back to 1        where you are.
     2   it.                                              2            A. Okay.
     3          MS. PARFITT: Yeah. If we can move on 3                 Q. And if you look at your report.
     4   from this, John, 'til we get a copy of it, he    4            A. Yeah.
     5   can take a look at it and then we can come back 5             Q. On paragraph 52, which is on page
     6   to it.                                           6    13.
     7          MR. EWALD: Sure.                          7            A. Okay, I'm there. Yep.
     8          MS. PARFITT: Because it's got a lot       8            Q. And you see that says:
     9   of information at the very end.                  9                "In 1974 it was noted by
    10          MR. EWALD: Yeah. No, no, I agree.        10            executives at Johnson & Johnson that
    11   Before I forget, Leila, it's Exhibit 7, right?  11            'During the past couple of years, our
    12          THE REPORTER: Yes, it is, counsel.       12            need for a non-talc dusting powder has
    13          EXHIBIT NO. 7: Food and Drug             13            increased as a direct result of the
    14          Administration Certificate - D-7214      14            talc/asbestos controversy.'"
    15          (1986 FDA).                              15            That's what it says, right?
    16          MS. PARFITT: All right. Thank you.       16            A. Yes, that's what it says.
    17          MR. EWALD: Sure. And let me know if 17                 Q. What, based on your review of
    18   you have any problems accessing it from the     18    documents in this case, what is your
    19   chat.                                           19    understanding of the talc/asbestos controversy
    20          MS. PARFITT: Very good.                  20    that's referred to happening in the early 1970s?
    21          MR. EWALD: I'm going to make a           21            A. Based on my understanding, the
    22   Post-It note, because if I don't, I'm not going 22    talc/asbestos controversy was regarding the
    23   to go back to it. Hold on. We will get back to 23     presence of asbestos in talc.
    24   that one. Although, let me pause. It is 12:41   24            Q. Okay. And do you have an
    25   where I am. We've gone another hour. I am       25    understanding as to any details relating to that
                                                                                          33 (Pages 126 - 129)
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                                                Page 130                                                 Page 132
     1   controversy?                                     1   including that.
     2          A. Yeah, so there are -- I mean,          2          A. Yeah.
     3   again, this wasn't the, you know, the focus of   3          Q. Just starting on page one. And
     4   my review. But I did encounter documents, you 4      for the record, we are marking - I don't think I
     5   know, which talked about there being J&J,        5   said this - as Exhibit 8 a Johnson & Johnson
     6   internal documents about the detection of        6   internal memo dated April 26, 1973, with subject
     7   asbestos. I believe there's a document from      7   line "Windsor minerals and talc."
     8   right around the same time, I think, 1975 or     8          EXHIBIT NO. 8: Johnson & Johnson
     9   something, which talks about the potential for, 9           internal memo, "Windsor minerals and
    10   you know, asbestiform fibers to be detected.    10          talc." April 26, 1973.
    11   And so, yeah those kinds of documents. That's 11            BY MR. EWALD:
    12   about it.                                       12          Q. And paragraph 1 states that:
    13          Q. Is the document that you're           13              "It is our joint conclusion that
    14   referring to, asbestiform fibers, is that the   14          we should not rely on the 'Clean Mine'
    15   one you're quoting, a couple paragraphs up in 15            approach as a protective device for
    16   50?                                             16          Baby Powder in the current Asbestos or
    17          A. No. This is -- yeah, okay. I          17          Asbestos-Form controversy. We believe
    18   mean, yeah, that's definitely one of them. I    18          this mine to be very clean; however,
    19   think there was another one that I have -- I    19          we are also confident that fiber
    20   made note of that the last five -- you have to  20          forming or fiber type materials could
    21   forgive me, I'm new to the Bates numbering      21          be found. The usefulness of the
    22   system. But the last five are 26989, I believe  22          'clean mine' approach for asbestos
    23   that's a review of present status of talc       23          only is over."
    24   safety.                                         24          Did I read that correctly?
    25          Q. Yep. Okay, so on that one, we're      25          A. Yes.
                                                Page 131                                                 Page 133
     1   actually going to talk about that one next.      1          Q. How do you interpret that
     2   Let's first, though, let's talk about the        2   paragraph?
     3   document you're referring to in paragraph 50.    3          A. We're going to detect some stuff
     4   It is J&J 0025188. I will mark it as an          4   that looks like asbestos.
     5   exhibit. If it helps at all, that was also in    5          Q. And when they say "The usefulness
     6   your materials. It was -- starts with the        6   of the 'clean mine' for asbestos only is over,"
     7   number 0242, if that means anything to you.      7   what do they mean in your view?
     8          MS. PARFITT: Yeah, just give me a         8          A. I interpret that as -- as
     9   moment here, John, and we'll try and pull it up 9    referring to some kind of claim that you're not
    10   for him.                                        10   going to find anything here that looks like
    11          MR. EWALD: Sure.                         11   asbestos; we shouldn't take this strategy in
    12          MS. PARFITT: And I'm sorry, John,        12   talking about our mine this way, and instead we
    13   again, you said 25188?                          13   should acknowledge that you might find some
    14          MR. EWALD: Yep.                          14   stuff that looks like asbestos.
    15          MS. PARFITT: Just give me one minute 15              Q. When you say "stuff that looks
    16   here. Yeah. 242. Ready?                         16   like asbestos," you're talking about the shape?
    17          THE WITNESS: Yes.                        17          A. I was just responding to how --
    18          MS. PARFITT: 242.                        18   you're asking me, kind of, how I interpret
    19          THE WITNESS: Mr. Ewald, I'm going to 19       paragraph 1 --
    20   go ahead and pull that full document because I 20           Q. Yeah.
    21   know that there's some text at the end, too,    21          A. -- and I was paraphrasing it,
    22   that that is important to my opinion.           22   that we're going to find, you know, we're going
    23          BY MR. EWALD:                            23   to find some fibers that look like asbestos.
    24          Q. And, yeah, I'm going to talk          24          Q. Right? And I'm not -- you cited
    25   about a couple different parts of the document, 25   this document in your report and you quote from
                                                                                         34 (Pages 130 - 133)
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                                                   Page 134                                                   Page 136
     1   it, right?                                            1          tremolite or fibrous talc. Our Baby
     2           A. That's correct, yes.                       2          Powder contains talc fragments
     3           Q. Right. So I am only asking                 3          classifiable as fiber. Occasionally
     4   what -- how you interpreted it when you reviewed      4          sub-trace quantities of tremolite or
     5   it --                                                 5          actinolite are identifiable (optical
     6           A. Sure.                                      6          Microscope) and these might be
     7           Q. -- you included it in your                 7          classified as asbestos fiber."
     8   report. And so when you're saying looks like          8          How do you interpret that? What's
     9   asbestos, are you saying that it has the              9   being said in that paragraph?
    10   morphology of asbestos? Is that what you're          10          A. Well, there's a few different
    11   saying?                                              11   ideas. But the first part of that paragraph, I
    12           MS. PARFITT: Objection, form.                12   interpret it as the testing guidelines at the
    13           THE WITNESS: Yeah, I'm not -- I'm not        13   FDA are changing and we shouldn't rely on what
    14   able -- you know, I am not well-versed enough in     14   has escaped detection before to continue to
    15   this issue to know, you know, when whether --        15   escape detection. And so that as the standard
    16   you know, kind of different types of morphology      16   shifts, there is likely to be detection of
    17   and categorization. All I could say is that I        17   tremolite and actinolite, you know, if they use
    18   interpret that in plain language to say, you         18   a standard or a procedure of using an optical
    19   know, the chances that we detect something that      19   microscope.
    20   registers as asbestos is high enough that we         20          Q. Well, and then does it also talk
    21   shouldn't claim that our minds never have            21   about there in the middle that if talc, in the
    22   anything that looks like asbestos in them.           22   form of fiber, is identified, it could be
    23           BY MR. EWALD:                                23   included within the cosmetic division in the FDA
    24           Q. Right. So if you go to the next           24   food division ban? That's what they're saying
    25   page 2, and it's paragraph b., do you see that,      25   there. Do you agree?
                                                   Page 135                                                   Page 137
     1 as in "boy"?                                            1           MS. PARFITT: Objection, form.
     2        A. Yeah. This is like 4 b?                       2           THE WITNESS: I would -- again, I
     3        Q. Yes, sir.                                     3   would interpret that, yeah, as that the FDA
     4        A. Yeah. Okay.                                   4   could categorize it that way using essentially a
     5        Q. And so it says:                               5   different method or standard.
     6            "As for Baby Powder, the entire              6           BY MR. EWALD:
     7        thrust of our communications with the            7           Q. Right. When we say categorize it
     8        FDA is concentrated on asbestos as               8   a different way, they could categorize talc in
     9        harmful fiber-like material.                     9   the shape of a fiber as something that would be
    10        Sophisticated techniques have been              10   banned, right?
    11        proposed to make sure that fiber                11           MS. PARFITT: Objection, form. And
    12        formed materials present in samples             12   again, John, I think he's indicated that this is
    13        were identified as being asbestos.              13   not the different fiber types, it's not
    14        The implications that all other fiber           14   something that is his expertise.
    15        forms, if present, were talc or other           15           BY MR. EWALD:
    16        minerals and these were safe. This              16           Q. I understand. But he does cite
    17        posture will no longer be satisfactory          17   to it, and I have some questions on how it
    18        if the FDA...Division, which is moving          18   impacts his opinion. So I want to get
    19        more rapidly than Cosmetic Division,            19   appreciation of how he understands it.
    20        publishes a standard, it will probably          20           A. Sure. I would say that my
    21        be to ban asbestos-form or fibrous              21   interpretation of how this is worded is, again,
    22        material in talc. That could                    22   solely around, kind of, outward appearances,
    23        eliminate the current uses of talc in           23   right? I mean, kind of going back to this idea
    24        packaging materials. These talcs                24   that health and safety are our number one
    25        contain widely varying amounts of               25   concerns, right? There's like nothing about
                                                                                              35 (Pages 134 - 137)
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                                                 Page 138                                                 Page 140
     1   that here. It's just like, well, how's it going   1   They also talk about the detection of talc in
     2   to look if now suddenly there's detection of      2   their talc product, right?
     3   asbestos in our product? And so there's a         3          A. Yes, correct. Yes.
     4   subtext here to this document that I think is     4          Q. And so if there's going to be a
     5   important to my opinion.                          5   standard that is potentially promulgated that
     6          Q. Okay, well, they say if the FDA         6   would ban the current product as manufactured,
     7   food division standard is adopted, that could     7   it makes sense to identify potential
     8   eliminate the current uses of talc and packaging 8    alternatives to the currently constituted
     9   materials, right?                                 9   product, correct?
    10          A. Yes.                                   10          MS. PARFITT: Objection, form.
    11          Q. And so if a business is trying to      11          THE WITNESS: Yeah, I mean, again,
    12   be proactive and is identifying that a current   12   maybe I'm getting a little bit confused by the
    13   product that's currently constituted may be      13   question. So I just interpret b. as saying,
    14   banned by a changing regulation, it makes sense 14    4 b. as the standards are shifting and there may
    15   to explore opportunities, other opportunities,   15   be detection of things, there may be detection
    16   right?                                           16   of asbestos in our product. And then it goes on
    17          MS. PARFITT: Objection, form.             17   to 5 to say, Well, what are we going to do about
    18          THE REPORTER: Sorry. Could you just 18         it? And part of what they're considering is 5
    19   repeat the last part, counsel? I didn't quite    19   c., Well, an obvious answer would be cornstarch.
    20   catch you.                                       20          BY MR. EWALD:
    21          BY MR. EWALD:                             21          Q. Okay. You talked about, again,
    22          Q. Sure. If a company -- isn't            22   your understanding. You didn't include the part
    23   it -- withdrawn.                                 23   where they say that there's a definition that
    24          Wouldn't a prudent company who            24   could be promulgated, that would include banning
    25   identifies the possibility that a standard       25   products that have talc in the shape of fibers,
                                                 Page 139                                                 Page 141
     1   change may result in a product that's currently  1    right?
     2   constituted being banned look at alternative     2            MS. PARFITT: Objection, form.
     3   options if that ban came to fruition?            3            THE WITNESS: I mean, I think this
     4          MS. PARFITT: Objection, form.             4    might be drifting into a degree of expertise
     5          THE WITNESS: I'm having a little bit      5    that I'm really not qualified to speak on in
     6   of trouble parsing it, but the way that I'm      6    things that, for instance, may look like
     7   interpreting that question is like in what I     7    asbestos but aren't really asbestos. And I'm
     8   mention in my report is I go to five sub point   8    not able to make those kinds of distinctions or
     9   C, which is, Okay, well, let's use cornstarch.   9    ferret that out here.
    10   It doesn't have any of these health risks. It's 10            And I just -- in as plain of English
    11   not going to have any fibers that could be      11    as I can interpret that -- that paragraph, it's,
    12   potentially harmful and it's assimilated into   12    you know, there's going to be detection and
    13   the body. So that could be a good option for    13    just, I mean, to kind of go back to the
    14   us.                                             14    beginning of the document, it seems to be framed
    15          BY MR. EWALD:                            15    right around what we're telling people. You
    16          Q. Well, where does it say in 4 b.       16    know, are we -- are we using this kind of "clean
    17   that the company, i.e. Johnson & Johnson, is    17    mine" approach? Should we be telling people
    18   worried about the safety of its talc products?  18    there's no asbestos in our product? And then I
    19          A. I don't think it says that            19    interpret 4 b. as, Well, one thing that could
    20   they're worried about the safety of their       20    change is that with these new standards, there's
    21   product. They're worried about -- I interpret   21    going to be detection of asbestos in our
    22   4 b. as they're worried about detection.        22    product. And I would say, that's really the
    23   They're worried about the detection of asbestos 23    limit of my understanding of that document.
    24   in their product.                               24            BY MR. EWALD:
    25          Q. Well, they talk about asbestos.       25            Q. Well, I understand that the

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     1   limitations that you're talking about, and what      1   possible regulation that's out there that could
     2   I'm trying to figure out is what you understand      2   be promulgated from FDA food division that
     3   about the controversy in the early 1970s,            3   include not only asbestos, but also talc in a
     4   because what you've stated many times, I             4   fibrous form, correct?
     5   believe, just tell me I'm right, and my              5          MS. PARFITT: And you're asking him,
     6   understanding that J&J's response to what is         6   is that what it says? Is that the question,
     7   referred to as sometimes as talc/asbestos            7   John? Is that what that says?
     8   controversy in the early 1970s is proof that the     8          BY MR. EWALD:
     9   risk presented was credible, right?                  9          Q. Yeah, is that how he understands
    10          A. I would say that their actions            10   it?
    11   over -- beginning in the 1970s through the          11          MS. PARFITT: Well, that's a
    12   1980s, in my mind, lend credence to the idea        12   different --
    13   that they believe that the risks were credible.     13          THE WITNESS: Yeah. That's not --
    14   Yeah.                                               14          MS. PARFITT: -- question.
    15          Q. Okay. And so in trying to                 15          THE WITNESS: That's now exactly how I
    16   understand what that talc/asbestos controversy      16   understand that sentence. I mean -- or sorry,
    17   is, we're talking about a document that you cite    17   that paragraph that I interpreted that paragraph
    18   and quote from in your report. And if we go         18   as, We might detect stuff that registers as
    19   back to paragraph 1, it talks about clean mine      19   asbestos; this new method might detect stuff
    20   approach. It says:                                  20   which could -- again, we're getting outside my
    21              "We believe this mine to be very         21   expertise. But as you could consider me a
    22          clean; however, we are also confident        22   layperson on this issue, and as a layperson, I
    23          that fiber forming or fiber type             23   interpret that as saying, Maybe it actually is
    24          minerals could be found."                    24   asbestos, you know, or it's something that
    25          In that phrase, starting with,               25   registers asbestos, but we're going to get a
                                                  Page 143                                                   Page 145
     1   "however," do you see asbestos anywhere in that 1        positive hit with this new method.
     2   phrase?                                           2             BY MR. EWALD:
     3          MS. PARFITT: Objection, form.              3             Q. I want to talk about the other
     4          THE WITNESS: I do recognize the word 4            document that you mentioned --
     5   "however," yes.                                   5             A. Sure.
     6          BY MR. EWALD:                              6             Q. -- a moment ago. And that one is
     7          Q. Do you see that phrase:                 7      the January 1975 one. If it helps you, I
     8             "however, we are also confident         8      believe the doc number that you guys put,
     9          that fiber forming or fiber type           9      probably by tab or index, is 128.
    10          minerals could be found."                 10             MS. PARFITT: One, two, eight, okay.
    11          Do you see the word "asbestos" appear 11          One, two, eight. Just give us one moment, John.
    12   anywhere?                                        12      We'll grab it.
    13          A. No. Not in that part of the            13             MR. EWALD: Sure.
    14   sentence, no.                                    14             MS. PARFITT: And, John, again, it's
    15          Q. Right. And the next sentence           15      review of the present status of talc, January
    16   says:                                            16      1975.
    17             "The usefulness of the 'Clean          17             MR. EWALD: Yes.
    18          Mine' approach for asbestos only is       18             MS. PARFITT: Okay, very good. Thank
    19          over."                                    19      you.
    20          That's what it says, right?               20             BY MR. EWALD:
    21          A. Right, correct. Yes.                   21             Q. Okay, for the record, we're
    22          Q. "Asbestos only," right?                22      marking as Exhibit 9 a January 1975 document
    23          A. Correct, yes.                          23      titled "Review On The Present Status Of Talc
    24          Q. And then when we scroll back to        24      Safety Substantiation Activities And Update Of
    25   4 b., and it talks about the fact that there's a 25      Contingency Plans," Bates Number of
                                                                                             37 (Pages 142 - 145)
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                                                   Page 146                                                 Page 148
     1   J&J000026987.                                         1   and the identification of the issues in this
     2          EXHIBIT NO. 9: "Review On The Present          2   paragraph. Assuming that's correct, is that
     3          Status Of Talc Safety Substantiation           3   something that Johnson & Johnson should have
     4          Activities And Update Of Contingency           4   reported to consumers, otherwise, it would be
     5          Plans," January 1975, Bates Number of          5   misleading and deceptive?
     6          J&J000026987.                                  6          MS. PARFITT: Objection. Misstate the
     7          BY MR. EWALD:                                  7   evidence.
     8          Q. And, Doctor, this is a document             8          THE WITNESS: You know, it's hard for
     9   that you reviewed and cite and quote in your          9   me to comment on a specific event, especially
    10   report, correct?                                     10   because I'm just not familiar with this report
    11          A. Yes.                                       11   from Mount Sinai, and then the inspection of the
    12          Q. And if we turn to page 2, you'll           12   individuals, and it's mentioned here, Medical
    13   see there is a historical review on page 7. I'd      13   Research Council in England. So it would be
    14   like to turn there. Let me know when you're          14   hard for me to form an opinion of that specific
    15   there.                                               15   event. But just to situate this historically,
    16          A. Let me see. It's page 7 in the             16   then you have a whole lot of actions post-1975
    17   document. Yeah. Okay.                                17   that seem to be taking the health concerns
    18          Q. So this 1975 document starts with          18   pretty darn seriously, as evidenced by all the
    19   on the "Historical Review" bullet point that:        19   cornstarch discussion that we were having
    20              "Researchers and consumerists             20   earlier.
    21          first raised questions on talc several        21          So those are all documents and market
    22          years ago. The most vocal of these            22   research testing that's coming way after 1975.
    23          was the Tenovus Group in England and          23   And I just -- if this is an open and shut, kind
    24          the Mount Sinai Hospital Group in New         24   of, issue in 1975, then why are they spending so
    25          York City."                                   25   much time and money thinking about a replacement
                                                   Page 147                                                 Page 149
     1          It goes on to say:                             1   product afterwards?
     2              "One of their first publications           2          BY MR. EWALD:
     3          asserted that they found talc and              3          Q. Do you know who Dr. Selikoff is?
     4          ovarian cancer tissue. Subsequent to           4          A. No, I don't.
     5          this publication their laboratory was          5          Q. By the way, did you read this
     6          examined by Dr. Pooley, consultant of          6   part of the document that you cited and quoted
     7          Johnson & Johnson, and Dr. Geoffrey            7   in your report?
     8          Lord. Through the Medical Research             8          A. I did, yes, I believe so, yeah.
     9          Council in England they were                   9          Q. All right. So this goes on in
    10          criticized for their techniques. That         10   the second bullet on page 7, carrying over to
    11          is, the individuals who examined their        11   page 8:
    12          laboratory found very high backgrounds        12              "Dr. Selikoff, Director of
    13          of talc in the processing solutions           13          Environmental Sciences Laboratory,
    14          and paraffin baths which made the             14          Mount Sinai School of Medicine has
    15          occurrence of any talc on histological        15          been a vocal leader in environmental
    16          slides highly suspect."                       16          pollution and is presently stationed
    17          Are you familiar at all with the              17          at Mount Sinai Hospital in New York
    18   Tenovus Group findings that are referred to          18          City. He has with him Dr. Langer, who
    19   here?                                                19          is a mineralogist. They concentrated
    20          A. Not really, no.                            20          on the asbestos issue and contend that
    21          Q. Right. If, indeed -- well, let             21          the presence, even a single fiber
    22   me put it this way. I want you to assume that        22          could cause cancer. In the press they
    23   Johnson & Johnson scientific assessment of           23          have established considerable
    24   Tenovus Group's first publication is correct,        24          confusion by linking talc with
    25   that they were criticized for their techniques       25          asbestos using terminology stemming
                                                                                             38 (Pages 146 - 149)
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                                                    Page 150                                                   Page 152
     1          from geological origin. They have               1   they talk about some of the potential problems
     2          been responsible for erroneous                  2   which we talked about in other documents seem to
     3          statements to the New York Times                3   be economic problems. Here, they're mentioning
     4          regarding the content of asbestos in            4   some other potential medical problems. Those
     5          talcum powders. These statements were           5   didn't bear out -- I don't see those in any
     6          later retracted in subsequent New York          6   other documents post that point.
     7          Times publications."                            7           But even in the context of all of
     8          Did I read that correctly?                      8   these health issues, they're talking about,
     9          A. You did read it correctly, yes.              9   okay, well, cornstarch seems to be a really good
    10          Q. So here we have an internal                 10   alternative solution. We think it's the number
    11   document, Johnson & Johnson, 1975. It's Johnson       11   one answer. And I think that's very important
    12   & Johnson saying that in the press, it is people      12   to understanding at least the marketing strategy
    13   like New York Times and Dr. Langer who are            13   and what -- what I'm speaking to.
    14   establishing considerable confusion by linking        14           Q. And I appreciate your point on
    15   talc with asbestos, correct?                          15   that. Do you think that it is appropriate,
    16          MS. PARFITT: Objection, form.                  16   scientifically, to take a look at the talc
    17          THE WITNESS: That's what it appears            17   strategy conclusion on page 18 to 19 without
    18   to say, yes.                                          18   understanding or having the ability to
    19          BY MR. EWALD:                                  19   understand the historical context that is
    20          Q. And you don't have the expertise,           20   communicated in the preceding 18 pages.
    21   one way or another, to know whether Johnson &         21           MS. PARFITT: Objection, form.
    22   Johnson is right in that the conclusions of           22           THE WITNESS: Are you saying, is it --
    23   Dr. Langer and Dr. Selikoff are erroneous nor         23   is it -- I don't -- is the question about
    24   retracted, right?                                     24   whether it's scientifically valid for J&J or...
    25          A. No.                                         25           BY MR. EWALD:
                                                    Page 151                                                   Page 153
     1           MS. PARFITT: Objection, form.                  1          Q. For you. Reach conclusions that
     2           THE WITNESS: I'm not able to evaluate          2   you do about what this paragraph means about
     3   that.                                                  3   cornstarch alternatives without understanding
     4          BY MR. EWALD:                                   4   the context in which it is written?
     5          Q. It goes on to say on page 9:                 5          MS. PARFITT: Objection, misstates,
     6              "Johnson & Johnson has always               6   what is earlier testimony.
     7          taken a position of cooperation."               7          THE WITNESS: Again, just to clarify,
     8          And the top question, Food and Drug             8   my position is, you know, if I were to, at a
     9   Administration notes. You know anything about          9   high level, summarize how I interpret this
    10   Dr. Lewin's testing, know anything about that?        10   document is there are a lot of concerns about
    11          A. I know the name. But no, not                11   the safety of talc. We have some studies that
    12   really it. Mr. Ewald, I just -- I do want to --       12   are out -- currently underway. Some of those
    13   because that's not the only aspect of the             13   seem to be sponsored by Johnson & Johnson. All
    14   document that I discussed. And I think there is       14   of these, as I interpret them, are, again,
    15   a really informative part of the document on the      15   concerns about asbestos and lung cancer.
    16   last page, on page 18 where they talk about           16          And so when -- again, I'm not -- this
    17   strategy, which is most germane to what I             17   is outside my expertise, but when I look at
    18   reviewed, certainly where I focused my efforts        18   something like the Rubino studies that's talking
    19   and my reading of that last page is, Look, our        19   about lung cancer, not ovarian cancer or
    20   best bet is to go with cornstarch. The first          20   anything like that, and then they're saying,
    21   sentence is:                                          21   Okay, well, there are all of these problems and
    22              "Cornstarch appears to be the              22   one obvious solution here is to go with
    23          number one answer to any alternates to         23   cornstarch. And that began -- that's one
    24          talcum powder. We presently have..."           24   document in a long line of documents which
    25          Something that's ready to go. Then             25   reinforces this idea that I think culminates in

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                                                   Page 154                                                  Page 156
     1   some documents later on where they say things         1           THE WITNESS: You know, I would have
     2   like, it's an inevitability that corn, excuse         2   to -- I would have to look at it. But, I mean,
     3   me, talc is going to be removed from the market.      3   I guess if you want to talk about specifics --
     4   How should we figure out how to replace it, et        4   I'm not aware of that. Again, I can't comment
     5   cetera, et cetera. So -- yeah.                        5   on that right now because you're just telling me
     6           BY MR. EWALD:                                 6   about it. But I haven't verified it in any way
     7           Q. So you mean --                             7   for myself or looked into it.
     8           MS. PARFITT: Please. Are you done?            8           BY MR. EWALD:
     9   Are you done?                                         9           Q. I guess -- I understand that.
    10           THE WITNESS: I'm done, yeah. Yeah,           10   I'm asking whether, if what I'm saying is true,
    11   go ahead.                                            11   does that matter to you?
    12           BY MR. EWALD:                                12           MS. PARFITT: Object, does it matter
    13           Q. You made reference to some of the         13   to him.
    14   studies being funded by J&J is -- are you            14           THE WITNESS: Again, I thought -- I'll
    15   offering an opinion that it was bad corporate        15   just kind of restate, hopefully, to clarify.
    16   practice to fund studies going to whether or not     16   That funding for research comes from somewhere,
    17   the products that are being used are safe?           17   to me, isn't necessarily problematic when we're
    18           MS. PARFITT: Objection, misstates his        18   talking about the consumer-related issues, is,
    19   testimony.                                           19   what do you then communicate to the public. In
    20           THE WITNESS: My understanding, again,        20   this case, Johnson & Johnson, we could look at a
    21   this is outside my area of expertise. My             21   1985 press release document where they're
    22   understanding is that that is a common practice      22   coaching -- what seems to be to coach PR people
    23   for companies to sponsor medical research. But       23   within the organization about how to talk about
    24   my problem with it is then what they tell the        24   Johnson's Baby Powder. And they use words like
    25   public, because they don't communicate that to       25   "independent scientists." So that part is
                                                   Page 155                                                  Page 157
     1   the public at all. They say, you know,                1   misleading, and that's really what I'm talking
     2   independent scientists have concluded that this       2   about.
     3   is safe. And, no, it's not true that these            3          BY MR. EWALD:
     4   scientists were working completely                    4          Q. So if a scientist completes a
     5   independently. And I think yet another instance       5   study and that study is funded by a party
     6   in which they're misleading the public,               6   interested in the result, you wouldn't call that
     7   misleading consumers, and not allowing people to      7   person an independent scientist?
     8   really make up their own mind about the issue.        8          MS. PARFITT: Objection.
     9          BY MR. EWALD:                                  9          THE WITNESS: I wouldn't say that
    10          Q. What about, you talked about               10   those scientists have worked independently.
    11   Health Canada. Do you know whether any of the        11          BY MR. EWALD:
    12   studies that were relied on by Health Canada         12          Q. Okay. Let's look at another
    13   were funded by some of the plaintiff's law firms     13   document around the same time. This was one
    14   that are on this very deposition.                    14   that I don't think I saw in your report. I
    15          MS. PARFITT: Object, form.                    15   could be wrong, but was in the additional
    16          THE WITNESS: No, I don't know about           16   documents reviewed. It is 0419 in your indexing
    17   any of the specifics of those.                       17   system. Let me know when you've got it.
    18          BY MR. EWALD:                                 18          MS. PARFITT: John, again, if you give
    19          Q. Does that matter to you?                   19   us just a moment.
    20          A. I'm sorry?                                 20          MR. EWALD: Sure.
    21          Q. Does it matter to you whether or           21          MS. PARFITT: And John, again. 0419.
    22   not the -- some of the studies relied on by          22   That's just four letters, right?
    23   Health Canada are funded by plaintiff law firms?     23          MR. EWALD: 0419 is the four numbers,
    24          MS. PARFITT: Objection, misstates the         24   yeah.
    25   evidence.                                            25          MS. PARFITT: John, I'm looking at his
                                                                                             40 (Pages 154 - 157)
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                                                    Page 158                                                Page 160
     1   references and Dropbox, and I'm not seeing 0419,       1          Q. Yeah, yeah. Take your time. I
     2   so may can either come back --                         2   just want to make sure, on the same page.
     3          MR. EWALD: If it makes any difference           3          A. Okay. I've completed the second
     4   this was from the production you guys made a day       4   paragraph. Okay. I've completed that
     5   or two ago.                                            5   paragraph.
     6          MS. PARFITT: The only addition we               6          Right. And I think this is at least,
     7   made the other day were websites.                      7   maybe, one of the things in the previous
     8          MR. EWALD: It's also in the                     8   document where, you know, I was -- led me to
     9   additional -- maybe it's in the additional             9   believe that some of the studies were paid for
    10   document review folder. I think that's where I        10   by J&J. Okay, I finished reading it. Yeah.
    11   remember seeing it.                                   11          Q. This wasn't the additional
    12          MS. PARFITT: So I may have to have             12   documents considered folder, at least when I
    13   you put that in the chat because I don't see a        13   looked at it.
    14   copy of that. Okay, I'm going in -- and I don't       14          And is it fair to say that the
    15   have my computer to go into the Dropbox.              15   document in that folder would not have been
    16          MR. EWALD: No worries.                         16   included in your report?
    17          MS. PARFITT: John, if you can give me          17          A. I think that's fair to say. I
    18   a date of the report, that may be helpful, too.       18   had assistance putting those folders together.
    19          MR. EWALD: Yeah., It's just, if it             19   I didn't assemble those folders myself. But,
    20   helps at all, I found it looking right now in         20   yeah, I think that's probably fair.
    21   the folder that was request numbers, 5 to 19,         21          Q. By the way, on that front,
    22   materials reviewed, additional materials              22   besides assistance -- all the assistance at
    23   considered, 0419 pops up there, but the date is       23   University of Toronto?
    24   March 3, 1975.                                        24          A. No, no.
    25          MS. PARFITT: Again, John, I hate to            25          Q. Assistance with the law firm?
                                                    Page 159                                                Page 161
     1   make you do that, but I can't get into my              1           A. Correct, yes. Yes.
     2   computer right now since you're using it, or I'd       2           Q. Do you know, or do you have
     3   go through the Dropbox. I may have to have you         3   any -- let me say it this way.
     4   put that in the chat.                                  4           How does this document, if at all,
     5            MR. EWALD: That's fine. What I'm              5   inform your opinions in this case?
     6   doing right now, it's just a two pager.                6           A. Again, I don't remember this
     7            MS. PARFITT: If you'd be kind enough,         7   being a part of my opinions. In reading it,
     8   when you put it in, unless he recognizes it            8   now, to be quite candid, I do not interpret it
     9   right away, give him a couple minutes to refresh       9   favorably to Johnson & Johnson.
    10   his memory on it, since I don't have anything to      10           Q. Do you think I'm only going to
    11   put in front of him.                                  11   put documents in front of you that are favorable
    12            MR. EWALD: Sure.                             12   to Johnson & Johnson?
    13            MS. PARFITT: Thank you.                      13           A. No, no. I mean, but you're
    14            THE WITNESS: I think just to make            14   just -- well, I don't think that's an
    15   it -- I'll open it, but I'm just going to             15   unreasonable assumption, actually. But, you
    16   minimize that so I can just look it, because I        16   know, my reading of this is, you know, what
    17   think it's going to be too much to try to go          17   we -- if you want to talk about specifics, I'm
    18   back and forth. So I'll just look off of the          18   happy to. But it is, you know, essentially the
    19   screen and then I'll let you know if I've got a       19   first part is, you know, we've only responded
    20   break from that.                                      20   and looked for data when people have found
    21            BY MR. EWALD:                                21   something bad about our product. And part of
    22            Q. So, sorry. Are you reviewing it           22   the reason why we didn't do that is because we
    23   now?                                                  23   might find something -- part of the reason why
    24            A. I'm sorry. Yeah, so I just                24   we weren't more proactive is that we didn't --
    25   finished reading the first paragraph.                 25   might find something bad ourselves. And, man,
                                                                                             41 (Pages 158 - 161)
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                                                    Page 162                                                   Page 164
     1   that would be even more embarrassing than              1   reminder.
     2   somebody else finding something bad.                   2          MS. PARFITT: Oh, John. Oh, you have
     3          And then, there's some discussion               3   it up?
     4   about, Well, maybe we should take an alternative       4          THE WITNESS: Yeah.
     5   strategy, and if we're able to sponsor some            5          MS. PARFITT: Okay.
     6   research proactively that finds negative               6          THE WITNESS: I'm comfortable. Yeah,
     7   effects, that would be good, because now we're         7   yeah, yeah. I'm comfortable.
     8   not just responding in kind. But to me, as a           8          BY MR. EWALD:
     9   scientist and a researcher, this reads a little        9          Q. So when we were talking about
    10   bit like, We've reached our conclusion, and how       10   this document, we were reading from its response
    11   best to strategize on looking for evidence            11   to the citizen petition about talc and asbestos.
    12   that's going to best support that conclusion          12   And I believe we left off saying:
    13   with the general public, is how I interpret that      13              "In addition...
    14   document.                                             14          This is on page 2 of the letter, 4 the
    15          Q. Okay. And do you know, for                  15   PDF:
    16   example, whether Johnson & Johnson funded the         16              "...FDA surveillance activities
    17   NIOSH study of talc mine workers, as referred to      17          that were conducted in the latter
    18   here and at the end?                                  18          portion of the 1970s showed that the
    19          A. I don't know that. No, no.                  19          quality --
    20          Q. Do you know whether or not the              20          Actually, I took a little bit --
    21   study, you see it's reference there, was              21          A. Mr. Ewald, just for context,
    22   ultimately published in the literature for            22   because I'm looking at it for the first time.
    23   anyone to review?                                     23   Can you just explain to me the origin of this
    24          A. Again, I don't know. That might             24   document, who's producing it, and who's the
    25   have been one of the studies that I looked at,        25   intended audience?
                                                    Page 163                                                   Page 165
     1   in looking at many studies, but I don't recall.        1          Q. Sure. Well, the first page is a
     2          Q. Do you recall reviewing the final            2   certificate that has an official red ribbon from
     3   published study of Professor Rubino by the             3   the Department of Health and Human Services.
     4   Italian talc millers and miners?                       4   And this affidavit talking about that this is
     5          A. Again, I -- not well, and                    5   from the custody of official records of the US
     6   certainly that I couldn't speak to its merits or       6   FDA.
     7   dis-merits. But I do, I think, remember reading        7          A. Yes.
     8   that study, yes.                                       8          Q. Certified copy signed from
     9          Q. All right. Let's go back to FDA              9   December 2015. And this is a letter response
    10   1986. We marked it as Exhibit 7 before the            10   July 1986 to the individual who submitted the
    11   lunch break.                                          11   November 8, 1983 petition requesting that
    12          MS. PARFITT: If you can give me a              12   cosmetic talc be labeled within asbestos warning
    13   minute. I put it in the exit screen and let me        13   statement. Do you see that?
    14   see if I can get it.                                  14          A. Correct, yes. Okay.
    15          THE REPORTER: Sorry, counsel, did you          15          Q. And, actually, I was on the wrong
    16   want to mark that previous document?                  16   page when we left off. We were talking about
    17          MR. EWALD: I meant to say Exhibit 10.          17   this paragraph from the FDA about the early
    18   If I didn't, that document, March 3, 1975.            18   1970s, and the FDA stating that:
    19          EXHIBIT NO. 10: Johnson & Johnson              19              "...the analytical procedures for
    20          document, Management Authorization for         20          determining asbestos in talc were not
    21          Additional Talc Safety Studies, March          21          fully developed, and most of the
    22          3, 1975.                                       22          analytical work was conducted without
    23          THE REPORTER: Okay, perfect. Thank             23          scientific agreement as to which
    24   you.                                                  24          methods were well-suited for the
    25          MR. EWALD: Thank you for the                   25          identification of asbestiform minerals
                                                                                               42 (Pages 162 - 165)
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                                                   Page 166                                                   Page 168
     1          and talc. Consequently, FDA                    1   early 1970s did contain asbestos form mineral.
     2          considered all analytical results to           2   That's what it says, right?
     3          be a questionable reliability."                3          A. Correct? Yes.
     4          Did I read that correctly?                     4          Q. Does it say cosmetic talc
     5          A. You did read it correctly.                  5   produced by Johnson & Johnson?
     6          Q. And do you have any basis to                6          A. No, it doesn't.
     7   disagree with the FDA statement on that.              7          Q. And if I'm remembering correctly,
     8          MS. PARFITT: Objection, form.                  8   you stated earlier that you're not offering an
     9          THE WITNESS: I don't have any basis            9   opinion whether or not Johnson & Johnson talc
    10   to offer an opinion one way or the other.            10   products have ever had asbestos, correct?
    11          BY MR. EWALD:                                 11          A. Correct, correct. Yes. And
    12          Q. And when you are -- sorry. When            12   again, I'm not citing this document. This isn't
    13   you are reviewing documents from the early 1970s     13   a document that I relied on, and so I'm not
    14   that talk about testing results of asbestos, is      14   making broad conclusions. But if we're pointing
    15   it important to you, as a scientist, to know         15   to what's inside the scope of my expertise
    16   whether or not the test methods that are being       16   versus not, that statement is much more in the
    17   used are reliable?                                   17   scope of my expertise in evaluating the
    18          A. I mean, if you're asking me,               18   marketing materials than would be
    19   generally, of course. If I'm evaluating              19   classifications of different kinds of fibers.
    20   research in my own area where I have expertise,      20          Q. It goes on in the second page of
    21   you know, I serve as a reviewer almost weekly,       21   the letter to state:
    22   you know, at all of our top journals, some at        22              "Consequently...
    23   general science journals. Yeah, I mean, of           23          The FDA says:
    24   course, I'm attending very carefully to              24              "...we find that there is no
    25   methodology, but I also know what I don't know,      25          basis at this time for the agency to
                                                   Page 167                                                   Page 169
     1   and I'm not able to evaluate methodology in this 1               conclude that there is a health hazard
     2   case.                                             2              attributable to asbestos in cosmetic
     3          If you wouldn't mind, I don't want to      3              talc. Without evidence of such
     4   take us off course. But for my purposes, when I 4                hazard, the agency concludes that
     5   look at a document like this and I read a         5              there is no need to require a warning
     6   sentence that's in the previous paragraph that    6              label on cosmetic talc."
     7   says:                                             7              Did I read that correctly?
     8              "The agency is also aware that         8              A. Yes, you did read it correctly.
     9          some cosmetic talc produced in the         9              Q. I know you didn't see this before
    10          1960s and early 1970s did contain         10       issuing your report, but does that conclusion by
    11          asbestiform minerals."                    11       the FDA have any impact on your opinions?
    12          And then I read Johnson & Johnson         12              A. No. But also, doesn't the same
    13   marketing materials that say no asbestos ever, 13         logic apply as -- so we just said before, it
    14   right? That's the kind of incongruency that is 14         doesn't say Johnson & Johnson. It also doesn't
    15   really setting off alarm bells for me. So I'm    15       say Johnson & Johnson here, right? So in saying
    16   not able to evaluate the science of detection,   16       that there used to be talc in it -- or used to
    17   but I can say, well, look, the FDA is saying it 17        be asbestos in it, and it's not singling out
    18   used to contain asbestos, at least. And          18       Johnson & Johnson. It's also, in this sentence,
    19   Johnson, and Johnson is telling consumers:       19       not saying, you know, Johnson & Johnson in
    20   Never contained asbestos. And that is the kind 20         particular is free from this.
    21   of disconnect that I'm really concerned with.    21              Q. But do you understand that this
    22          Q. Well, so now we're -- it doesn't       22       was a request for the FDA to change -- to
    23   say -- well, specifically what it says on page 1 23       require certain hazardous label warning, and
    24   of the letter is the agency is also aware that   24       that they are rejecting that for all cosmetic
    25   some cosmetic talc produced in the 1960s and 25           talc?

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                                                  Page 170                                                Page 172
     1           MS. PARFITT: Objection, form.                1   one moment in time. I would put this document
     2           THE WITNESS: Again, I mean, I can            2   in context with my reading right, that was like
     3   start to form an impression of this document         3   1986. But then you also have 1986 documents
     4   based on reading it. It's harder for me to put       4   that are right around the same time which are
     5   it into a larger context. But --                     5   advocating for the replacement of talc powder
     6           BY MR. EWALD:                                6   with cornstarch when they're doing market
     7           Q. Now, another part of the                  7   analyses, when they're evaluating safety
     8   document, if we go a little bit further, this is     8   hazards, et cetera. And so, I mean, my take
     9   a June 6, 1985 memorandum, Department of Health      9   would be, if it's such a non-issue, why are they
    10   and Human Services. "Asbestos in Talc" from         10   continuing to speculate on it and consider
    11   Quantitative Risk Assessment Committee, Gary        11   alternatives?
    12   Flamm, Office of Toxicological Sciences. And        12          BY MR. EWALD:
    13   there's some discussion of asbestos and lung        13          Q. You cite in your report, the
    14   cancer.                                             14   FDA -- let's go there. Hold on. So, in page
    15           I want to ask you about ovarian talc        15   19, including paragraph 75, you reference a
    16   study:                                              16   citizens petitions to the FDA from 1994. And
    17               "For completeness, a discussion         17   then on page 21, starting on paragraph 82, you
    18           is presented on a human                     18   also mention a second citizens petition,
    19           epidemiological study purporting to         19   relating to talc 2008, right?
    20           show an association between talc use,       20          A. Correct, yes.
    21           (talcum powder used for genital             21          Q. And I saw on your reference list
    22           dusting on the perineum or on sanitary      22   that you're aware of the 2014 decision denying
    23           napkins) and ovarian cancer.                23   the citizen petition request, correct?
    24               The Cramer et al. study [2],            24          A. I am aware of that, yes.
    25           which purported to show a                   25          Q. Is there any reason why you
                                                  Page 171                                                Page 173
     1          significantly increased relative risk      1      didn't include that in your report?
     2          for ovarian cancer associated with         2             A. No. I mean, it wasn't -- you
     3          talc use, 1) appears to have been          3      know, I'm not -- my report isn't about the FDA.
     4          misinterpreted statistically, 2) was       4      My report is about Johnson & Johnson and how
     5          uncorrected for several likely biasing     5      they talk to consumers.
     6          factors and 3) appears to have been        6             Q. Okay. Well, a citizen submits --
     7          strongly contradicted by another study     7      well, actually, it says, this is a cancer
     8          showing a reduced relative risk as         8      prevention coalition submits a petition to the
     9          significant in the negative direction      9      FDA saying, requiring a warning label relating
    10          as the Cramer study was in the            10      to talc, ovarian cancer, and that is rejected by
    11          positive direction."                      11      the FDA. And you're saying that that has no
    12          Did I read that correctly?                12      relevance to your opinions?
    13          A. You did read it correctly, yes.        13             MS. PARFITT: Objection, misstates
    14          Q. You've seen this before?               14      stasis testimony.
    15          A. No, I've never seen this.              15             THE WITNESS: Well, I mean, again, my
    16          Q. Is it -- if the FDA is correct,        16      understanding of the timeline here is that
    17   that the Cramer 1982 study has the three         17      there's first a petition in 1994 and then -- and
    18   deficiencies that I just identified, is it still 18      then another petition in 2008. And so there's
    19   your position that when Johnson & Johnson        19      no response to the '94 or 2008 until 2014. And
    20   becomes aware of a publicly available Cramer 20          so, you know, that's 14 years, you know, by my
    21   study in 1982, it should have communicated that 21       count, where there's no response at all, right,
    22   to consumers?                                    22      from the FDA.
    23          MS. PARFITT: Objection to form.           23             BY MR. EWALD:
    24          THE WITNESS: I mean, again, the basis 24                 Q. Understood. But does it have no
    25   of my opinion isn't around one single study or 25        relevance to you -- does it not have any impact
                                                                                           44 (Pages 170 - 173)
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                                                 Page 174                                                 Page 176
     1   on your opinion that the citizens petitions that  1   paragraphs, on page 22, is that right?
     2   you cite and quote from in your report were       2          A. Yes, that's correct. Yeah.
     3   ultimately denied by the FDA?                     3          Q. Okay. And so how do you
     4          MS. PARFITT: Objection, form.              4   interpret what Mr. True is saying in those two
     5          THE WITNESS: You know, again, I'm          5   emails that you quote at length in your report?
     6   mostly interested in what Johnson & Johnson is 6             A. Well, I think there's a few
     7   telling their consumers. And so there's a         7   things that are going on here that are really
     8   period of time, like everything before 2014,      8   important. One, you know, you have somebody
     9   there's a lot of marketing actions that are       9   within the company that seems to be taking these
    10   happening. And so if you want to say, okay,      10   health concerns very seriously. You know:
    11   well, that was an important period in which the 11               "The reality that talc is unsafe
    12   FDA has a decision about it, there's still this  12          for use on or around babies is
    13   huge stretch of time where there's citizen       13          disturbing. You know:
    14   positions [sic], there's more and more studies   14              "I don't think we can...keep it
    15   that are coming out that are finding an          15          in the baby aisle."
    16   association.                                     16          And so there's raising those concerns
    17          There are these internal discussions      17   internally, which is not inconsistent with other
    18   about translocation and ovarian cancer. There 18      periods of time. But then there's, there's also
    19   are these emails that are exchanged between      19   some kind of severe institutional amnesia in the
    20   people at Johnson & Johnson saying, I don't feel 20   responses, right, about, for instance, why
    21   comfortable selling this or having it in the     21   cornstarch was developed.
    22   baby aisle, or, we never told women to put it on 22          And like in Fred Koberna's reply on
    23   their perineal area. And so all of that is       23   April 18th, okay, well, the reason why we
    24   happening prior to 2014. So in terms of, is      24   launched cornstarch is because women prefer the
    25   there evidence that J&J didn't get consumers a 25     feel of it. Well, that's not true at all,
                                                 Page 175                                                 Page 177
     1   fair shake? I think there's lots of evidence of   1   because we can look back to all of the documents
     2   that.                                             2   that we were talking about in the early eighties
     3           BY MR. EWALD:                             3   where it was about addressing these health
     4           Q. Well, so are you suggesting that       4   concerns. There was nothing about women might
     5   if the science -- if the science -- that's        5   like the feel better. That's not in any of the
     6   wrong.                                            6   testing.
     7           Are you suggesting that if the side of    7          And so not only are there concerns
     8   the science that Johnson & Johnson has            8   about the product, but then there's kind of this
     9   steadfastly stated it believes is accurate, that  9   institutional amnesia about why alternatives
    10   its talc does not cause cancer, if that science  10   were developed, what potential health risks
    11   is ultimately proven correct, your opinion is    11   might be. Yeah, I'll stop there.
    12   still, they've engaged in misleading and         12          Q. Okay. And so when you say about
    13   deceptive conduct because they didn't express 13      Todd True -- first of all, Todd True, you have
    14   the alternative viewpoint in previous years?     14   it there in parentheses is the global creative
    15           MS. PARFITT: Objection, form.            15   director at J&J?
    16           THE WITNESS: Yes. Yeah, yeah, yeah. 16               A. That's my understanding, yes.
    17   Short answer, yes.                               17          Q. Fair to say that at least you
    18           BY MR. EWALD:                            18   wouldn't expect the global creative director to
    19           Q. Right. Now, you mentioned the         19   have any scientific medical background, correct?
    20   baby aisle thing.                                20          MS. PARFITT: Objection, form.
    21           And specifically, are you talking        21          THE WITNESS: I would expect that
    22   about the Todd True emails?                      22   person to have a high touch with consumers.
    23           A. Yeah.                                 23          BY MR. EWALD:
    24           Q. Okay. And so we're all on the         24          Q. Okay. And when you talked about
    25   same page. It's referred to 84 through 86        25   these health concerns that are raised by

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                                                   Page 178                                               Page 180
     1   Mr. True, what health concerns is he referring        1          Q. This maybe be referring to a risk
     2   to?                                                   2   of aspiration with babies that's warned on the
     3          A. I can only assume that it is the            3   label?
     4   same health concerns that we've been talking          4          MS. PARFITT: Objection, misstates the
     5   about.                                                5   evidence.
     6          Q. Having what?                                6          THE WITNESS: Yeah, I don't -- you
     7          A. I guess, relating to ovarian                7   know, I don't see evidence of that. I mean,
     8   cancer or cancer.                                     8   also the last sentence is, given the number of
     9          Q. Right. And in fact, in your --              9   other ingredient issues we were facing, just
    10   we'll mark it as Exhibit 11, your three page         10   seems like an easy fix and win. So this isn't
    11   intro -- three page set of notes that                11   talking about inhalation risk, this is talking
    12   Ms. Parfitt helpfully sent over, you have            12   about what's in the product, what's in the
    13   different sections, you have inhalation, you         13   ingredients, right?
    14   have inhalation and cancer, asbestos. And you        14          BY MR. EWALD:
    15   have a section where you have some excerpts          15          Q. Well, you tell me.
    16   under ovarian cancer, correct?                       16          A. So the next -- okay:
    17          EXHIBIT NO. 11: Dr. Newman's notes.           17              "I don't mind selling talc, I
    18          THE WITNESS: Correct, yes.                    18          just don't think we can continue to
    19          BY MR. EWALD:                                 19          call it Baby Powder and keep it in the
    20          Q. And you include the Todd True              20          baby aisle. Have we done any research
    21   excerpts under the ovarian cancer section,           21          to determine the potential negative
    22   right?                                               22          impact to our brand or best for baby
    23          A. Yeah. And to be clear, this is             23          strategy by maintaining this
    24   just my categorization.                              24          ingredient?"
    25          Q. Right. And you said you're                 25          So it isn't by this aeration method or
                                                   Page 179                                               Page 181
     1   making an assumption that he's referring to           1   type of cap or -- they're talking about an
     2   ovarian cancer, right?                                2   ingredient that's in there. So I would assume
     3           A. Correct. My understanding from             3   that to be talc or talc that contains asbestos.
     4   all of the materials that I reviewed is that at       4          Q. Doctor, can you state to a
     5   that point in time, in the early 2000s, the main      5   reasonable degree, degree of professional
     6   health risk that we're talking about with talcum      6   certainty that the health risk that Todd True is
     7   powder is associated with cancer, ovarian             7   talking about in his emails that you referred to
     8   cancer.                                               8   and quote, in paragraphs 84 and 85, is ovarian
     9           Q. So if that's the case, and you             9   cancer?
    10   said that you expect Mr. True to have a high         10          A. No. I mean, I can't -- very,
    11   touch with customers, why would he be saying we      11   very little you could say for certain. I think
    12   should move this cancer causing powder from the      12   it is more probable than not, in my reading,
    13   baby aisle to the adult aisle?                       13   that he is talking about an ingredient issue
    14           A. I find that very -- I mean, I             14   with the product since he uses the word
    15   find it very disturbing.                             15   ingredient a number of times and not some other
    16           Q. So now you're disturbed by                16   health risk. In Koberna's reply, he
    17   Mr. True's email that you're saying that he is       17   spontaneously -- they're both talking about
    18   suggesting that we need to be -- make sure we're     18   cornstarch, right? I mean, again, I don't know
    19   killing adults and not babies?                       19   how this -- it's difficult for me to substitute
    20           A. I don't know how else to                  20   a theory in which they're talking about
    21   interpret that sentence.                             21   inhalation because it just doesn't fit the
    22           Q. Well, remember that when we               22   language that's used there.
    23   talked about aspiration and that risk to infants     23          Q. Well, in paragraph 86,
    24   earlier?                                             24   Mr. Koberna is talking about how:
    25           A. Sure, yeah.                               25              "...we introduced the cornstarch
                                                                                           46 (Pages 178 - 181)
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                                                    Page 182                                                 Page 184
     1          variant as an alternative to talc for           1   testimony. 85 reads:
     2          use on babies. Due to the talc issue            2               "Basically, I'm thinking it would
     3          and some doctors recommending for moms          3           be in the brand's...interest to
     4          not to use powder on their babies, we           4           develop a strategy to move out of the
     5          don't promote powder to moms."                  5           baby aisle for our talc product and
     6          You're telling me that you can't                6           either create a direct Adult
     7   reasonably read that couple of sentences to mean       7           proposition or simply replace the talc
     8   that the recommendation by doctors that you            8           ingredient with cornstarch."
     9   referenced, all the way back in 1966, not to use       9           So that, to me, says he's talking
    10   baby powder on infants because of the risk of         10   about an ingredient issue. The ingredient he's
    11   aspiration?                                           11   worried about is talc. And should we replace it
    12          MS. PARFITT: Objection.                        12   with cornstarch? And so I -- and don't know --
    13          BY MR. EWALD:                                  13   I can't guess at what exactly is in Todd True's
    14          Q. Is that not what they're                    14   head and if he wants to give cancer to adults or
    15   referring to there?                                   15   something like that. I don't know at all. But
    16          MS. PARFITT: Sorry, John. Objection,           16   you know, yeah.
    17   form, misstates the evidence.                         17           Q. All right. We talked about a
    18          THE WITNESS: No, I don't read it that          18   little bit earlier on paragraph 75.
    19   way at all because there's nothing that I             19           A. Yeah.
    20   encountered in any of the evidence that I             20           Q. One second. I'll get back to
    21   reviewed which suggested that one of the              21   that one. Let's talk about -- oh, we've going
    22   benefits of the cornstarch variant had to do          22   about hour, twelve minutes. I'm happy to keep
    23   with inhalation. And so I don't know why he           23   on going, but if people want to take a break,
    24   would mention a cornstarch variant in reference       24   I'm happy to take a break.
    25   to inhalation. There are other aspects of             25           A. Yeah, take a break. I could use
                                                    Page 183                                                 Page 185
     1   Koberna's reply that are concerning, right,            1   the restroom.
     2   because he says, if I'm not wrong, he's the            2          -- RECESS TAKEN AT 2:56 P.M.
     3   director of, basically, marketing public               3          -- RESUME AT 3:07 P.M.
     4   insights, strategic insights, right? He says,          4          BY MR. EWALD:
     5   we don't promote powders to moms. That's not           5          Q. Dr. Newman, if you can turn
     6   true at all. They advertise powders to moms.           6   please to page 19 of your report, paragraph 75.
     7   There's a long history of them advertising to          7          A. Yes.
     8   adult women. And they created special lines            8          Q. And you talk here about certain
     9   around that.                                           9   statements from Dr. Alfred Wehner. And can you
    10          So I think there's a lot that, in his          10   explain to me why you included these two
    11   reply, that's just factually not correct. And         11   paragraphs in your report?
    12   the only way I can make sense of it is that he's      12          A. Because -- so my understanding is
    13   talking about talc as an ingredient and               13   Alfred Wehner is a consultant of Johnson &
    14   cornstarch as an alternative ingredient.              14   Johnson. And then he is raising issues, two
    15          BY MR. EWALD:                                  15   people at Johnson & Johnson, to say that, you
    16          Q. Right. And so you're -- and                 16   know, I mean, I could just quote it directly,
    17   again you're reading of 84 and 85, paragraphs,        17   but that, you know, to say that:
    18   and 86, I guess, too.                                 18              "'industrial exposure to talc,
    19          A. Yeah.                                       19          both by skin contact and
    20          Q. The Todd True emails is that Todd           20          20 inhalation...presents no
    21   True is saying we can't have products that can        21          significant risk' is 'outright
    22   cause ovarian cancer used on babies. We need to       22          false.'"
    23   move that cancer causing product to the adult         23          And so it's certainly relevant to, you
    24   aisle. That's your testimony?                         24   know, what -- what does Johnson & Johnson know
    25          A. Just to quote -- yeah, that is my           25   or internally, what are some of the discussions

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                                                    Page 186                                                  Page 188
     1   versus what are they telling people since this         1   witness a moment to read. And please let me
     2   mentions directly kind of what's communicated          2   know, Doctor, when you want me to scroll down.
     3   publicly.                                              3           A. Okay. Sorry. That was the first
     4           Q. Okay. And so is it your                     4   paragraph. This one's a little dense. Yeah.
     5   interpretation of that document that Dr. Wehner        5   Okay. I finished that first page.
     6   is somebody who believes there is a link between       6           MS. PARFITT: You might want to read
     7   talc and ovarian cancer?                               7   the whole thing.
     8           A. Yes, that's how I interpret it.             8           THE WITNESS: Yep. Okay. And I'm
     9           Q. Let's look at the document itself           9   just now at the paragraph that begins, "Mike."
    10   that you're citing to. It is -- you cite to the       10   Okay, all set.
    11   one Bates base number of J&J000040596, dated          11           BY MR. EWALD:
    12   9/17/97. And, Michelle, I'll give you a chance        12           Q. So after reviewing this two page
    13   to find that.                                         13   document again, is it still your opinion that
    14           MS. PARFITT: Thank you. I appreciate          14   Dr. Wehner has concluded that cosmetic talc does
    15   that. John, for some reason, it is not coming         15   not cause ovarian cancer? Causes ovarian
    16   up, and I can't search, again, on my computer.        16   cancer?
    17           MR. EWALD: For whatever reason, it            17           A. That's not --
    18   might have been just me, I couldn't find it in        18           MS. PARFITT: Objection to form.
    19   the...                                                19   Please.
    20           MS. PARFITT: In the Dropbox.                  20           THE WITNESS: Sorry. That's how I'm
    21           MR. EWALD: In the Dropbox. I'll put           21   interpreting what he's saying.
    22   it in the chat.                                       22           BY MR. EWALD:
    23           MS. PARFITT: I'm still looking to see         23           Q. How are you interpreting it?
    24   whether or not we got a bad number on it.             24           A. Sure. The way that I interpret
    25           MR. EWALD: I'll put it in the chat.           25   it is he's critiquing the messaging, which is
                                                    Page 187                                                  Page 189
     1           MS. PARFITT: I appreciate that.          1         in -- at multiple points, he's saying that you
     2           THE WITNESS: I'm just gonna do the       2         have either denied associations or have said
     3   same thing as before. I'll open it here, but     3         that there is no evidence whatsoever and that's
     4   I'll just read off of yours. I think it should   4         simply false. Or you said that translocation is
     5   be fine.                                         5         possible. That is false. To me, I interpret
     6           BY MR. EWALD:                            6         that not as a statement about causality, but
     7           Q. Yes. It's a two page document,        7         about messaging, and that he is critiquing the
     8   so hopefully it works, okay. And so I don't      8         message of the CFTA, sorry, CTFA, and, you know,
     9   forget, we are marking this as Exhibit 12.       9         in conjunction, Johnson & Johnson.
    10           EXHIBIT NO. 12: Letter from Alfred      10                Q. And so then with that
    11           Wehner to Michael Chudkowski at J&J     11         interpretation, how does that impact your
    12           Consumer Products. J&J Bates Number     12         opinions in this matter such that you've quoted
    13           000040596, September 17, 1997.          13         a couple of different sentences in your report?
    14           BY MR. EWALD:                           14                A. So my understanding, and this is
    15           Q. And this is not me being the         15         based on the last paragraph in that document, is
    16   grammar or typo of police. But just so you      16         that he's a consultant with Johnson & Johnson
    17   know, you have Alfred Werner and it's Wehner.   17         under retainer. So at some level, this is
    18   W-E-H. It's kind of hard to read a little bit.  18         somebody whose opinion that they respect and is
    19   Just trying to help you out.                    19         able to comment on these issues. And then he's
    20           A. Thank you. I just completely --      20         basically saying, Hey, as a friend, I gotta let
    21   I read that as an "R." My apologies.            21         you know the way that you're handling this is
    22           Q. No, doesn't matter to me. And        22         all wrong because you're denying any kind of
    23   September 17, 1997, J&J Bates Number 000040596, 23         relationship whatsoever, and you just don't have
    24   and it's directed to Michael Chudkowski at J&J  24         the footing to say that, which is, you know,
    25   Consumer Products. And I will now give the      25         exactly what I observe in, kind of, looking at

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     1   many, many documents over a long period of time       1   that were really relevant to marketing issues,
     2   is that, you know, Johnson & Johnson is saying        2   and I didn't find a lot. Most of the documents
     3   one thing to consumers that's very definitive,        3   that I observed on the Facts About Talc site
     4   where behind the scenes internally, there are a       4   were about testing and, like, there the presence
     5   lot more questions and debate.                        5   of asbestos and actually pretty technical
     6          Q. All right. Let's talk a little              6   documents that, you know, I wasn't able to
     7   bit about Facts About Talc, and in particular         7   interpret. So, you know, I didn't find a lot
     8   your discussion in paragraph 95 on page 3 and 4.      8   relevant to marketing.
     9          A. Okay, sure.                                 9          Q. So, then, is it fair to say that
    10          Q. You there?                                 10   the -- well, let me ask you the question. Do
    11          A. Yes.                                       11   you have a sense of the J&J internal documents
    12          Q. Okay. And you state:                       12   with Bates numbers that you include in your
    13              "To this day, the company                 13   table of contents list, how many of those you
    14          maintains that asbestos in talc is            14   identified yourself through searching facts
    15          nothing more 'an urban legend.'               15   about talc?
    16          [company’s website, 'Facts about              16          A. I couldn't say for certain.
    17          Talc']. The company highlights four           17          Q. Yeah, but from what you were
    18          studies which do not find an elevated         18   saying before, you would expect a very large
    19          risk of cancer among cosmetic talcum          19   number of them?
    20          powder users. However, it does not            20          A. My recollection is that there
    21          discuss the dozens of peer-reviewed           21   weren't a lot of marketing documents there.
    22          studies and meta-analyses which do            22          Q. And on the documents that
    23          find evidence of a statistically              23   plaintiff's counsel provided you, I understand
    24          significant relationship between              24   the request that you gave them of what you were
    25          talcum powder use and cancer. Such            25   looking for. How did they provide the documents
                                                   Page 191                                                  Page 193
     1           biased sampling of the peer-reviewed      1       to you?
     2           literature is in direct contradiction     2              A. So I was provided with a link to
     3           to universally accepted scientific        3       Dropbox, and then there would be folders within
     4           practices as well as company’s            4       the Dropbox that would correspond to the
     5           invitation for consumers to 'review       5       categories of documents that I had asked about.
     6           the evidence and make up your mind.'"     6       And then I would just go through, kind of, one
     7           Did I read that correctly?                7       by one. And as I mentioned before, you know,
     8           A. Yes.                                   8       some of those documents were relevant, some of
     9           Q. And do you stand by that?              9       them weren't relevant. And so then I would just
    10           A. I do, yeah.                           10       focus on the ones that pertain to the marketing
    11           Q. How -- when you said you reviewed 11           issues.
    12   Facts About Talc, what parts did you review? 12                  Q. All right. I'm gonna share my
    13           A. I went through all of the             13       screen. For the record, I do have a PDF of this
    14   separate pages, and then, there within the       14       part I'm going to be talking about. I'm going
    15   litigation section, there is a documents folder. 15       to start -- the current version of the live
    16   And I downloaded that documents folder. You 16            website. Do you have a sense of the last time
    17   know, there are thousands of documents there. I 17        you looked at Facts About Talc, Doctor?
    18   didn't read all of those documents. I looked at 18               A. I've definitely looked at it
    19   many documents in those folders, but that was 19          since I submitted my report, but I couldn't say
    20   one of the earlier sources that I consulted.     20       exactly how long ago it was.
    21           Q. And on the documents that you         21              Q. But -- fair enough. And when you
    22   downloaded and searched through, what sort of 22          talk about the company highlighting four studies
    23   searches did you conduct to, kind of, wade your 23        and not discussing the case control studies are
    24   way through them?                                24       trying to find what -- what do you think you're
    25           A. Again, I was looking for things       25       referring to?
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     1           A. I believe it's under the studies            1   question?
     2   tab, is my memory. Okay. And then, so then             2           MR. EWALD: Yes.
     3   those are the four studies, I believe, that are        3           MS. PARFITT: Thank you.
     4   mentioned. So it highlights the results of             4           THE WITNESS: Yes, I acknowledge
     5   those studies. But in my search online, I think        5   that's what it says, but that's actually the
     6   I identified, I don't know, probably between 30        6   exact text that I used for the study that I
     7   something studies that I found, you know, and so       7   conducted, that we talked about earlier. So
     8   that's what I was referring to.                        8   when I read this information, I said, Wow,
     9           Q. Okay. Did you see the part where            9   they're really burying that information in the
    10   it's right below it says "Other Studies"?             10   paragraph. It's tucked away in the middle of
    11           A. Yes, yes.                                  11   the paragraph. And as a reader, just
    12           Q. Okay. And talks about the fact             12   linguistically, it's a very complicated
    13   that there's a -- not that. Sorry:                    13   sentence. You have to do a lot of work to
    14               "...reconfirms that a statistical         14   decode what that sentence means. And so the
    15           association between ovarian cancer and        15   question was, if you disambiguate that sentence
    16           powder users is not found in large,           16   for consumers, for a reader, do they come to a
    17           prospective cohort studies, although          17   different impression? And at least I found
    18           some, but not all, case-control               18   initial pilot evidence to suggest, yeah, that
    19           studies do indicate a slight                  19   even today, presenting it as just, oh, and by
    20           statistical association. Case-control         20   the way, there's, this statistical association
    21           studies are studies where groups of           21   masks a reality for consumers that appears to
    22           people with a history of a specific           22   change their beliefs and their trust in the
    23           disease are asked questions about             23   company.
    24           different possible risk factors.              24           BY MR. EWALD:
    25           These risk factors can include use of         25           Q. Now, hold on. You were -- when I
                                                    Page 195                                                  Page 197
     1         certain products in the past. One                1   asked you earlier about this pilot study that
     2         potential reason that some have found            2   you termed it, that you didn't include in your
     3         slight statistical associations is the           3   report whether you're relying on it for your
     4         potential for an overestimation of the           4   opinions, you said no, correct?
     5         true association due to 'recall bias.'           5          A. No, I'm not relying on it for my
     6         Recall bias is when people with a                6   opinions. No, no. But I think that -- you're
     7         disease are more likely to                       7   asking, do I acknowledge that they're saying
     8         overestimate their exposure to these             8   that, oh, okay, there are some studies that find
     9         risk factors than people without that            9   it. But, yes, even here, as they're saying it,
    10         disease. In these studies, women who            10   they're burying the lead. The way that
    11         know they have ovarian cancer will try          11   information is presented is confusing. And I
    12         hard to remember anything that might            12   don't, given my years of doing this, my many
    13         be important to explain why they got            13   years of doing this, I don't think I needed to
    14         this terrible disease, which can                14   run a study to confirm that fact. I did because
    15         artificially make it appear that women          15   I was curious and I was interested. But after a
    16         with cancer use more talcum powder."            16   very long time of understanding how people
    17         Did I read that correctly?                      17   decipher information and make decisions based on
    18         A. You read it correctly, yes.                  18   that information, I thought, Wow, this is a
    19         Q. And so you acknowledge that on               19   really convoluted way to present this
    20   Facts About Talc section about studies, they          20   information.
    21   discussed the case-control studies?                   21          Q. So you said "burying the lead."
    22         MS. PARFITT: I'm going to object to             22   Are you suggesting that the only appropriate way
    23   the question, John, as I appreciate. Is he            23   to convey this information is if it precedes the
    24   acknowledging that that's what you just read is       24   cohort study discussion?
    25   what appears on Facts About Talc? Is that the         25          MS. PARFITT: Objection. Misstates

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     1   his testimony.                                    1       add the word "adequately" or "fairly" or
     2          THE WITNESS: No, that wouldn't be my 2             something like that. I think that's fair.
     3   claim. My claim is just that you have the         3       Yeah.
     4   majority of the page that is saying there's no    4              BY MR. EWALD:
     5   effect, no effect, no effect. And basically       5              Q. All right. Doctor, have you seen
     6   makes it read like these are the only studies     6       what the American Cancer Society has to say
     7   out there. And then there's a very technical,     7       about the question of whether or not talc causes
     8   difficult to read paragraph that says, well, and  8       of ovarian cancer?
     9   there might be some other studies that find       9              A. The document that you have on the
    10   something different. But even in acknowledging10          screen, I don't recall ever seeing this document
    11   that there's counter evidence, you know, they're 11       before.
    12   creating confusion for consumers.                12              Q. Have you reviewed others --
    13          BY MR. EWALD:                             13              MS. PARFITT: John, are you marking
    14          Q. Right. So in your report, on           14       this?
    15   page -- on paragraph 95, you say:                15              MR. EWALD: I am marking this. Hold
    16              "However, it...                       16       on one second.
    17          As in Facts About Talc:                   17              MS. PARFITT: I wasn't looking at
    18              "...does not discuss the dozens       18       screen. I didn't even know it came up. So
    19          of peer-reviewed studies and              19       sorry.
    20          meta-analyses which do find evidence      20              MR. EWALD: I'm going to mark Exhibit
    21          of a statistically significant            21       13, PDF of the Facts About Talc studies page.
    22          relationship between talcum powder use 22                 EXHIBIT NO. 13: Studies - Facts About
    23          and cancer."                              23              Talc.
    24          And that's not correct, right?            24              MS. PARFITT: Okay.
    25          MS. PARFITT: Objection, misstates his 25                  MR. EWALD: And we'll mark this as
                                                   Page 199                                                Page 201
     1   testimony and the evidence in this report.            1   Exhibit 14. And "this" being American Cancer
     2          THE WITNESS: Yeah, I would say, you            2   Society Cancer Facts and Figures 2024.
     3   know, there is -- you know, I would -- I stand        3          EXHIBIT NO. 14: American Cancer
     4   by that comment because there is no kind of           4          Society Cancer - Facts and Figures
     5   equal treatment or acknowledgment, and, you           5          2024.
     6   know, we could do more studies. But my strong         6          BY MR. EWALD:
     7   suspicion is that, you know, the majority of          7          Q. Doctor, you said you don't think
     8   consumers don't even scroll that far down the         8   you've seen this one.
     9   page or read that paragraph in its entirety.          9          Have you seen any other statements by
    10   And somebody just looking at this information        10   the American Cancer Society as it relates to
    11   would get a very different impression than what      11   talc and ovarian cancer?
    12   I believe the truth is.                              12          A. I don't know.
    13          BY MR. EWALD:                                 13          Q. And if we look at the different
    14          Q. I want to be clear on this one,            14   cancers --
    15   Doctor. So when, in your mind, because the           15          MS. PARFITT: Just again, if I -- he
    16   website does not give equivalent space to the        16   has not seen this document before, the 2024
    17   case-control studies as it does the cohort           17   cancer. So I know you want to take him to,
    18   studies, it is equivalent to, as you state in        18   probably, a page. I bet we could bet money on
    19   your report, it does not discuss the case            19   which one you're taking him to, but he hasn't
    20   control studies at all?                              20   seen the document at all. So maybe if you can
    21          MS. PARFITT: Objection to form.               21   give us some guidance. It's multi -- as we both
    22          BY MR. EWALD:                                 22   know, it's a lot of pages.
    23          Q. That's the same?                           23          MR. EWALD: Yeah, hold on.
    24          MS. PARFITT: Objection to form.               24          MS. PARFITT: And so unless I can.
    25          THE WITNESS: Yeah, you know, I might          25          MR. EWALD: Put it in the chat?
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     1           MS. PARFITT: I can provide him with a          1   answer your question, which is, no, it doesn't.
     2   copy of the whole document.                            2   I've lost the screen here. Oh, here you are.
     3           MR. EWALD: That's fine. I'll put the           3   Okay.
     4   full document in the chat.                             4           No, it doesn't change my conclusion,
     5           MS. PARFITT: Give me a moment and              5   because that's not what Johnson & Johnson is
     6   I'll give him a copy as well. John, for the            6   telling people. The public statements are not:
     7   record, I'm showing the doctor a copy of the           7   The weight of the evidence does not support.
     8   Cancer Facts and Figures, 2024.                        8   They're saying: Does not support. You know,
     9           MR. EWALD: Great.                              9   there's no evidence. And that's very different.
    10           THE WITNESS: Okay.                            10   You know, as we've talked about already, I think
    11           MS. PARFITT: Okay. And just for the           11   it's very different to say there is no evidence
    12   record, it is -- he's not seen this before, and       12   or, you know, it's perfectly safe than to make a
    13   it's 82 pages.                                        13   statement like "the weight of the evidence does
    14           MR. EWALD: Okay. Hold on one second.          14   not support." So, no, for what I'm speaking
    15   Okay. So for this, and it is 82 pages, it             15   to -- and obviously, I'm not speaking to
    16   talked about a lot of different cancers. We are       16   causation at all.
    17   going to focus on ovary, which is on page 22.         17           BY MR. EWALD:
    18           THE WITNESS: You said 82?                     18           Q. And in making that and offering
    19           MS. PARFITT: No.                              19   that opinion as to what is the appropriate way
    20           MR. EWALD: 22.                                20   to articulate the state of the science to
    21           THE WITNESS: Twenty-two. Okay.                21   consumers, what authorities do you rely on?
    22           BY MR. EWALD:                                 22           A. Again --
    23           Q. And if I put it up on the screen           23           MS. PARFITT: Objection, form.
    24   so everybody can see. All right. And starts on        24           THE WITNESS: -- that's directly my
    25   page 22, talks about incidents trends, and new        25   expertise. And so that when consumers
                                                    Page 203                                                   Page 205
     1   cases and deaths and risk factors. And under           1   understand statements, they treat absolute
     2   "Risk factors," that's where it talks about a          2   statements very differently than statements that
     3   variety of them. The final sentence, do you see        3   are hedging or conditional or something like
     4   that? Where it says:                                   4   that. So we talked before about, you know, pure
     5              "The weight of the evidence does            5   natural spring water versus pure natural spring
     6          not support an association between              6   water with 0.001 percent additives, that people
     7          ovarian cancer and genital exposure to          7   treat those qualitatively different. They're on
     8          talc based powder."                             8   completely opposite sides of the scale of, would
     9          A. I do see where it says that                  9   you be interested in purchasing this product?
    10   under -- you're talking about the paragraph that      10   And so there -- there's -- and that's just not
    11   starts with "Risk factors"?                           11   my own -- I mean, that is a published study that
    12          Q. Yes, sir.                                   12   I authored, but there are dozens of studies
    13          A. Yes. Okay. Yep, I see that.                 13   which make very similar points about, you know,
    14          Q. And does a determination by an              14   how consumers understand information.
    15   organization like the American Cancer Society         15          BY MR. EWALD:
    16   the weight of evidence does not support an            16          Q. Well, I understand that from a --
    17   association between ovarian cancer and genital        17   well, let me ask you this. When you said
    18   exposure talc based powder, have any impact on        18   exactly what your expertise is in, when we
    19   your opinions in this case?                           19   talked about your expertise earlier in the day,
    20          MS. PARFITT: Object to the question            20   you testified that you have not published on any
    21   that misrepresents what that document is and          21   article in the peer-reviewed literature that
    22   what that document actually says and who              22   discusses how a company should articulate to its
    23   sponsored that document.                              23   consumers potential health risk of its product,
    24          THE WITNESS: So I don't know anything          24   right?
    25   about the origin, but -- but I think I can still      25          MS. PARFITT: Objection.

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     1          THE WITNESS: And just to clarify, we            1          Q. Yes. All right. So on --
     2   would never make any kind of -- in the kind of         2          MS. PARFITT: John, are you done with
     3   research that I do, we would never make                3   the Facts about -- or cancer facts?
     4   normative statements. We would never make, you         4          MR. EWALD: I am. Thank you.
     5   know, here's an empirical result telling               5          MS. PARFITT: Thank you.
     6   companies what they ought to do. We're                 6          BY MR. EWALD:
     7   investigating the underlying psychology.               7          Q. So, Doctor, yesterday, and I
     8          So what are the rules by which, or the          8   believe Ms. Parfitt referred to this earlier,
     9   underlying psychological mechanisms that people        9   that we received an email from her firm that
    10   use to navigate the world around them, to decide      10   included some website links reflecting -- well,
    11   what kind of products they want to purchase, to       11   let me put it -- some website links in
    12   evaluate all kinds of information. And so we          12   connection with your review in this case. Is
    13   would talk about a more generalized principle.        13   that fair?
    14   And one principle here that's really relevant is      14          A. Yeah.
    15   people treat absolutes very different than they       15          Q. Let me start all over again.
    16   treat, you know, non-absolutes, even if it's a        16          You would look at some websites and
    17   shred of difference. And we know that to be           17   provide those links to Ms. Parfitt in connection
    18   true in lots of different domains and would also      18   with your work here.
    19   apply to something like health information or         19          A. That's correct, yes.
    20   risks.                                                20          Q. I want to get into -- there's --
    21          BY MR. EWALD:                                  21   you don't know whether probably Ms. Parfitt sent
    22          Q. Okay. And when you talk about               22   the email or who sent the email. So that's why
    23   it, you wouldn't have a normative statement like      23   I was trying to get away from that.
    24   you're making here, are you -- you would also         24          I want to get a little bit sense of
    25   agree, though, that you have not published any        25   some of those and how, if at all, they impacted
                                                    Page 207                                                   Page 209
     1   paper in the scientific literature that                1   your review. And first one that I want to ask
     2   discusses any empirical data of how companies          2   you about...
     3   communicate with their customers about health          3           MS. PARFITT: Hey John.
     4   risk of a product, fair?                               4           MR. EWALD: Yes.
     5          MS. PARFITT: Objection.                         5           MS. PARFITT: A quick question. And
     6          THE WITNESS: Just so I understand.              6   I'm sorry, I'm sitting down at the end of the
     7   So you're asking, have I published on the              7   table. I don't have a computer, so it's a
     8   communication of health risks specifically?            8   little bit hard for me to hear as well at times.
     9          BY MR. EWALD:                                   9   Did you -- when you were talking about the
    10          Q. Yes.                                        10   websites, that was something we gave you
    11          A. No, I have not. But I have                  11   yesterday, but that was something that we
    12   published many papers that are relevant to how        12   realized was omitted from the Dropbox, but not
    13   consumers interpret information and specifically      13   something that was just recently pulled by
    14   the kinds of information that they might weigh        14   Dr. Newman. You understand that. If you want
    15   in this exact case. Like, for instance,               15   to ask --
    16   statements about absolutes, or the origin of a        16           MR. EWALD: Yes.
    17   product, or the production process, et cetera.        17           MS. PARFITT: I just wanted to be
    18          Q. And in those papers that you                18   careful. That's our error. We didn't do a very
    19   published, you provided experimental research to      19   good administrative job of collecting
    20   support your findings, correct?                       20   everything.
    21          MS. PARFITT: Objection, misstates his          21           MR. EWALD: And I wasn't my point, my
    22   testimony.                                            22   lack of articulateness --
    23          THE WITNESS: Yeah, I conducted                 23           MS. PARFITT: No, you're fine. I
    24   experiments, correct, yes.                            24   can't hear down here, so no worries. We're a
    25          BY MR. EWALD:                                  25   good team together. You can speak and I can't
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                                                    Page 210                                                  Page 212
     1   hear. Okay.                                            1           MS. PARFITT: Objection, form.
     2          BY MR. EWALD:                                   2           THE WITNESS: None whatsoever. I know
     3          Q. Okay. So if I look at, one of                3   very little about this organization. And again,
     4   them was for the website safecosmetics.org, is         4   this wasn't used to inform my opinions. This
     5   that one of them?                                      5   was like, in trying to understand, okay, well,
     6          A. I believe so.                                6   what would somebody -- what kind of search
     7          MS. PARFITT: John, again, just for              7   results would somebody get if they just typed in
     8   the record, I'm going to just hand him what we         8   these issues? And that is one of the first
     9   sent to you.                                           9   websites that appears in search. And so my
    10          MR. EWALD: Yeah.                               10   understanding of this, the reference list is
    11          MS. PARFITT: If that's all right.              11   just everything that -- or, you know, the things
    12   That will probably make it a little bit easier,       12   that I looked at but weren't necessarily things
    13   but I wanted to let you know.                         13   that I directly relied my opinion on.
    14          MR. EWALD: Well, and actually I                14           BY MR. EWALD:
    15   appreciate that because the email that I have         15           Q. Another one I want to ask you
    16   was forwarded with lots of other people,              16   about was Drug Watch. And this one, we have a
    17   internal names on it, so I was trying to avoid        17   site, so I'll mark as Exhibit 15 the part of the
    18   having to show that. So if you have that email,       18   webpage, safecosmetics.org, that we were looking
    19   that'd be great.                                      19   at on chemicals/talc.
    20          MS. PARFITT: Yes. There you go. I              20           EXHIBIT NO. 15: Campaign for Safe
    21   have the email but I've got the document that         21           Cosmetics from safecosmetics.org site.
    22   was sent.                                             22           BY MR. EWALD:
    23          BY MR. EWALD:                                  23           Q. And for Exhibit 16 for
    24          Q. And so the first one that I want            24   drugwatch.com, I'll have a PDF of this webpage,
    25   to talk about, I'm not going to talk about all        25   Talcum Powder - "Is Talc in Makeup Safe?" This
                                                    Page 211                                                  Page 213
     1   of them, is the safecosmetics.org website, which       1   is also something that you looked at?
     2   at least has a name, Campaign For Safe                 2          EXHIBIT NO. 16: "Is Talc in Makeup
     3   Cosmetics, CSC, and it talks about talc. Do you        3          Safe?" from drugwatch.com site.
     4   see that?                                              4          THE WITNESS: Again, not something
     5          A. Yeah.                                        5   that I used to form my opinion, but in trying to
     6          Q. This is something that you                   6   understand what would a consumer learn about
     7   reviewed in connection with your opinions in           7   this issue, it's a website that I looked at,
     8   this case.                                             8   yes.
     9          A. Yeah, I wouldn't say that I                  9          BY MR. EWALD:
    10   relied on it maybe, to, for reference, those          10          Q. Okay. And if we go down, it says
    11   websites that I identified, basically, I was          11   an ad:
    12   trying to simulate, okay, if a consumer wanted        12             "See if you qualify for a
    13   to understand this issue and went online and          13          lawsuit. Were you diagnosed with
    14   Googled "talcum powder" or "talcum powder and         14          ovarian cancer or mesothelioma after
    15   cancer," what would come up? And at least the         15          using talcum powder. Get a free case
    16   way that the Google algorithm understands me,         16          review."
    17   these are some of the initial websites that came      17          Do you see that?
    18   up. Kilmer House is not one of those, but these       18          A. I do see it, yes.
    19   are basically, okay, well, what would be the          19          Q. And you have an understanding as
    20   exercise of a person who's trying to educate          20   to who Drug Watch's partners are and which law
    21   themselves about this issue?                          21   firms are involved in this joint endeavor?
    22          Q. Do you have any understanding of            22          A. None whatsoever.
    23   Campaign for Safe Cosmetics' reputation for           23          Q. Yeah. Do you have an
    24   reliable statements of the scientific                 24   understanding of -- well, let me put it this
    25   literature?                                           25   way. One of the materials that I saw in your
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     1   reference list is one of the complaints, legal   1         consumers believed about Johnson’s
     2   complaints for the MDL. Did you review that? 2             Baby Powder was central to what they
     3          A. Yes, I did. Yeah.                      3         believed about the Johnson’s Baby
     4          Q. Do you have an understanding as        4         brand; and what they believed about
     5   to how many cases are part of this MDL           5         the Johnson’s Baby brand was central
     6   proceeding?                                      6         to what they believed about Johnson &
     7          A. Not with any kind of specificity,      7         Johnson. At the core of all that was
     8   no.                                              8         not a belief about Johnson Baby
     9          Q. Do you have an understanding as        9         Powder’s smoothness, or absorbency, or
    10   to the amount and coverage of marketing by      10         fragrance; rather, it was trust.
    11   plaintiff's firms about talc and ovarian cancer 11         Trust in the product and more
    12   that has happened over the years?               12         importantly, trust in the company."
    13          A. No, I do not.                         13         I read that correct so far?
    14          Q. Do you take that into account at      14         A. Yeah, absolutely.
    15   all when you were considering impressions that 15          Q. Then you say:
    16   Johnson & Johnson's statements may have on 16                  "And the effects of that trust in
    17   consumers?                                      17         this case are immense. When consumers
    18          MS. PARFITT: Objection.                  18         may have encountered concerns about
    19          THE WITNESS: Again, I mean, what I 19               the safety of JBP and talc, those
    20   was asked to review and to look into in this    20         concerns were not evaluated tabula
    21   case are, you know, essentially, what did J&J 21           rasa - devoid of any pre-existing
    22   communicate about their products and what did 22           expectations. Rather, those concerns
    23   they know internally? And so, you know, I       23         were evaluated against generations of
    24   didn't really start to look at all of the other 24         advertising which strategically
    25   bodies and players that are involved. I         25         portrayed the company as trustworthy,
                                                Page 215                                                Page 217
     1   understand there's a lot of complexity on this  1           innocent, and first and foremost,
     2   issue. I was looking at a very narrow segment. 2            concerned about customers' safety and
     3          BY MR. EWALD:                            3           wellbeing. As a result, the company's
     4          Q. Well, then let's look at your         4           unequivocal denials of any wrongdoing
     5   report. Hold on. And I want to look at the      5           or potential harm from talc had, and
     6   very end of the substantive report. I have it   6           continue to have, an outsized impact
     7   up here. You can also look at your paper copy. 7            on consumers' beliefs and behaviors."
     8          A. Yeah.                                 8           Did I read that correctly?
     9          Q. You state on page 25, paragraph       9           A. You did, yes.
    10   99:                                            10           Q. And so there you were talking
    11              "The marketing issues in this       11    about that second segment that I read, just
    12          case are of central importance to       12    read, when consumers may have encountered
    13          understanding how the company affected 13     concerns about the safety of JBP, how the
    14          and continues to affect consumers'      14    consumers evaluated those concerns, and the
    15          beliefs about JBP and the health        15    results of the company's unequivocal denials on
    16          concerns regarding talc. The            16    consumers' beliefs and behaviors, right?
    17          company's marketing strategy for JBP    17           A. That's correct, yes.
    18          was not simply to make consumers aware 18            Q. What, if any, evidence do you
    19          of products and communicate the         19    have with those conclusions that I just stated?
    20          product’s benefits. Rather Johnson &    20           A. I mean, that is speaking to my
    21          Johnson acted to target consumers’      21    expertise. That is the value of what a
    22          emotions and their core appreciations   22    psychological understanding of consumer behavior
    23          of trust, rooted in the sacred bond     23    provides that it's not, you know, going way back
    24          between mother and child. As the        24    to some of the conversations that we were having
    25          company’s documents indicate, what      25    this morning about, you know, the blind taste

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     1   test, Coke versus Pepsi, or the Rabin article,       1          impact on consumers' beliefs and
     2   that, you know, I think there's a general            2          behaviors."
     3   perception in the public that, you know, what        3          What, if anything, do you have in the
     4   companies are essentially doing is just talking      4   way of specific data to support that statement?
     5   about the product attributes, and consumers are      5          A. Sure. There are a number of
     6   perfectly rational, and they're just buying          6   peer-reviewed studies which have looked
     7   based on that.                                       7   precisely at the issue of, for instance,
     8          And the reality is something very             8   communications about public health crises and
     9   different. And that's what decades of                9   what is the role of trust? And to summarize
    10   psychology have taught us about the nature of       10   many studies in this literature, basically,
    11   consumer behavior. And so when Johnson &            11   trust is the critical factor. So if there's a
    12   Johnson says, Hey, our product is safe, because     12   potential crisis about a product, the thing that
    13   there is that trust that's been developed for       13   makes or breaks whether or not the consumers
    14   decades and decades, that carries with it an        14   believe the statements of the company is
    15   enormous amount of weight, and I think it's         15   completely explained by their trust, and that
    16   important to acknowledge that Johnson & Johnson     16   trust in the company has an outside effect than
    17   is aware of this fact, right. They're in their      17   on their purchase decision. So that's not
    18   own marketing meetings. They're talking about,      18   directly data that I collected, but those are
    19   Look, trust is the number one reason why people     19   kind of well-established patterns in the
    20   are buying our products; it's central to our        20   literature.
    21   brand; it's central to our brand strategy. And      21          Q. Okay, tell me what article you're
    22   in fact, even in one of the documents they          22   referring to.
    23   mentioned, and one of the benefits is that it       23          A. Sure. Okay, let's see. At some
    24   protects us in cases of crises. And in cases of     24   point, I did make note of -- okay, so there's a
    25   crises, then that trust really pays off for us.     25   2008 "Risk aversion and brand loyalty: The
                                                  Page 219                                                 Page 221
     1   So this is a smart strategy.                      1 mediating role of brand trust and brand affect."
     2           And so, you know, consumers aren't        2 And that's in the Journal of Product and Brand
     3   able to fairly evaluate, okay, what's all of the  3 Management. Specifically on the issues of
     4   evidence out there? And just like the exercise    4 trust, another article, 2016 "Brand
     5   that we went through where they're looking at     5 relationships and risk: Influence of risk
     6   different websites, Well, okay, I'm looking at    6 avoidance and gender on brand consumption." You
     7   different information, but if Johnson & Johnson 7 know, those are -- those are a couple, but we're
     8   is telling me that it's safe, it must be safe,    8 not talking about boutique or bespoke findings.
     9   because they've been telling me I can trust them 9 I mean, it's part of a much larger pattern that
    10   for 100 years. And that, you know, that is, I    10 what consumers understand to be true about what
    11   think, the real value of what psychology         11 companies say about their products is determined
    12   provides in understanding this case and the      12 by trust. That if we want to say, well, what's
    13   marketing issues at play.                        13 the psychological factor that really explains
    14           Q. Well, you talked again about the      14 it? Well, it's trust. And I don't think that's
    15   Coke example, but as we discussed, for those 15 a controversial point about the nature of
    16   types of published studies, there is empirical   16 psychology or consumer behavior.
    17   evidence, experimental studies that are          17         Q. Well, if we're talking about the
    18   conducted to support those conclusions, correct? 18 specific facts that you're discussing in this
    19           A. Correct, yes.                         19 case, and that you are offering opinions to a
    20           Q. Okay. And when you say here:          20 reasonable degree of professional certainty
    21              "As a result, the company's...        21 about, is it your position that this assertion:
    22           That is, Johnson & Johnson's:            22            "As a result, the company's
    23              "...unequivocal denials of any        23         unequivocal denials, any wrongdoing or
    24           wrongdoing or potential harm from talc 24           potential harm from talc, had
    25           had, and continue to have, an outsized   25         continued to have, an outsized impact

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     1           on consumers beliefs and behaviors."           1   consumers on the Facts About Talc website. And,
     2           Is true for what period of time?               2   as we discussed before, you know, I think even
     3           A. Well, I would -- I mean, I would            3   now, the way that that information is
     4   say starting, you know, in 1982. And I don't           4   communicated to consumers is not giving them the
     5   know, I don't know about the -- you know,              5   fair ability to make up their own minds about
     6   currently if you looked at things -- but again,        6   the issue; that it's presenting things in a very
     7   you know, the study that we were, were talking         7   skewed way.
     8   about before, where the information about, well,       8           BY MR. EWALD:
     9   there's some studies that find a statistical           9           Q. Okay. But you -- so you're
    10   association would suggest that even currently to      10   talking about, on one end, what is happening
    11   this day.                                             11   from what Johnson & Johnson is projecting. But
    12           But it's very complicated. One thing          12   there's the other piece here that we're talking
    13   that we would do in any kind of psychological         13   about, right, which is, what level of trust do
    14   study is remove information about the company         14   consumers currently have in the Johnson &
    15   itself so it's not influencing people. We don't       15   Johnson brand and specifically the talc product,
    16   want people's preexisting beliefs to come to the      16   fair.
    17   table. So he would say, in the absence of that        17           A. Sure, yes.
    18   information, what kinds of psychological              18           Q. Right. And so what do you know
    19   principles are at play. And so it would be hard       19   about what currently is the state of consumer
    20   to conduct the study in the appropriate manner,       20   trust in Johnson & Johnson and specifically the
    21   using Johnson & Johnson specifically, or naming       21   talc brand?
    22   Johnson & Johnson, because I think he would           22           MS. PARFITT: Objection to form.
    23   bring into that a lot of other preexisting, you       23           THE WITNESS: The market research data
    24   know, beliefs from consumers.                         24   that I reviewed isn't current data. But I can
    25           Q. So I'm a little confused. I                25   answer your question for periods of time that
                                                    Page 223                                                  Page 225
     1   thought I heard you say that you couldn't say          1   are basically through the eighties, through the
     2   currently or not whether it's true, but your           2   early 2000s, where Johnson & Johnson is
     3   sentence that I just read said "the company's          3   collecting their own data about how do people
     4   unequivocal denials of any wrongdoing or               4   perceive our brand? Why are people purchasing
     5   potential harm from talc had, and continue to          5   Johnson & Johnson? What do they say about it?
     6   have, an outsized impact on consumers' beliefs."       6   And at the very top of that list is trust.
     7   And do you agree with me that "continue to have"       7   People perceive Johnson & Johnson as
     8   means it's still happening?                            8   trustworthy, as a caregiver, as synonymous with
     9           A. Yeah. That is my expert opinion,            9   safety, a brand that's not going to hurt me.
    10   yes.                                                  10   These are all directly quotes from Johnson &
    11           Q. Okay. And in doing that, for               11   Johnson's market research. So I'm just going
    12   example, let's go back to the MDL litigation          12   back to the data that they collected, which
    13   example. I'll represent to you that there are         13   said, Look, what's central to our brand is
    14   thousands of plaintiffs that have filed lawsuits      14   trust; that's why people are coming to us.
    15   against Johnson & Johnson over their talc use         15           BY MR. EWALD:
    16   and subsequent ovarian cancer.                        16           Q. Okay. We're talking about the
    17           Are all of those individuals, do they         17   data that Johnson & Johnson collected, and
    18   have an outsized impact on their consumer             18   they're saying -- let's take a look at paragraph
    19   beliefs?                                              19   91 of your report. Let me know when you're
    20           MS. PARFITT: Objection, form.                 20   there.
    21           THE WITNESS: I don't -- you know,             21           A. Yes. Okay, I'm here.
    22   again, I'm thinking here about the way in which       22           Q. States, "In 2020..." or you
    23   the company is communicating information. And         23   state:
    24   if we were going to talk about currently, then        24              "In 2020, Johnson & Johnson
    25   it's like, what information is available to           25           announced the discontinuation of
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                                                   Page 226                                                  Page 228
     1          Talc-based Johnson’s Baby Powder in            1          BY MR. EWALD:
     2          U.S. and Canada [J&J Media Statement           2          Q. I did. Tell me.
     3          May 19, 2020]. The stated reason for           3          A. I'm sorry. Can you please
     4          discontinuing the product was                  4   repeat. I'm getting lost here.
     5          declining demand 'due in large part to         5          Q. Okay. So according to counsel,
     6          changes in consumer habits and fueled          6   you have taken into account. So you've taken
     7          by misinformation around the safety of         7   into account the impact on consumers of the
     8          the product and a constant barrage of          8   constant barrage of litigation advertising with
     9          litigation advertising.'"                      9   respect to their view of Johnson & Johnson's
    10          Did I read that correctly?                    10   talc.
    11          A. You did, yes.                              11          A. Well, I mean, in the sense that
    12          Q. And do you have any basis to               12   if a consumer were to look at the issue today
    13   disagree with Johnson & Johnson's statement that     13   and look at what kind of evidence is available
    14   "the change in consumer habits...fueled by           14   to them or readily available to them, and then,
    15   misinformation around the safety of the product      15   you know, you might say, Oh, well, then they
    16   and a constant barrage of litigation                 16   would just kind of add it up. But that's, you
    17   advertising."?                                       17   know, what my opinion is, is that's not what's
    18          A. Yeah. I mean, decades of                   18   happening, because people are comparing that to
    19   internal documents which suggest something very      19   a century of advertising that says Johnson &
    20   different, right? I mean, I read this                20   Johnson is a trustworthy brand; it's synonymous
    21   statement, as, you know, there's a bunch of          21   with health and safety; it's -- you know, our
    22   people out there that are spreading lies. And,       22   number one priority is your safety. And that
    23   you know, because of all their lies, we had to       23   advertising message worked. Johnson & Johnson
    24   pull this product. And that creates a lot of         24   knows that that advertising message worked.
    25   confusion and tells a very different kind of         25          And so, you know, it's not like the
                                                   Page 227                                                  Page 229
     1   story than what's happening behind the scenes         1   scale is an accurate measurement, that, you
     2   where, you know, for a decade and a half, let's       2   know, that advertising puts its thumb on the
     3   say, they're, Well, look, there are safety            3   scale and tips things so where people aren't
     4   concerns about our product. We should develop         4   able to fairly evaluate. So I think you could
     5   this cornstarch alternative. How do we replace        5   say, Well, I'm taking into account, yeah, that
     6   it? Et cetera, et cetera.                             6   there's litigation out there, but are consumers
     7          So to say that it's just a bunch of            7   able to accurately balance that against what
     8   smoke in the air that has eventually caused us        8   Johnson & Johnson are telling them? My opinion
     9   to do this, I think, communicates something very      9   is not.
    10   different than the reality to consumers.             10           Q. And what data do you rely on for
    11          Q. Well, again, you're talking about          11   the proposition that plaintiff litigation,
    12   what Johnson & Johnson's mindset may or may not      12   advertising of talc and ovarian cancer claims is
    13   be. I'm talking about the other piece of the         13   not having an outsized impact on consumers'
    14   puzzle, which is what the consumers are hearing,     14   views about talc.
    15   what they're thinking. And from what you've          15           MS. PARFITT: Objection, form.
    16   said, you have not taken into account what           16           THE WITNESS: I mean, again, we're
    17   impact the constant barrage of litigation            17   kind of circling back to the same -- in my mind
    18   advertising has had on consumers' views of           18   -- so I don't know how to answer the question
    19   Johnson & Johnson and talc products, correct?        19   any differently, that people are not, you know,
    20          MS. PARFITT: Objection, mistakes is           20   I'd used the term tabula rasa; they're not
    21   testimony. Done just the opposite.                   21   evaluating it blank slate. And so I would -- to
    22          BY MR. EWALD:                                 22   be fair, I haven't looked directly at litigation
    23          Q. You have? Tell me.                         23   and how litigation impacts consumers' mindset
    24          MS. PARFITT: Ask the question. Ask            24   now.
    25   the question, John.                                  25           And my understanding of the time

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     1   period that, you know, I was really               1        effect on their psychology today.
     2   investigating is not present day and things that 2                 BY MR. EWALD:
     3   are happening after 2020 or after the onset of    3                Q. So I would like the court
     4   litigation. I'm really trying to understand,      4        reporter to, please, read back the question and
     5   well, what happened in the hundred years before 5          answer that preceded, I think it was one before
     6   then. So I couldn't, you know -- I guess, to be   6        that where we just talked about where he talked
     7   fair, I can't speak directly to how that is       7        about 100 years.
     8   changing consumers' mindset now, but I also       8                And do you have a sense of what I'm
     9   don't think that's very germane to my opinion.    9        talking about, Leila?
    10           BY MR. EWALD:                            10                THE REPORTER: I can check for you. I
    11           Q. Well, are you walking back your       11        would rather play it back than read it back, if
    12   opinions in your report? Because we just talked 12         that's okay.
    13   about how you said, "As a result, the company's 13                 MR. EWALD: Whatever you find easier.
    14   unequivocal denials of any wrongdoing or         14        I hate listening to my voice. But go ahead.
    15   potential harm from talc had, and continue to 15                   THE REPORTER: One second. Did you
    16   have, an outsized impact on consumers' beliefs 16          want just the answer, counsel?
    17   and behaviors."                                  17                MR. EWALD: Question and answer.
    18           "Continue to have" clearly means         18                THE REPORTER: Okay, let me know if
    19   present day, right?                              19        this is correct. One second.
    20           A. Yes, yes, yes. Yeah, yeah.            20            [Audio played from 229;10 to 230/;9]
    21           Q. So you're saying that that wasn't     21                MR. EWALD: Thank you, Leila.
    22   part of your opinion?                            22                BY MR. EWALD:
    23           MS. PARFITT: Objection.                  23                Q. Okay. So I want to be real
    24           MR. EWALD: So you misspoke?              24        clear, because this is important on the scope of
    25           THE WITNESS: No, no. It's very           25        your opinions.
                                                    Page 231                                                Page 233
     1   much -- it's very much part of my opinion.             1           Do your opinions that you're offering
     2          BY MR. EWALD:                                   2   in this case go to the present day?
     3          Q. Right. You just said a moment                3           A. In what sense?
     4   ago that you weren't really focused on present         4           Q. Are you offering opinions about
     5   day or when litigation was; you were focusing on       5   the impact that Johnson & Johnson's statements
     6   earlier stuff over the past 100 years.                 6   have had on consumers up to the present day?
     7          A. I --                                         7           A. You know, I realize I'm also
     8          Q. (Inaudible) --                               8   getting a little bit tired, and I should
     9          MS. PARFITT: Objection.                         9   probably take a break because I'm stammering.
    10          BY MR. EWALD:                                  10   But I definitely want to answer your question.
    11          Q. -- you answer?                              11           Q. Please do and then you can take a
    12          MS. PARFITT: Objection.                        12   break.
    13          THE WITNESS: Mr. Ewald, I believe              13           A. What's that?
    14   that misstates what I was saying. I was               14           Q. Please do, and then you can take
    15   responding specifically to, you said, how do you      15   a break.
    16   know how litigation and all of this litigation        16           A. Sure. Of course. With respect
    17   is impacting people? And I admitted that, you         17   to talc products, so I wasn't asked to review
    18   know, I don't know exactly how litigation is          18   perceptions of Johnson & Johnson, the brand, or
    19   changing people's mindset in the present.             19   litigation about Johnson & Johnson, or what's
    20          But I can, as an expert in this area,          20   happening in, you know, public opinion about
    21   say that there is a long legacy of beliefs about      21   Johnson & Johnson or the litigation. I was
    22   the trustworthiness of Johnson & Johnson that         22   asked to review materials related to the
    23   has an effect on people's psychology, that had        23   marketing of talc products.
    24   an effect of people's psychology, and I have          24           Talc products were discontinued in
    25   every reason to believe continues to have an          25   2020 in Canada and the US; and then 2022
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                                                    Page 234                                                  Page 236
     1   globally. And so the timeline that I'm talking         1          A. So there's nothing about
     2   about in terms of how does their advertising and       2   targeting per se that is wrong. What I take
     3   how do their marketing messages impact people is       3   issue with, in this case, is that Johnson &
     4   really relevant up to that point. I do think           4   Johnson had this credible evidence or credible
     5   that even today, the way that the information is       5   concerns about the safety of the product, and in
     6   communicated to consumers is still biased in the       6   order to compensate for a loss of sales with one
     7   same way that it was historically, and that            7   market, they just tried to shift to a different
     8   there's nothing about J&J's strategy of                8   market. And there are a number of places where
     9   communication that seems to have changed that          9   in those marketing meetings, they're talking
    10   whereas there might have been conflicting             10   about health concerns being a reason for the
    11   evidence, or a lot of evidence, or evidence of        11   powder decline.
    12   risk that they were acknowledging and taking          12          So that's the main issue that I take,
    13   seriously for a very long time.                       13   or the main issue that I have with the use of
    14          They communicated to consumers in              14   targeting here; it was targeting in light of the
    15   absolutes, and today continue to communicate to       15   fact that people are buying less of the product
    16   consumers in absolutes about the safety of their      16   and the company knows that health concerns are a
    17   products. So that's the sense in which I mean         17   reason why.
    18   that things continue into present day is              18          Q. So if -- so, you're saying that
    19   referring to their communication about the            19   the -- well, wouldn't what you just said suggest
    20   safety of their products. And I'm not able to         20   that the outsized impact, that the trust between
    21   speak to what the average consumer believes           21   Johnson & Johnson and consumer that you speak
    22   about Johnson & Johnson, the brand, you know, as      22   about in your report had already been broken
    23   we sit here in 2024.                                  23   because of safety concerns?
    24          Q. Okay. Take a break.                         24          MS. PARFITT: Objection.
    25          MS. PARFITT: Thank you.                        25          THE WITNESS: No, I wouldn't conclude
                                                    Page 235                                                  Page 237
     1           -- RECESS TAKEN AT 4:17 P.M.                   1   that. I would say that you had a trend over
     2           -- RESUME AT 4:33 P.M.                         2   time where you had a large population of
     3           BY MR. EWALD:                                  3   consumers that are buying less of the product,
     4           Q. Taking a little bit of a step               4   and they're saying that health concerns are a
     5   back.                                                  5   reason. You know, we can look to -- I'd have to
     6          Do you agree that an important aspect           6   see when the last consumer research study that I
     7   of marketing is knowing who your consumers are         7   had access to is. But, you know, certainly, as
     8   and what their needs are?                              8   late as the 1990s, there's market research that
     9          MS. PARFITT: Objection, form.                   9   shows that there's still considerable trust in
    10          THE WITNESS: Yes, I would agree.               10   the brand. I would say that in my reading, it
    11          BY MR. EWALD:                                  11   was shifting, but there's nothing that I
    12          Q. And you also agree that, as a               12   encountered which would suggest to me that that
    13   general matter, part of marketing is targeting        13   trust was, as you said, broken.
    14   different markets -- markets and demographics         14          BY MR. EWALD:
    15   where you believe you have current consumers or       15          Q. On another topic, one of the --
    16   potential consumers, fair?                            16   hold on.
    17          A. Fair, yes.                                  17          -- OFF THE RECORD AT 3:48 P.M.
    18          Q. And so if you look at page 20 of            18          -- RESUME AT 3:49 P.M.
    19   your report and the whole paragraph that              19          BY MR. EWALD:
    20   precedes paragraph 77 going through 81, can you       20          Q. On Exhibit 17, I'm marking a copy
    21   walk me through on your opinions in those             21   of O'Brien 2020. And this is one of the
    22   paragraphs.                                           22   epidemiological articles that you have on your
    23          Is it your opinion that Johnson &              23   reference list, correct?
    24   Johnson wrongfully targeted certain                   24          EXHIBIT NO. 17: Dr. O'Brien's article
    25   demographics?                                         25          published in JAMA, "Association of
                                                                                              60 (Pages 234 - 237)
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                                                 Page 238                                                 Page 240
     1          Powder Use in the Genital Area With        1     And that is -- well, first of all, have you
     2          Risk of Ovarian Cancer."                   2     encountered this concept of recall bias and the
     3          THE WITNESS: I believe so, yes.            3     debate over it in connection with the talc case
     4          MS. PARFITT: And, John, give me a          4     control studies?
     5   moment.                                           5            MS. PARFITT: Objection.
     6          MR. EWALD: Sure.                           6            THE WITNESS: I've read it before,
     7          MS. PARFITT: I'll get him a copy.          7     yes.
     8   I'm going to look for one here, but right now,    8            BY MR. EWALD:
     9   I'm handing him mine for just speed, if that's    9            Q. And it says here in the
    10   okay. I am going to tell you mine is             10     Schildkraut studies where they are stratifying
    11   highlighted, but I don't think it will mean      11     the results by year interview based on timing of
    12   anything to him. But I just want to be           12     the first major talc lawsuits, describing the
    13   transparent.                                     13     major talc lawsuits happen in 2014 or later. Is
    14          MR. EWALD: I definitely appreciate        14     that consistent with your understanding?
    15   that. Thank you. And you know, I don't think 15                MS. PARFITT: Objection.
    16   to ask you certainly logical questions or much 16              THE WITNESS: My understanding is:
    17   about this, but I do have a couple of questions. 17     That's the words that you're reading or...?
    18   And if we go to -- all the way through to the    18            BY MR. EWALD:
    19   discussion section, which at least on the PDF is 19            Q. No. Is that consistent with do
    20   on page 8 of 11, it's page 56 of the journal.    20     you have an understanding of when the first
    21   And then actually go a little bit further on the 21     major talc lawsuits were filed?
    22   following page. Do you see the paragraph that 22               A. I don't know.
    23   starts "One of the main concerns..."?            23            Q. And if we scroll down, it's
    24          A. Yes.                                   24     referencing footnote 30, and you see where it
    25          Q. And it states:                         25     has article by Hsu, "Risk on all sides as 4800
                                                 Page 239                                                 Page 241
     1           "One of the main concerns about             1   women sue over Johnson's Baby Powder in cancer",
     2       previous case-control studies on this           2   dated September 28, 2017. Do you see that?
     3       topic is the possibility for recall             3          A. I'm sorry, which reference was
     4       bias, which will result in if case              4   it? Oh, 30, okay. Yes, I see that.
     5       participants were more likely to                5          Q. Give me one second. Okay,
     6       report using powder than control                6   Dr. Newman, that is all the questions I have for
     7       participants. As highlighted by                 7   you.
     8       Trabert, the African American Cancer            8          A. Okay.
     9       Epidemiology Study found evidence               9          MS. PARFITT: John, could you give us
    10       supporting this phenomenon. Based on           10   just a few minutes and we'll see if there's any
    11       the timing of the first major talc             11   further redirect on our end, okay?
    12       lawsuits, Schildkraut et al stratified         12          MR. EWALD: Sure.
    13       their results by year of interview             13          MS. PARFITT: All right. Thank you.
    14       (earlier than 2014 versus 2014 or              14   Just a few minutes.
    15       later), observing that among women             15          -- RECESS TAKEN AT 4:45 P.M.
    16       interviewed earlier, ever use of               16          -- RESUME AT 4:50 P.M.
    17       powder in the genital area was                 17          MS. PARFITT: We have now concluded
    18       less-strongly associated with ovarian          18   the deposition. Thank you, all.
    19       cancer (odds ratio [OR], 1.19 [95              19          (Whereupon this examination concludes
    20       percent confidence interval, 0.87 to           20   at 4:51 P.M.)
    21       1.63]), than among women interviewed           21
    22       later (OR, 2.91 [95 percent CI 1.70 to         22
    23       4.97])."                                       23
    24       I read all that, but there's only one          24
    25 part where I wanted to just get your take on.        25

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                                                    Page 242                                                         Page 244
     1   CERTIFICATE OF REPORTER                                1        *** ERRATA SHEET ***
     2   CANADA                                                 2
     3   PROVINCE OF ONTARIO                                    3 NAME OF CASE: In re. JOHNSON & JOHNSON TALCUM
     4          I, Leila Heckert, CVR, the officer              4 POWDER PRODUCTS MARKETING,
     5   before whom the foregoing deposition was taken,        5 SALES PRACTICIES, AND PRODUCTS.
     6   do hereby certify that the witness whose               6 LIABILITY LITIGATION
     7   testimony appears in the foregoing deposition          7 DATE OF DEPOSITION: May 15th, 2024
     8   was duly sworn by me; that the testimony of said       8 NAME OF WITNESS: GEORGE NEWMAN, M.D.
     9   witness was taken by me in shorthand using             9
    10   Computer Aided Realtime, to the best of my            10 PAGE LINE FROM               TO
    11   ability, and thereafter reduced to written            11 ____|______|______________________|_____________
    12   format under my direction; that I am neither          12 ____|______|______________________|_____________
    13   counsel for, related to, nor employed by any of       13 ____|______|______________________|_____________
    14   the parties to the action in which the                14 ____|______|______________________|_____________
    15   deposition was taken, and further that I am not       15 ____|______|______________________|_____________
    16   related or any employee of any attorney or            16 ____|______|______________________|_____________
    17   counsel employed by the parties thereto, nor          17 ____|______|______________________|_____________
    18   financially or otherwise interested in the            18 ____|______|______________________|_____________
    19   outcome of the action.                                19 ____|______|______________________|_____________
    20                                                         20 ____|______|______________________|_____________
    21                                                         21 ____|______|______________________|_____________
    22                                                         22 ____|______|______________________|_____________
    23    <%29102,Signature%>                                  23
    24   Leila Heckert, CVR                                    24             _________________________
    25                                                         25             GEORGE NEWMAN, M.D.

                                                    Page 243                                                         Page 245
     1        INSTRUCTIONS TO WITNESS                   1           PROVINCE OF ONTARIO
     2                                                  2           TORONTO REGION
     3 Read your deposition over carefully. It is your  3
     4 right to read your deposition and make changes 4                   I, the undersigned, declare under
     5 in form or substance. You should assign a        5           penalty of perjury that I have read the
     6 reason in the appropriate column on the erratum 6            foregoing transcript, and I have made any
     7         sheet for any change made.               7           corrections, additions or deletions that I was
     8 After making any changes in form or substance, 8             desirous of making;
     9 and which have been noted on the following       9                 That the foregoing is a true and
    10 erratum sheet, along with the reason for any    10           correct transcript of my testimony contained
    11 change, sign your name on the erratum sheet and11            therein.
    12               date it.                          12
    13    Then sign your deposition at the end of      13                     _______________________________
    14 your testimony in the space provided. You are 14                         GEORGE NEWMAN, M.D.
    15 signing it subject to the changes you have made 15
    16 in the erratum sheet, which will be attached to 16           Subscribed and sworn to before me this ____ day
    17 the deposition before filing. You must sign it 17            of ____________, 2024, at
    18 in front of a witness. The witness need not be 18            ___________________, __________________.
    19 a notary public. Any competent adult may        19           (City)        (Province)
    20          witness your signature.                20
    21 Return the original erratum sheet promptly.     21           ________________________
    22 Court rules require filing within 30 days after 22           (Notary Public)
    23        you receive the deposition.              23           My Commission Expires: _______________
    24                                                 24
    25                                                 25

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                      Federal Rules of Civil Procedure

                                      Rule 30



          (e) Review By the Witness; Changes.

          (1) Review; Statement of Changes. On request by the

          deponent or a party before the deposition is

          completed, the deponent must be allowed 30 days

          after being notified by the officer that the

          transcript or recording is available in which:

          (A) to review the transcript or recording; and

          (B) if there are changes in form or substance, to

          sign a statement listing the changes and the

          reasons for making them.

          (2) Changes Indicated in the Officer's Certificate.

          The officer must note in the certificate prescribed

          by Rule 30(f)(1) whether a review was requested

          and, if so, must attach any changes the deponent

          makes during the 30-day period.




          DISCLAIMER:    THE FOREGOING FEDERAL PROCEDURE RULES

          ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

          THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

          2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

          OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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      transcript of the colloquies, questions and answers

      as submitted by the court reporter. Veritext Legal

      Solutions further represents that the attached

      exhibits, if any, are true, correct and complete

      documents as submitted by the court reporter and/or

      attorneys in relation to this deposition and that

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